Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 1 of 128. PageID #: 591350




                       EXHIBIT 1
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 2 of 128. PageID #: 591351




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


  IN RE: NATIONAL PRESCRIPTION
        OPIATE LITIGATION

         This document relates to:
                                                      MDL No. 2804
      All cases identified in Exhibit B
                                                  Hon. Dan Aaron Polster




 JANSSEN’S AMENDED MOTION TO DISMISS CLAIMS FILED BY CERTAIN NEW
             YORK SUBDIVISIONS AS BARRED BY STATUTE
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 3 of 128. PageID #: 591352




                                                    TABLE OF CONTENTS

                                                                                                                                         Page

INTRODUCTION ......................................................................................................................... 1
BACKGROUND ........................................................................................................................... 1
ARGUMENT ................................................................................................................................. 3
          I.         The Barred Entities Are ”Government Entities” For Purposes Of
                     The Statutory Prohibition. ...................................................................................... 3
          II.        The Barred Entities’ Claims Were Released By The Attorney
                     General. .................................................................................................................. 5
          III.       All Of The Barred Entities’ Lawsuits Were Filed After The
                     Statutory Deadline ................................................................................................. 6
CONCLUSION .............................................................................................................................. 6




                                                                        i
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 4 of 128. PageID #: 591353




                                        INTRODUCTION

       Defendants Johnson & Johnson, Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

Pharmaceuticals, Inc., and Janssen Pharmaceutica, Inc. (collectively, “Janssen”) move this Court

to dismiss all claims against Janssen in cases filed by certain New York government entities (the

“Barred Entities”) and consolidated in this MDL proceeding on the grounds that the claims are

barred by New York statute. On June 21, 2022, this Court granted a similar motion by Settling

Distributor Defendants dismissing these cases on identical grounds (Exhibit A). Janssen

respectfully requests the Court do the same here.

       In furtherance of statewide opioid settlement agreements entered into by the New York

Attorney General, the recently passed amendments to New York Mental Hygiene Law section

25.18(d) extinguish by operation of law certain claims brought by New York “government

entities” against Janssen. The Barred Entities and the claims they bring against Janssen all fall

within the scope of the statutory prohibition.

       Because the Barred Entities are statutorily barred from proceeding with any of the claims

against Janssen currently pending before this Court (a list of these cases is attached as Exhibit

B), Janssen requests that the Court enter a similar order and final judgment to the June 21, 2022

Order Granting Settling Distributors’ Motion to Dismiss, pursuant to Fed. R. Civ. P. 54(b),

dismissing the claims against Janssen in the cases listed in Exhibit B.

                                        BACKGROUND

       On June 25, 2021, the Attorney General for the State of New York entered into a

settlement agreement and release between the State of New York and Janssen to resolve the

numerous lawsuits brought by state government entities against Janssen, based on Janssen’s

manufacture and marketing of prescription opioids. See Exhibit C. The Parties intended the

terms of the settlement agreement to “parallel the terms of the Global Prescription Opiate

                                                 1
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 5 of 128. PageID #: 591354




Litigation Settlement Agreement,” with which this Court is familiar. Exhibit C at 1. To

facilitate settlements between the New York Attorney General and defendants in the opioid

litigation, the New York State Legislature amended the New York Mental Hygiene Law,

effective June 29, 2021, to create a statewide opioid settlement fund comprised of specified

proceeds from the statewide settlements. See generally N.Y. Mental Hyg. Law § 25.18. The

amendment provides that the statewide opioid settlement fund will be disbursed to eligible and

qualifying political subdivisions within the State who have submitted Subdivision Settlement

Participation Forms. See id.

           Of special importance here, the amendment sets forth what happens to claims filed by

political subdivisions like those of the Barred Entities here. The amendment provides that “[n]o

government entity shall have the authority to assert released claims against entities released by

the department of law in a statewide opioid settlement agreement executed by the department of

law and the released party on or after June first, two thousand twenty-one.” Id. § 25.18(d).

Furthermore, “[a]ny action filed by a government entity after June thirtieth, two thousand

nineteen asserting released claims against a manufacturer, distributor, or dispenser of opioid

products shall be extinguished by operation of law upon being released by the department of law

in such statewide opioid settlement agreement.” Id.1

           “Government entity” is defined to include “any governmental subdivision within the

boundaries of the state of New York, including, but not limited to, counties, municipalities,

districts, towns and/or villages, and any of their subdivisions, special districts and school

districts, and any department, agency, division, board, commission and/or instrumentality

thereof.” Id. § 25.18(a)(2). “Released claims” are given the same meaning as “such term is



1
    By statute, the New York Attorney General is the “head of the department of law.” N.Y. Exec. Law § 60.

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Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 6 of 128. PageID #: 591355




defined in the statewide opioid settlement agreements.” Id. § 25.18(a)(5). And “Released

entities” are given the same meaning “as such term is defined in the statewide opioid settlement

agreements.” Id. § 25.18(a)(6). The definitions of those terms in the New York Agreement are

substantially identical to the definitions in the Global Settlement Agreement.

                                           ARGUMENT

        By its terms, section 25.18(d) of the amended Mental Hygiene Law extinguishes claims

against Janssen by political subdivisions if three elements are met. First, the party asserting the

claims must be a “government entity.” Second, the “government entity” must be asserting

“released claims” as defined in the statewide settlement agreement against Janssen. Third, the

action must have been filed after June 30, 2019. Each of these elements is met as to all of the

claims against Janssen in the lawsuits listed in Exhibit B. The Court should dismiss these claims

as statutorily barred.

I.      The Barred Entities Are ”Government Entities” For Purposes Of The Statutory
        Prohibition.

        The amendments to the Mental Hygiene Law broadly define “government entities” to

include standard “governmental subdivision[s]” in New York like “counties, municipalities,

districts, towns and/or villages,” but also “any department, agency, division, board, commission

and/or instrumentality thereof.” N.Y. Mental Hyg. Law § 25.18(a)(2)(ii). A review of Exhibit B

reveals that all of the Barred Entities fall within the scope of this broad definition.

        Cities, Towns, and Villages. Many of the Barred Entities fall within the scope of the

statutory definition of “government entities” as cities, towns, and villages. The statute

specifically identifies these types of municipal bodies as “government entities.” N.Y. Mental

Hyg. Law § 25.18(a)(2)(ii); see also Exhibit B.

        Districts. A number of other Barred Entities are districts, including: fire districts; water


                                                   3
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 7 of 128. PageID #: 591356




districts; and school districts. The statute expressly includes “districts” within the definition of

“government entities.” N.Y. Mental Hyg. Law § 25.18(a)(2)(ii); see also Exhibit B.

       Public Libraries. The four libraries listed as Barred Entities in Exhibit B—Merrick

Public Library, West Hempstead Public Library, Plainview-Old Bethpage Public Library, and

Rockville Centre Public Library—are listed as “Special Districts” by the U.S. Census Bureau.

See 2017 Governmental Units Listing, U.S. Census Bureau, available at

https://www.census.gov/data/datasets/2017/econ/gus/public-use-files.html (last visited July 18,

2022). The statute expressly includes “special districts” like these four entities within the

definition of “government entities.” See N.Y. Mental Hyg. Law § 25.18(a)(2)(ii). At least two

of these entities also expressly note their state affiliation on their websites. See About the

Library & Board of Trustees, Merrick Library, available at

https://www.merricklibrary.org/board-of-trustees/ (last visited July 18, 2022); Board of Trustees,

West Hempstead Public Library, available at https://www.whplibrary.org/board-of-trustees/ (last

visited July 18, 2022).

       Medical Centers. The Nassau University Medical Center is a public entity operated by a

public benefits corporation—the Nassau Health Care Corporation—created by Nassau County

and the State of New York, and has been treated as such in past lawsuits. See Our History,

Nassau University Medical Center, available at https://www.numc.edu/about/our-history/ (last

visited July 18, 2022); Yates v. Singh, No. 601020/18, 2018 WL 3597232, at *3 (N.Y. Sup. Ct.

Nassau Cnty. June 22, 2018) (describing Nassau University Medical Center as a “public entity”).

Because the statutory definition of “government entities” specifically includes any “department,

agency, division, board, commission and/or instrumentality” of a “count[y],” the Medical Center

is a “governmental entity” under the statute as well. See N.Y. Mental Hyg. Law §25.18(a)(2)(ii).



                                                  4
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 8 of 128. PageID #: 591357




Similarly, Erie County Medical Center is a public benefit corporation and was founded as a

public hospital. See A Brief History of the Erie County Medical Center, available at

https://www.ecmc.edu/about-ecmc/a-brief-history-of-the-erie-county-medical-center/ (last

visited July 20, 2022). Erie County Medical Center is considered a “‘state authority’ and ‘local

authority’” under New York law. Civil Serv. Emps. Ass’n, Inc., Local 1000, AFSCME, AFL-CIO

v. Cnty. of Erie, 63 A.D.3d 1536, 1537 (N.Y. App. Div. 2009); see also VanBrocklen v. Erie

Cnty. Med. Ctr., 96 A.D.3d 1394, 1395 (N.Y. App. Div. 2012) (Erie County Medical Center “as

a public hospital, is a state actor”).

        The Barred Entities all fall within the scope of “government entities” that are statutorily

barred from maintaining suits against Janssen.

II.     The Barred Entities’ Claims Were Released By The Attorney General.

        The claims asserted in each of the Barred Entities’ cases identified in Exhibit B were

released by the New York Attorney General, thus satisfying the second statutory bar

requirement.

        The amendment provides that “released claims against a manufacturer, distributor, or

dispenser of opioid products shall be extinguished by operation of law upon being released by

the department of law in such statewide opioid settlement agreement.” N.Y. Mental Hyg. Law §

25.18(d). As noted, on June 25, 2021, the New York Attorney General (in her capacity as head

of the department of law) entered into a full and final statewide opioid settlement agreement and

release. See Exhibit C. That settlement agreement released Janssen from “any and all Claims

that directly or indirectly are based on, arise out of, or in any way relate to or concern the

Covered Conduct,” id. at 5, and was drafted to “give the broadest possible bar against any

liability relating in any way to Released Claims. ” Id. at 15. “Covered Conduct” in turn is

broadly defined to cover any claim related to the manufacturing, marketing, and sale of opioids.

                                                  5
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 9 of 128. PageID #: 591358




Id. at 2. The Attorney General made the determination that the settlement, including resolution

of all subdivision claims, was in the State’s best interests.

       The Attorney General explicitly stated in her November 19, 2021 Letter and Release of

Opioid-Related Claims Pursuant to the Janssen New York State-Wide Settlement Agreement and

New York Mental Hygiene Law Section 25.18(d) that the Attorney General had obtained the

authority to settle and release, to the maximum extent of the State’s power, all Released Claims,

and that the New York Agreement constitutes a “statewide opioid settlement agreement” under

section 25.18(d) of the Mental Hygiene Law. See Exhibit D. And the Attorney General had

good reason to exercise this authority because, under the settlement, resolution of all subdivision

claims, including through the statutory bar, maximizes settlement bonus payments to the State of

New York. See Exhibit C at 7-12.

       Here, there can be no dispute that the claims against Janssen in all of the complaints

listed in Exhibit B and consolidated for pretrial purposes in this MDL are within the scope of the

release and thus fall under the statutory prohibition in section 25.18(d).

III.   All Of The Barred Entities’ Lawsuits Were Filed After The Statutory Deadline

       Third, and finally, the amendment applies to claims filed “after June thirtieth, two

thousand nineteen.” N.Y. Mental Hyg. Law § 25.18(d). All of the Barred Entities’ lawsuits

were filed after the June 30, 2019 cutoff. See Exhibit B. Accordingly, all three criteria for the

statutory bar set forth in § 25.18(d) are met, and the Barred Entities’ lawsuits should be

dismissed.

                                          CONCLUSION

       For the foregoing reasons, Janssen respectfully requests that this Court dismiss all claims

against it in the lawsuits identified in Exhibit B as statutorily barred by New York Mental

Hygiene Law section 25.18(d).

                                                   6
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 10 of 128. PageID #: 591359




Dated: July 21, 2022                    Respectfully submitted,


                                        /s/ Charles Lifland
                                        Charles Lifland
                                        400 S. Hope Street
                                        Los Angeles, CA 90071
                                        Telephone: (213) 430-6000
                                        Email: clifland@omm.com

                                        Counsel for Johnson & Johnson; Janssen
                                        Pharmaceuticals, Inc; Ortho-McNeil-Janssen
                                        Pharmaceuticals, Inc.; Janssen Pharmaceutica,
                                        Inc.




                                        7
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 11 of 128. PageID #: 591360




                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 21, 2022, a copy of Janssen’s Amended Motion to Dismiss

Claims Filed by Certain New York Subdivisions as Barred by Statute was filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.



Dated: July 21, 2022                               /s/ Charles Lifland
                                                   Charles Lifland
                                                   400 S. Hope Street
                                                   Los Angeles, CA 90071
                                                   Telephone: (213) 430-6000
                                                   Email: clifland@omm.com

                                                   Counsel for Johnson & Johnson; Janssen
                                                   Pharmaceuticals, Inc; Ortho-McNeil-Janssen
                                                   Pharmaceuticals, Inc.; Janssen Pharmaceutica,
                                                   Inc.




                                                   8
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 12 of 128. PageID #: 591361




                       EXHIBIT A
Case:
  Case:
      1:17-md-02804-DAP
         1:17-md-02804-DAP
                         DocDoc
                             #: 4591-1
                                #: 4547 Filed:
                                         Filed: 07/21/22
                                                 06/21/22 13
                                                           1 of
                                                             of 6.
                                                                128.
                                                                   PageID
                                                                     PageID
                                                                          #: 587400
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                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

     IN RE: NATIONAL PRESCRIPTION                            )   MDL 2804
     OPIATE LITIGATION                                       )
                                                             )   Case No. 1:17-md-2804
     THIS DOCUMENT RELATES TO:                               )
                                                             )   Judge Dan Aaron Polster
     All Cases Listed in Docket no. 4396-1                   )
                                                             )   ORDER
                                                             )




           Before the Court is the Settling Distributors’ Motion to Dismiss claims filed by Non-

 Participating New York Subdivisions. See docket no. 4398. Settling Distributors attached Exhibit

 A to their Motion, which lists the claims they seek to dismiss and the date each matter was filed –

 about 80 in total. See docket no. 4396-1.

           In response, the Court received two opposition briefs: (1) counsel for about 65 of the

 government entities listed in Exhibit A filed an Opposition to the Motion to Dismiss, see docket

 no. 4445; 1 and (2) Rochester City School District, one of the government entities in Exhibit A,

 also filed a response and also asked for a 30-day extension of time, see docket no. 4490.

           In addition to these filings, the Court invited the New York Attorney General to respond

 to the pending Motion to Dismiss. The Attorney General filed a position statement in support of

 the Settling Distributors’ Motion. See docket no. 4480.




 1
  Counsel purports to file this opposition on behalf of all of “the entities listed in Exhibit A,” docket 4445 at 1, but
 he does not represent all of them. Counsel must be more careful to state clearly what entities he represents.
Case:
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      1:17-md-02804-DAP
         1:17-md-02804-DAP
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                                #: 4547 Filed:
                                         Filed: 07/21/22
                                                 06/21/22 14
                                                           2 of
                                                             of 6.
                                                                128.
                                                                   PageID
                                                                     PageID
                                                                          #: 587401
                                                                             #: 591363




            Having reviewed these submissions, and for the reasons stated below, the Court DENIES

 Plaintiffs’ request for a stay and GRANTS the Settling Distributor’s Motion to Dismiss. Rochester

 City School District’s request for a thirty-day extension is DENIED.


            I.       The Court declines to issue a discretionary stay of New York Mental Hygiene
                     Law § 25.18(d). 2


            The essential basis for Defendants’ motion to dismiss is that a recently-passed New York

 statute – New York Mental Hygiene Law (“NYMHL”) § 25.18(d) – extinguishes the listed claims

 “by operation of law.” Motion at 1. Several of the Plaintiffs affected by this statute filed suit in

 federal court for the Eastern District of New York, seeking injunctive relief to prevent its

 enforcement. In that suit, Plaintiffs claim the statute is unconstitutional under the 1st and 14th

 Amendments of the United States Constitution and Article IX of the New York Constitution. See

 Town of Babylon, NY, v. Leticia Jones, No. 2:22-cv-01681, *1, 8 (E.D.N.Y. March 25, 2022)

 (docket no. 1). 3




 2
   NYMHL § 25.18 is part of a statewide framework crafted by the State Legislature for handling monies recovered
 in lawsuits brought against opioid defendants. First, the Legislature created an opioid settlement fund that “shall not
 be commingled with any other funds in the custody of the state comptroller.” N.Y. Finance Law § 99-nn-2. Any
 money received from a statewide opioid settlement that is not directly disbursed must be deposited in the fund, and
 that money may only be spent on “eligible expenditures” as defined by the Statute. Furthermore, the New York
 Finance Law requires that “[f]unding shall be distributed regionally . . . to ensure adequate geographic disbursement
 across the state in accordance with the statewide opioid settlement agreements.” Id. at § 99-nn-5.

 In addition to defining “eligible expenditures,” the statute extinguishes certain claims as a matter of law.
 Specifically, it states that “no government entity shall have the authority to assert released claims against entities
 released . . . in a statewide opioid settlement.” NYMHL §25.18(d). Additionally, the statute retroactively
 extinguishes claims filed after June 30, 2019, if those claims were released pursuant to a statewide settlement
 agreement. Id. According to the Attorney General, this code section strengthened New York’s position when
 negotiating opioid settlements and maximized funds the State received by ensuring the unanimous participation of
 New York government entities. See docket no. 4480 at 10. Under the terms of the statewide opioid settlement,
 Settling Distributors will make direct payments to all New York counties and the six largest cities by population. Id.
 at 14. The remaining funds will be appropriated by the New York State Legislature “exclusively for abatement
 purposes.” Id.

 3
     The Plaintiffs who filed the Opposition at docket no. 4445 include the Town of Babylon plaintiffs.


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      1:17-md-02804-DAP
         1:17-md-02804-DAP
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                                #: 4547 Filed:
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                                                 06/21/22 15
                                                           3 of
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                                                                128.
                                                                   PageID
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                                                                          #: 587402
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        Plaintiffs do not seek an injunction from this Court, but they do request this Court stay

 consideration of the Motion to Dismiss until the Town of Babylon court rules. See docket nos.

 4445 at 4; 4490 at 1. Rochester City School District also requests a thirty-day extension to respond

 to the Motion to Dismiss. These requests are denied.

        District courts “have the inherent authority to manage their dockets and courtrooms with a

 view toward the efficient and expedient resolution of cases.” Dietz v. Bouldin, 579 U.S. 40, 47

 (2016). Part of that inherent authority is the “broad discretion to stay proceedings as an incident to

 its power to control its own docket.” Clint v. Jones, 520 U.S. 681, 706-707 (1997) (citing Landis

 v. North American Co., 299 U.S. 248, 254 (1936). Conversely, a district court has broad discretion

 to decline to stay proceedings, and should do so if a stay would only delay resolution of a case.

 Finally, the “proponent of a stay bears the burden of establishing its need. Id. at 708.

        As a preliminary matter, the Court notes that putting the Motion to Dismiss on hold until

 the litigation in the Eastern District of New York concludes would not promote an “efficient and

 expedient resolution” of these cases. Dietz, 579 U.S. at 47. Judge Matsumoto, who is presiding

 over the litigation in the Eastern District, informed the parties in May that there may not be a

 decision on the Attorney General’s motion to dismiss before the end of the year. See docket no.

 4480, Ex. 2 at 3. And there is no predicting when Judge Matsumoto might reach a final decision

 on the merits if the motion to dismiss is denied. As a result, Plaintiffs are requesting what amounts

 to an indefinite stay of a ruling on the instant motion.

        Turning to the merits of the stay request, the arguments in Plaintiffs’ Opposition are

 somewhat inchoate, but Plaintiffs appear to argue that the retroactive termination of their claims

 was unfair, arbitrary, and unnecessary. To the contrary, however, the New York Attorney General

 articulates several justifications for the NYMHL that are fair, well-reasoned, and support the



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      1:17-md-02804-DAP
         1:17-md-02804-DAP
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                             #: 4591-1
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                                                           4 of
                                                             of 6.
                                                                128.
                                                                   PageID
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                                                                          #: 587403
                                                                             #: 591365




 Legislature’s decision to terminate Plaintiffs’ claims. Specifically, the Attorney General explains

 that releasing Plaintiffs’ claims gave New York full authority to bargain with Defendants on behalf

 of all the government entities in the State, which secured better settlement terms. Also, the New

 York Legislature made a reasonable determination that a cohesive statewide policy regarding

 opioid abatement would yield better results than allowing individual subdivisions such as Villages,

 Towns, Fire Districts, Boards of Education, Water Districts, Medical Centers, Public Libraries,

 and Cities to fend for themselves.

        Furthermore, the New York Legislature’s plan to “ensure adequate geographic

 disbursement across the state” is reasonable. See § 25.18(b)(1). Direct payments will be made to

 each county and the six largest cities in New York, which encompass Plaintiffs’ subdivisions.

 Under this distribution plan, the residents represented by each government subdivision listed in

 Exhibit A will enjoy access to needed resources for “prevention, treatment, harm reduction, and

 recovery services related to substance use disorders and co-occurring mental illness” in the

 counties where they reside. N.Y. Finance Law §99-nn-3. Therefore, enforcing § 25.18 will not

 result in any of Plaintiffs’ constituents being unfairly deprived of access to settlement funds.

 Plaintiffs have not shown that the application of the New York Mental Hygiene Law would result

 in an injustice and have failed to demonstrate the need for a stay.


        II.     Plaintiffs’ claims are extinguished by operation of law under §25.18.


        The NYMHL states:

        Any action filed by a government entity after June thirtieth, two thousand nineteen
        asserting released claims against a manufacturer, distributor, or dispenser of opioid




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         1:17-md-02804-DAP
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                                #: 4547 Filed:
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                                                 06/21/22 17
                                                           5 of
                                                             of 6.
                                                                128.
                                                                   PageID
                                                                     PageID
                                                                          #: 587404
                                                                             #: 591366




          products shall be extinguished by operation of law upon being released pursuant to
          such statewide opioid settlement agreement.

 NYMHL § 25.18(d). The statute thus sets out three elements that must be satisfied for a claim to

 be extinguished: (1) the action was filed by a government entity; (2) the action was filed after June

 30, 2019; and (3) the action asserts “released claims.” Plaintiffs do not contest the first two

 elements. 4 Plaintiffs do make a conclusory assertion that claims they brought under the New York

 Drug Dealer Liability Act are not “released claims” as defined by § 25.18(d). See docket no. 4445

 at 1. But Plaintiffs do not attempt to support this statement with either law or argument.

          Conversely, Settling Distributors argue that the New York Attorney General entered into a

 final statewide opioid settlement that released Distributors from “claims or demands of any kind

 or character whatsoever as a result of or relating to the Covered Conduct.” See docket no. 4398-2

 at 4. Covered Conduct is defined broadly as a claim relating in any way to the manufacturing,

 distributing, monitoring, dispensing, marketing, reporting, or diversion of opioid products. See

 docket no. 4398-2, Ex. B at 7. In turn, NYMHL §25.18(a)(5) states that the term “released claims”

 is to be defined in statewide opioid agreements, such as the agreement contained in Exhibit B and

 quoted above.

          The New York Settlement Agreement does not carve out an exception for claims brought

 under the New York Drug Dealer Liability Act. The Agreement is clear that the release of claims

 applies to any “cause of action . . . whether arising under federal, state or local common law.” See

 docket no. 4398 at 6–7. A claim for liability under the Drug Dealer Liability Act is clearly a cause

 of action arising under state law. Therefore, if a claim under the Drug Dealer Act relates in any



 4
  In their Opposition, “Plaintiffs all agree that they are governmental entities” as defined by section (d). See docket
 no. 4445 at 3. And Plaintiffs do not disagree with the dates listed in Defendants’ Exhibit A, which shows that all of
 Plaintiffs’ actions were filed after June 30, 2019. See docket no. 4396-1.


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Case:
  Case:
      1:17-md-02804-DAP
         1:17-md-02804-DAP
                         DocDoc
                             #: 4591-1
                                #: 4547 Filed:
                                         Filed: 07/21/22
                                                 06/21/22 18
                                                           6 of
                                                             of 6.
                                                                128.
                                                                   PageID
                                                                     PageID
                                                                          #: 587405
                                                                             #: 591367




 way to Covered Conduct, it is extinguished. Plaintiffs do not dispute that their claims relate to

 Covered Conduct as defined by the New York Settlement Agreement. Thus, the claims of Plaintiffs

 listed in Exhibit A are released claims asserted by government entities after June 30, 2019. All

 three elements of NYMHL 25.18(d) are satisfied, so Plaintiffs’ claims have been extinguished by

 operation of law.

        Accordingly, Settling Distributors’ Motion to Dismiss is GRANTED.

                IT IS SO ORDERED.




                                                 /s/ Dan Aaron Polster June 21, 2022
                                                 DAN AARON POLSTER
                                                 UNITED STATES DISTRICT JUDGE




                                                6
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 19 of 128. PageID #: 591368




                       EXHIBIT B
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 20 of 128. PageID #: 591369




    Case Name                                                      Case Number         Date Filed
    Amityville (NY), Village of v. McKesson Corporation, et al. 1:19-op-45955           10/30/2019
    Babylon (NY), Incorporated Village of v. McKesson Corp., et
    al.                                                         1:19-op-46062           11/21/2019
    Babylon (NY), Town of v. McKesson Corp., et al.                1:19-op-46047        11/21/2019
    Bellmore (NY), Fire District of v McKesson Corp., et al.       1:19-op-46034        11/20/2019
    Bellport (NY), Village of v. McKesson Corp., et al.            1:19-op-46019        11/15/2019
    Board of Education of Thornton Township High Schools
    (IL), et al. v. Cephalon, Inc., et al.1                        1:20-op-45281        12/16/2020
    Brookhaven (NY), Town of v. McKesson Corporation, et al.       1:19-op-46018        11/15/2019
    Centereach (NY), Fire District v. McKesson Corporation, et
    al.                                                            1:19-op-46100         12/3/2019
    Centerport (NY), Fire District of v. McKesson Corp., et al.    1:19-op-46107         12/4/2019
    Clarkstown (NY), Town of v. McKesson Corp., et al.             1:19-op-46088        11/22/2019
    East Hampton (NY), Village of v. McKesson Corp., et al.        1:19-op-46040        11/20/2019
    East Rockaway (NY), Village of v. McKesson Corporation, et
    al.                                                        1:19-op-45999            11/11/2019
    Erie County Medical Center Corporation, et al v. Teva      1:21-op-45116             5/11/2021
    Pharmaceuticals USA, Inc., et al.2
    Farmingdale (NY), Village of v. McKesson Corp., et al.     1:19-op-46037            11/20/2019
    Floral Park (NY), Village of v. McKesson Corporation, et al.   1:19-op-46000        11/11/2019
    Friendship Engine & Hose Company (NY) v. McKesson              1:19-op-46078        11/22/2019
    Corp., et al.
    Garden City (NY), Village of v. McKesson Corp., et al.         1:19-op-45902        10/22/2019
    Great Neck (NY), Village of v. McKesson Corp., et al.          1:19-op-46145        12/19/2019
    Greenport (NY), Village of v. McKesson Corp., et al.           1:19-op-46084       11/22/2019
    Hauppauge (NY), Fire District of v. McKesson Corp., et al.     1:19-op-46108      12/4/2019
    Haverstraw (NY), Town of v. McKesson Corp., et al.             1:19-op-46083        11/22/2019
    Hempstead (NY), Town of v. McKesson Corp., et al.              1:19-op-46035        11/20/2019
    Hempstead (NY), Village of v. McKesson Corporation, et al.     1:19-op-46026        11/18/2019
    Hicksville (NY), Water District of v. McKesson Corp., et al.   1:20-op-45072         2/10/2020
    Huntington (NY), Town of v. McKesson Corp., et al.             1:19-op-46038        11/20/2019

1
  Board of Education of Thornton Township High Schools is a multi-plaintiff case filed by
plaintiffs from multiple states. Through this motion, Janssen only seeks dismissal of the claims
brought by plaintiff Board of Education of Rochester City School District, which is a New York
government entity subject to the statutory bar.
2
  Erie County Medical Center is a multi-plaintiff case with multiple plaintiffs. Janssen only
seeks dismissal of claims brought by Plaintiff Erie County Medical Center.
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Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 21 of 128. PageID #: 591370




   Case Name                                                        Case Number       Date Filed
   Island Park (NY), Village of v. McKesson Corp., et al.           1:19-op-45903    10/22/2019
   Islandia (NY), Incorporated Village of v. McKesson Corp., et
   al.                                                            1:19-op-45954      10/29/2019
   Islip Terrace (NY), Fire District of v. McKesson Corp., et al. 1:20-op-45049      2/5/2020
   Islip (NY), Town of v. McKesson Corp., et al.                  1:19-op-46079     11/22/2019
   Lake Grove (NY), Incorporated Village of v. McKesson Corp.,
   et al.                                                      1:19-op-46032        11/20/2019
   Lawrence (NY), Incorporated Village of v. McKesson Corp.,
   et al.                                                      1:19-op-45992        11/6/2019
   Levittown (NY), Fire District of v. McKesson Corp., et al.  1:19-op-46077        11/22/2019
   Lindenhurst (NY), Incorporated Village of v. McKesson
   Corp., et al.                                                    1:19-op-46064   11/21/2019
   Lloyd Harbor (NY), Incorporated Village of v. McKesson
   Corp., et al.                                                    1:19-op-46052   11/21/2019
   Long Beach (NY), City of v. McKesson Corporation, et al.         1:19-op-46005   11/13/2019
   Lynbrook (NY), Village of v. McKesson Corporation, et al.        1:19-op-46009   11/15/2019
   Massapequa Park (NY), Village of v. McKesson Corporation,
   et al.                                                    1:19-op-46024          11/18/2019
   Melville (NY), Fire District of v. McKesson Corp., et al. 1:19-op-46112          12/5/2019
   Merrick Library (NY) v. McKesson Corporation, et al.      1:19-op-46097          12/2/2019
   Mill Neck (NY), Incorporated Village of v. McKesson Corp.,
   et al.                                                        1:19-op-46074      11/22/2019
   Miller Place (NY), Fire District of v. McKesson Corp., et al. 1:19-op-46109      12/4/2019
   Millerton (NY), Village of v. McKesson Corporation, et al.    1:19-op-45998      11/11/2019
   Mount Sinai (NY), Fire District of v. McKesson Corporation,
   et al.                                                      1:19-op-46110        12/4/2019
   Nassau University Medical Center (NY) v. Purdue Pharma
   L.P., et al.                                                1:19-op-45812        8/30/2019
   Nesconset (NY), Fire District of v. McKesson Corp., et al.  1:19-op-46106        12/4/2019
   New Hyde Park (NY), Incorporated Village of v. McKesson
   Corp., et al.                                                    1:19-op-46022   11/15/2019
   Nissequogue (NY), Incorporated Village of v. McKesson
   Corp., et al.                                                    1:19-op-46063   11/21/2019
   North Hempstead (NY), Town of v. McKesson Corp., et al.          1:19-op-46043   11/20/2019
   North Merrick (NY), Fire District of v. McKesson Corp., et al.
                                                                    1:19-op-46048   11/21/2019
   North Patchogue (NY), First District of v. McKesson Corp., et
   al.                                                           1:20-op-45050      2/5/2020


                                                2
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 22 of 128. PageID #: 591371




   Case Name                                                    Case Number     Date Filed
   Northport (NY), Incorporated Village of v. McKesson Corp.,
   et al.                                                     1:19-op-46050     11/21/2019
   Old Westbury (NY), Village of v. McKesson Corp., et al.    1:19-op-46075     11/22/2019
   Orangetown (NY), Town of v. McKesson Corp., et al.         1:19-op-46075     11/22/2019
  Oyster Bay (NY), Town of v. McKesson Corp., et al.            1:19-op-46041    11/20/2019
  Patchogue (NY), Village of v. McKesson Corp., et al.          1:19-op-46039    11/20/2019
  Plainview - Old Bethpage (NY) Public Library v. McKesson
  Corp., et al.                                                 1:19-op-46061    11/21/2019
  Poquott (NY), Incorporated Village of v. McKesson Corp., et
  al.                                                           1:19-op-46031    11/20/2019
  Port Washington North (NY), Village of v. Purdue Pharma,
  et al.                                                        1:19-op-46051    11/21/2019
  Port Washington (NY), Water District of v. McKesson Corp.,
  et al.                                                        1:19-op-46004    11/13/2019
  Poughkeepsie (NY), Town of v. Teva Pharmaceuticals USA,
  Inc., et al.                                                  1:20-op-45260     2/21/2020
  Ramapo, (NY), Town of v. McKesson Corporation, et al          1:20-op-45042     1/27/2020
  Ridge (NY), Fire District of v. McKesson Corp., et al.        1:19-op-46144    12/19/2019
  Riverhead (NY), Town of v. McKesson Corp., et al.             1:19-op-46036    11/20/2019
  Rockville Centre Public Library (NY) v. McKesson Corp., et
  al.                                                           1:19-op-46065    11/21/2019
  Roslyn (NY), Water District of v. McKesson Corporation, et
  al.                                                           1:19-op-46015    11/15/2019
  Saltaire (NY), Village of v. McKesson Corp., et al.           1:19-op-46080    11/22/2019
  Smithtown (NY), Fire District of v. McKesson Corporation,
  et al.                                                        1:19-op-46111     12/4/2019
  Smithtown (NY), Town of v. McKesson Corp., et al.             1:19-op-46033    11/20/2019
  South Farmingdale (NY), Fire District of v. McKesson
  Corporation, et al.                                           1:19-op-46003    11/13/2019
  Southampton (NY), Town of v. McKesson Corp., et al.           1:19-op-45968     11/4/2019
  Southold (NY), Town of v. McKesson Corp., et al.              1:19-op-46090    11/22/2019
  Southwestern Central School District (NY) v. Cephalon, Inc.   1:22-op-45024     5/24/2022
  et al.
  St James (NY), Fire District of v. McKesson Corporation, et
  al.                                                           1:20-op-45035     1/19/2020
  Stewart Manor (NY), Village of v. McKesson Corporation, et
  al.                                                           1:19-op-46002    11/13/2019
  Stony Brook (NY), Fire District of v. McKesson Corporation,
  et al.                                                        1:19-op-46113     12/5/2019

                                               3
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 23 of 128. PageID #: 591372




  Case Name                                                      Case Number     Date Filed
  Stony Point (NY), Town of v. McKesson Corp., et al.            1:20-op-45036    1/22/2020
  Suffern (NY), Village of v. McKesson Corp., et al.             1:19-op-46087   11/22/2019
   The Branch (NY), Village of v. McKesson Corporation, et al.   1:19-op-46114   12/5/2019
   Uniondale (NY), Fire District of v. McKesson Corp., et al.    1:19-op-46049   11/21/2019
   Valley Stream (NY), Village of v. McKesson Corporation, et
   al.                                                           1:19-op-46023   11/15/2019
   Wappinger Falls (NY), Town of v. ABDC, et al.                 1:19-op-46091    11/1/2019
   Wappingers Falls (NY), Village of v. ABDC, et al.             1:19-op-45922    9/18/2019
   West Hampton Dunes (NY), Incorporated Village of v.
   McKesson Corp., et al.                                        1:19-op-46055   11/21/2019
   West Haverstraw (NY), Village of v. McKesson Corp., et al.    1:19-op-46089   11/22/2019
   West Hempstead (NY) Public Library v. McKesson
   Corporation, et al.                                           1:20-op-45018    1/13/2020
   Westbury (NY), Village of v. McKesson Corporation, et al.     1:19-op-46025   11/18/2019




                                               4
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 24 of 128. PageID #: 591373




                       EXHIBIT C
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 25 of 128. PageID #: 591374




      JANSSEN NEW YORK STATE-WIDE OPIOID SETTLEMENT AGREEMENT

                                         TERM SHEET

                                         I.   Overview

This Agreement sets forth the principal terms and conditions of a settlement agreement between and
among the State of New York, Nassau County, Suffolk County, all New York Participating
Subdivisions, and Janssen (collectively, “the Parties”) to resolve opioid-related Claims against
Janssen.

The Parties intend the terms of this Agreement to parallel the terms of the Global Prescription
Opiate Litigation Settlement Agreement (“Global Settlement”) currently under negotiation. If the
Global Settlement becomes effective by February 15, 2022, its terms will supersede the terms of
this Agreement except for Sections VI (Dismissal of Claims), VII (Release), and IX (Attorney Fee
and Cost Payments). If the Global Settlement is not effective by the aforementioned date, this
Agreement and any subsequent Consent Judgment giving effect to its terms will control.

Janssen has agreed to the below terms for the sole purpose of settlement, and nothing herein may be
taken as or construed to be an admission or concession of any violation of law, rule, or regulation,
or of any other matter of fact or law, or of any liability or wrongdoing, all of which Janssen
expressly denies. No part of this Agreement, including its statements and commitments, shall
constitute evidence of any liability, fault, or wrongdoing by Janssen. Unless the contrary is
expressly stated, this Agreement is not intended for use by any third party for any purpose,
including submission to any court for any purpose. This Agreement is not contingent on the Global
Settlement taking effect.

                                       II.    Definitions

A.     “Actions” means The County of Suffolk, New York v. Purdue Pharma L. P., Case No.
       400001/2017; The County of Nassau, New York v. Purdue Pharma L. P., Case No.
       400008/2017; and The People of the State of New York v. Purdue Pharma L.P., Case No.
       400016/2018.

B.     “Agreement” means this term sheet together with the exhibits thereto.

C.     “Bar” means either (1) a ruling by the highest court of the State setting forth the general
       principle that no Subdivisions or Special Districts in the State may maintain Released
       Claims against Released Entities, whether on the ground of the Agreement (or the release in
       it) or otherwise; (2) a law barring Subdivisions and Special Districts in the State from
       maintaining or asserting Released Claims against Released Entities; or (3) a Settlement
       Class Resolution in the State with full force and effect. For avoidance of doubt, a law or
       ruling that is conditioned or predicated upon payment by a Released Entity (apart from
       payments by Janssen incurred under the Agreement) shall not constitute a Bar.

D.     “Case-Specific Resolution” means either (1) a law barring specified Subdivisions or Special
       Districts from maintaining Released Claims against Released Entities; (2) a ruling by a court
       of competent jurisdiction over a particular Subdivision or Special District that has the legal

                                                 1
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 26 of 128. PageID #: 591375




     effect of barring the Subdivision or Special District from maintaining any Released Claims
     at issue against Released Entities, whether on the ground of the Agreement (or the release in
     it) or otherwise; or (3) in the case of a Special District, a release consistent with Section VII
     below. For avoidance of doubt, a law, ruling, or release that is conditioned or predicated
     upon a post-Effective Date payment by a Released Entity (apart from payments by Janssen
     incurred under the Agreement or injunctive relief obligations incurred by it) shall not
     constitute a Case-Specific Resolution.

E.   “Claim” means any past, present, or future cause of action, claim for relief, cross-claim or
     counterclaim, theory of liability, demand, derivative claim, request, assessment, charge,
     covenant, damage, debt, lien, loss, penalty, judgment, right, obligation, dispute, suit,
     contract, controversy, agreement, parens patriae claim, promise, performance, warranty,
     omission, or grievance of any nature whatsoever, whether legal, equitable, statutory,
     regulatory or administrative, whether arising under federal, state or local common law,
     statute, regulation, guidance, ordinance or principles of equity, whether filed or unfiled,
     whether asserted or unasserted, whether known or unknown, whether accrued or unaccrued,
     whether foreseen, unforeseen or unforeseeable, whether discovered or undiscovered,
     whether suspected or unsuspected, whether fixed or contingent, and whether existing or
     hereafter arising, in all such cases, including but not limited to any request for declaratory,
     injunctive, or equitable relief, compensatory, punitive, or statutory damages, absolute
     liability, strict liability, restitution, subrogation, contribution, indemnity, apportionment,
     disgorgement, reimbursement, attorney fees, expert fees, consultant fees, fines, penalties,
     expenses, costs or any other legal, equitable, civil, administrative, or regulatory remedy
     whatsoever.

F.   “Covered Conduct” means any actual or alleged act, failure to act, negligence, statement,
     error, omission, breach of any duty, conduct, event, transaction, agreement, misstatement,
     misleading statement or other activity of any kind whatsoever from the beginning of time
     through the date of execution of this Agreement (and any past, present, or future
     consequence of any such act, failure to act, negligence, statement, error, omission, breach of
     duty, conduct, event, transaction, agreement, misstatement, misleading statement or other
     activity) relating in any way to (a) the discovery, development, manufacture, packaging,
     repackaging, marketing, promotion, advertising, labeling, recall, withdrawal, distribution,
     delivery, monitoring, reporting, supply, sale, prescribing, dispensing, physical security,
     warehousing, use or abuse of, or operating procedures relating to, any Product, or any
     system, plan, policy, or advocacy relating to any Product or class of Products, including but
     not limited to any unbranded promotion, marketing, programs, or campaigns relating to any
     Product or class of Products; (b) the characteristics, properties, risks, or benefits of any
     Product; (c) the reporting, disclosure, non-reporting, or non-disclosure to federal, state, or
     other regulators of orders for any Product placed with any Released Entity; (d) the selective
     breeding, harvesting, extracting, purifying, exporting, importing, applying for quota for,
     procuring quota for, handling, promoting, manufacturing, processing, packaging, supplying,
     distributing, converting, or selling of, or otherwise engaging in any activity relating to,
     precursor or component Products, including but not limited to natural, synthetic, semi-
     synthetic, or chemical raw materials, starting materials, finished active pharmaceutical
     ingredients, drug substances, or any related intermediate Products; or (e) diversion control
     programs or suspicious order monitoring related to any Product.

                                                2
     Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 27 of 128. PageID #: 591376




G.       “Consent Judgment” means a consent decree, order, judgment, or similar action.

H.       “Court” means the court to which the Agreement and the Consent Judgment are presented
         for approval and/or entry.

I.       “Effective Date” means the date of entry of a final Consent Judgment, which shall be filed
         no later than 30 days after the Initial Participation Date.

J.       “Finality” means:

         a.     the Agreement and the Consent Judgment have been approved and entered by the
                Court as to Janssen, including the release of all Released Claims against Released
                Entities as provided in this Agreement;

         b.     for all lawsuits brought by the State against Released Entities for Released Claims,
                either previously filed or filed as part of the entry of the Consent Judgment, the
                Court has stated in the Consent Judgment or otherwise entered an order finding that
                all Released Claims against Released Entities asserted in the lawsuit have been
                resolved by agreement; and

         c.     (1) the time for appeal or to seek review of or permission to appeal from the approval
                and entry as described in subsection (a) hereof and entry of such order described in
                subsection (b) hereof has expired; or (2) in the event of an appeal, the appeal has
                been dismissed or denied, or the approval and entry described in (a) hereof and the
                order described in subsection (b) hereof have been affirmed in all material respects
                (to the extent challenged in the appeal) by the court of last resort to which such
                appeal has been taken and such dismissal or affirmance has become no longer
                subject to further appeal (including, without limitation, review by the United States
                Supreme Court).

K.       “Global Settlement” means an agreement in which the State of New York participates
         resolving the litigation and claims brought or threatened to be brought by states and
         subdivisions against Janssen, including claims against Janssen asserted in the multi-district
         litigation In re: Nationwide Prescription Opiate Litigation, MDL No. 2804 (N.D. Ohio)
         (“MDL”) and state court prescription opiate litigation.

L.       “Initial Participation Date” means the date by which Subdivisions must join to become
         initial Participating Subdivisions. The Initial Participation Date shall be 150 days after the
         execution of this Agreement, provided that, in the event that Senate Bill S7194 becomes law
         and the New York Attorney General notifies Janssen within 75 days of the date of execution
         of this Agreement that all Subdivisions and Special Districts have become Participating
         Subdivisions or had their claims released consistent with Section VII, such that the State
         qualifies for Incentive A under Section III.C.3., the Initial Participation Date shall be 90
         days after the date of execution of this Agreement.

M.       “Janssen” means Johnson & Johnson, Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen
         Pharmaceuticals, Inc., and Janssen Pharmaceutica, Inc.


                                                   3
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 28 of 128. PageID #: 591377




N.   “Later Litigating Special District” means a Special District that is not a Litigating Special
     District and that files a lawsuit bringing a Released Claim against a Released Entity, or that
     adds such a claim to a pre-existing lawsuit, after the execution date of this Agreement. It
     may also include a Litigating Special District whose claims were resolved by a judicial Bar
     or Case-Specific Resolution which is later revoked following the execution date of this
     Agreement, when such Litigating Special District takes any affirmative step in its lawsuit
     other than seeking a stay or removal.

O.   “Later Litigating Subdivision” means a Subdivision that is not a Litigating Subdivision and
     that files a lawsuit bringing a Released Claim against a Released Entity, or that adds such a
     claim to a pre-existing lawsuit, after the Effective Date. It may also include a Litigating
     Subdivision whose claims were resolved by a judicial Bar or Case-Specific Resolution
     which is later revoked following the Effective Date, when such Litigating Subdivision takes
     any affirmative step in its lawsuit other than seeking a stay or removal.

P.   “Litigating Special District” means a Special District that brought any Released Claims
     against any Released Entities on or before the execution date of this Agreement that were
     not separately resolved prior to that date. A list of Litigating Special Districts will be agreed
     to by the parties.

Q.   “Litigating Subdivision” means a Subdivision that brought any Released Claims against any
     Released Entities on or before the Effective Date that were not separately resolved prior to
     that date. A list of Litigating Subdivisions will be agreed to by the parties.

R.   “Non-Litigating Special District” means a Special District that is neither a Litigating Special
     District nor a Later Litigating Special District.

S.   “Non-Litigating Subdivision” means a Subdivision that is neither a Litigating Subdivision
     nor a Later Litigating Subdivision.

T.   “Non-Participating Subdivision” means a Subdivision that is not a Participating Subdivision.

U.   “Participating Subdivision” means a Subdivision that signs the Election and Release Form
     annexed as Exhibit A and meets the requirements for becoming a Participating Subdivision
     under subsection VIII.A.

V.   “Primary Subdivision” means a Subdivision that has a population of 30,000 or more
     residents pursuant to the 2019 U.S. Census estimate.

W.   “Product” means any chemical substance, whether used for medicinal or non-medicinal
     purposes, and whether natural, synthetic, or semi-synthetic, or any finished pharmaceutical
     product made from or with such substance, that is an opioid or opiate, as well as any product
     containing any such substance. It also includes: 1) the following when used in combination
     with opioids or opiates: benzodiazepine, carisoprodol, zolpidem, or gabapentin; and 2) a
     combination or “cocktail” of any stimulant or other chemical substance prescribed or sold to
     be used together that includes opioids or opiates. “Product” includes but is not limited to any
     substance consisting of or containing buprenorphine, codeine, fentanyl, hydrocodone,
     hydromorphone, meperidine, methadone, morphine, naloxone, naltrexone, oxycodone,

                                                 4
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 29 of 128. PageID #: 591378




      oxymorphone, tapentadol, tramadol, opium, heroin, carfentanil, any variant of these
      substances, or any similar substance. “Product” also includes any natural, synthetic, semi-
      synthetic or chemical raw materials, starting materials, finished active pharmaceutical
      ingredients, drug substances, and any related intermediate products used or created in the
      manufacturing process for any of the substances described in the preceding sentence.

X.    “Qualified Settlement Fund” means the fund established by this Agreement into which all
      payments by Janssen are made, unless otherwise expressly provided in this Agreement.

Y.    “Released Claims” means any and all Claims that directly or indirectly are based on, arise
      out of, or in any way relate to or concern the Covered Conduct occurring prior to the
      Effective Date. Without limiting the foregoing, “Released Claims” include any Claims that
      have been asserted against the Released Entities by the State or any of its Litigating
      Subdivisions or Litigating Special Districts in any federal, state or local action or proceeding
      (whether judicial, arbitral or administrative) based on, arising out of or relating to, in whole
      or in part, the Covered Conduct, or any such Claims that could be or could have been
      asserted now or in the future in those actions or in any comparable action or proceeding
      brought by the State, any of its Subdivisions or Special Districts, or any Releasor (whether
      or not such State, Subdivision, Special District, or Releasor has brought such action or
      proceeding). Released Claims also include all Claims asserted in any proceeding to be
      dismissed pursuant to the Agreement, whether or not such claims relate to Covered Conduct.
      The Parties intend that “Released Claims” be interpreted broadly. This Agreement does not
      release Claims by private individuals. It is the intent of the Parties that Claims by private
      individuals be treated in accordance with applicable law.

Z.    “Released Entities” means Janssen and (1) all of Janssen’s past and present direct or indirect
      parents, subsidiaries, divisions, joint ventures, predecessors, successors, assigns, and
      insurers (solely in their role as insurers with respect to the Released Claims), including
      Noramco, Inc. and Tasmanian Alkaloids PTY. LTD., (2) the past and present direct or
      indirect subsidiaries, divisions, and joint ventures, of any of the foregoing, and (3) the
      respective past and present officers, directors, members, shareholders (solely in their
      capacity as shareholders of the foregoing entities), partners, trustees, and employees of any
      of the foregoing (for actions that occurred during and related to their work for, or
      employment with, Janssen). Collegium Pharmaceutical is not a released entity.

AA.   “Releasors” means (1) the State of New York; (2) Nassau and Suffolk Counties; (3) each
      Participating Subdivision; and (4) without limitation and to the maximum extent of the
      power of the State of New York’s Attorney General to release Claims, (a) the State of New
      York’s departments, agencies, divisions, boards, commissions, Subdivisions, districts,
      instrumentalities of any kind and attorneys, including its Attorney General, and any person
      in their official capacity elected or appointed to serve any of the foregoing and any agency,
      person, or other entity claiming by or through any of the foregoing, (b) any public entities,
      public instrumentalities, public educational institutions, unincorporated districts, fire
      districts, irrigation districts, water districts, law enforcement districts, emergency services
      districts, school districts, hospital districts, and other Special Districts in the State, and (c)
      any person or entity acting in a parens patriae, sovereign, quasi-sovereign, private attorney
      general, qui tam, taxpayer, or other capacity seeking relief on behalf of or generally

                                                  5
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 30 of 128. PageID #: 591379




      applicable to the general public with respect to the State of New York or Subdivisions in the
      State, whether or not any of them participate in the Agreement. The inclusion of a specific
      reference to a type of entity in this definition shall not be construed as meaning that the
      entity is not a Subdivision. In addition to being a Releasor as provided herein, a Participating
      Subdivision shall also provide an Election and Release Form providing for a release to the
      fullest extent of the Participating Subdivision’s authority, which shall be attached as an
      exhibit to the Agreement. The State of New York’s Attorney General represents that he or
      she has or has obtained the authority set forth in the Representation and Warranty Section.

BB.   “Settlement Class Resolution” means a class action resolution in a court of the State with
      respect to a class of Subdivisions and Special Districts in the State that (1) conforms with
      the State’s statutes, case law, and/or rules of procedure regarding class actions; (2) is
      approved and entered as an order of court of the State and has achieved Finality; (3) is
      binding on all Non-Participating Subdivisions and Special Districts in the State (other than
      opt outs as permitted under the next sentence); (4) provides that no such Non-Participating
      Subdivision or Special District may bring Released Claims against Released Entities,
      whether on the ground of the Agreement (or the release in it) or otherwise; and (5) does not
      impose any costs or obligations on Janssen other than those provided for in the Agreement,
      or contain any provision inconsistent with any provision of the Agreement. If applicable
      State law requires that opt-out rights be afforded to members of the class, a class action
      resolution otherwise meeting the foregoing requirements shall qualify as a Settlement Class
      Resolution unless Subdivisions collectively representing 2.5% or more of the State’s
      population opt out.

CC.   “Settlement Fund Administrator” means the entity that administers the Qualified Settlement
      Fund.

DD.   “Special District” means a formal and legally recognized sub-entity of the State that is
      authorized by State law to provide one or a limited number of designated functions,
      including but not limited to school districts, fire districts, healthcare & hospital districts, and
      emergency services districts. Special Districts do not include sub-entities of the State that
      provide general governance for a defined area that would qualify as a Subdivision.

EE.   “State” means the State of New York.

FF.   “Subdivision(s)” means a formal and legally recognized sub-entity of the State of New York
      that provides general governance for a defined area, including a county, city, town, village,
      or similar entity. Unless otherwise specified, “Subdivision” includes all functional counties
      and other functional levels of sub-entities of the State that provide general governance for a
      defined area. Historic, non-functioning sub-entities of the State of New York are not
      Subdivisions. For purposes of this Agreement, the term Subdivision does not include Special
      Districts. A list of New York Subdivisions will be agreed to prior to any Subdivision sign-on
      period.




                                                  6
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 31 of 128. PageID #: 591380




                        III.   Monetary Relief and Payments

A.   Remediation and Restitution Payments

     1.    Janssen shall pay into the Qualified Settlement Fund for purposes of remediation and
           restitution, the sum of $229,862,769.25 minus (1) any unearned incentive payments
           under subsection III.C below and (2) any moratorium adjustments under subsection
           III.D.1 below.

     2.    The payments to the Qualified Settlement Fund shall be divided into base and
           incentive payments as provided in subsections III.B and III.C and shown in the
           exemplar payment schedules below.

     3.    The exemplar payment schedules below do not account for deductions for unearned
           incentives or moratorium adjustments, which will be separately calculated for each
           payment.

B.   Base Payments

     1.    Janssen will make base payments into the Qualified Settlement Fund totaling
           $98,493,957.74. The base payments will be paid in accordance with the payment
           schedules below, subject to potential acceleration and potential deductions as
           provided herein.

     2.    If the State of New York qualifies for Incentive A (described below), Janssen will
           accelerate the base payment schedule so that the State receives its Year 1-3 base
           payment allocation and full Year 1-3 Incentive A amount within 90 days of notice,
           on or after the Effective Date, of the Bar’s implementation. Year 4-9 payments are
           made annually and cannot be accelerated.

C.   Incentive Payments

     1.    Janssen shall make incentive payments into the Qualified Settlement Fund
           potentially totaling up to $131,368,811.51, consisting of $119,875,673.05 for
           Incentive A (or, alternatively, up to $119, 875, 673.05 for combined Incentives B
           and C if Incentive A is not achieved) and $11,493,138.46 for Incentive D, if and to
           the extent the State of New York satisfies the requirements specified herein to
           receive such payments. The incentive payments will be paid in accordance with the
           payment schedules below, subject to potential acceleration and potential deductions
           as provided herein.

     2.    The State of New York may qualify to receive incentive payments in addition to base
           payments if, within three years after: (i) the effective date of the Global Settlement,
           or (ii) the date on which it is determined that there will not be a Global Settlement
           (either of which is the “Global Resolution Date”), it meets the incentive eligibility
           requirements specified below. The State may qualify for incentive payments in four
           ways. If it qualifies for “Incentive A,” it will become entitled to receive the
           maximum incentive payment allocable to the State. If the State does not qualify for

                                              7
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 32 of 128. PageID #: 591381




          Incentive A, it can alternatively qualify for “Incentive B” and/or “Incentive C.” The
          State can qualify for “Incentive D” regardless of whether it qualifies for another
          incentive payment.

    3.    Incentive A: Accelerated Incentive Payment for Full Participation.

          a.     The State shall receive an accelerated Incentive A payment allocable to the
                 State for full participation.

          b.     The State can qualify for Incentive A by: (1) complete participation in the
                 form of releases consistent with Section VII below from all Non-Litigating
                 Subdivisions and Non-Litigating Covered Special Districts and all Litigating
                 Subdivisions and Litigating Special Districts in the State; (2) a Bar; or (3) a
                 combination of approaches in clauses (1)-(2) that achieves the same level of
                 resolution of Subdivision and Special District claims (e.g., a law barring
                 future litigation combined with full joinder by Litigating Subdivisions and
                 Litigating Special Districts). For purposes of Incentive A, a Subdivision or
                 Special District is considered a “Litigating Subdivision” or “Litigating
                 Special District” if it has brought Released Claims against Released Entities
                 on or before the Effective Date; all other Subdivisions and Special Districts
                 are considered “Non-Litigating.”

          c.     Qualification for Incentive A entitles the State to expedited payment of base
                 payments and incentive payments payable for Years 1-3, which Janssen shall
                 pay into the Qualified Settlement Fund within 90 days after receiving notice
                 from the Settlement Fund Administrator that a State has qualified for
                 Incentive A, but no less than 90 days from the Effective Date. Base and
                 incentive payments payable for Years 4-9 will not be expedited.

          d.     If the State qualifies for Incentive A after receiving an incentive payment
                 under Incentives B or C, described below, the State’s payments under
                 Incentive A will equal the remainder of its total Incentive A payments less
                 any payments previously received under Incentives B or C. If the State
                 receives all of its maximum incentive allocation under Incentive A, it shall
                 not receive additional incentive payments.

    4.    Incentive B: Early Participation or Released Claims by Litigating Subdivisions and
          Litigating Special Districts.

          a.     If the State does not qualify for Incentive A, it may still qualify to receive up
                 to 60% of its total potential Incentive A payment allocation under Incentive
                 B.

          b.     The State can qualify for an Incentive B payment if Litigating Subdivisions
                 and Litigating Special Districts representing at least 75% of the State’s
                 litigating population are either Participating Subdivisions or have their claims
                 resolved through Case-Specific Resolutions.


                                             8
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 33 of 128. PageID #: 591382




                (1)    The litigating population is the sum of the population of all Litigating
                       Subdivisions and Litigating Special Districts. The litigating
                       population shall include all Litigating Subdivisions and Litigating
                       Special Districts whose populations overlap in whole or in part with
                       other Litigating Subdivisions and Litigating Special Districts, for
                       instance in the case of a Litigating Special District, city, or township
                       contained within a county.

          c.    The following time periods apply to Incentive B payments:

                (1)    Period 1: Zero to 210 days after the Effective Date.

                (2)    Period 2: 211 days to one year after the Effective Date.

                (3)    Period 3: One year and one day to two years after the Effective Date.

          d.    Within Period 1: If Litigating Subdivisions and Litigating Special Districts
                representing at least 75% of the State’s litigating population are Participating
                Subdivisions or have their claims resolved through Case-Specific Resolutions
                during Period 1, a sliding scale will determine the share of the funds available
                under Incentive B, with a maximum of 60% of the State’s total potential
                incentive payment allocation available. Under that sliding scale, if Litigating
                Subdivisions and Litigating Special Districts collectively representing 75% of
                the State’s litigating population become Participating Subdivisions or achieve
                Case-Specific Resolution status by the end of Period 1, the State will receive
                50% of the total amount available to it under Incentive B. If more Litigating
                Subdivisions and Litigating Special Districts become Participating
                Subdivisions or achieve Case-Specific Resolution status, the State shall
                receive an increased percentage of the total amount available to it under
                Incentive B as shown in the table below.

                      Participation or Case-Specific          Incentive B Award
                            Resolution Levels                (As percentage of total
                        (As percentage of litigating        amount available to State
                               population)                     under Incentive B)
                                   75%                                50%
                                   76%                                52%
                                   77%                                54%
                                   78%                                56%
                                   79%                                58%
                                   80%                                60%
                                   85%                                70%
                                   90%                                80%
                                   95%                                90%
                                  100%                               100%



                                           9
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 34 of 128. PageID #: 591383




          e.     Within Period 2: If the State did not qualify for an Incentive B payment in
                 Period 1, but Litigating Subdivisions and Litigating Special Districts
                 collectively representing at least 75% of the State’s litigating population
                 become Participating Subdivisions or achieve Case-Specific Resolution status
                 by the end of Period 2, then the State qualifies for 75% of the Incentive B
                 payment it would have qualified for in Period 1.

          f.     Within Period 3: If the State did not qualify for an Incentive B payment in
                 Periods 1 or 2, but Litigating Subdivisions and Litigating Special Districts
                 collectively representing at least 75% of the State’s litigating population
                 become Participating Subdivisions or achieve Case-Specific Resolution status
                 by the end of Period 3, then the State qualifies for 50% of the Incentive B
                 payment it would have qualified for in Period 1.

          g.     If the State receives the Incentive B payment for Periods 1 and/or 2, it can
                 receive additional payments if it secures participation from additional
                 Litigating Subdivisions and Litigating Special Districts (or Case-Specific
                 Resolutions of their claims) during Periods 2 and/or 3. Those additional
                 payments would equal 75% (for additional participation or Case-Specific
                 Resolutions during Period 2) and 50% (for additional participation or Case-
                 Specific Resolutions during Period 3) of the amount by which the increased
                 litigating population levels would have increased the State’s Incentive B
                 payment if they had been achieved in Period 1.

          h.     If Litigating Subdivisions and Litigating Special Districts that have become
                 Participating Subdivisions or achieved Case-Specific Resolution status
                 collectively represent less than 75% of the State’s litigating population by the
                 end of Period 3, the State shall not receive any Incentive B payment.

          i.     Incentives earned under Incentive B shall accrue after each of Periods 1, 2,
                 and 3. After each period, the Settlement Fund Administrator shall conduct a
                 look-back to assess if the State vested an Incentive B payment in the
                 preceding period. Based on the look-back, the Settlement Fund Administrator
                 will calculate the incentives accrued under Incentive B for the period.

    5.    Incentive C: Early Participation of Subdivisions

          a.     If the State does not qualify for Incentive A, it may still qualify to receive up
                 to 40% of its total potential Incentive A allocation under Incentive C, which
                 has two parts.

                 (1)    Part 1: Under Incentive C, Part 1, the State can receive up to 75% of
                        its Incentive C allocation. The State can qualify for a payment under
                        Incentive C, Part 1 only if Primary Subdivisions (whether Litigating
                        or Non-Litigating Subdivisions as of the Effective Date) representing
                        at least 60% of the State’s Primary Subdivision population become
                        Participating Subdivisions or achieve Case-Specific Resolution status.

                                            10
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 35 of 128. PageID #: 591384




                (2)    The State’s Primary Subdivision population is the sum of the
                       population of all Primary Subdivisions (whether Litigating or Non-
                       Litigating Subdivisions as of the Effective Date) based on the 2019
                       U.S. Census estimate. Because Subdivisions include Subdivisions
                       whose populations overlap in whole or in part with other
                       Subdivisions, for instance in the case of a city or township contained
                       within a county, the State’s Primary Subdivision population is greater
                       than the State’s total population. (Special Districts are not relevant for
                       purposes of Incentive C calculations.)

                (3)    A sliding scale will determine the share of the funds available under
                       Incentive C, Part 1 assuming the State meets the minimum 60%
                       threshold. Under that sliding scale, if the State secures participation or
                       Case-Specific Resolutions from Primary Subdivisions representing
                       60% of its total Primary Subdivision population, it will receive 40%
                       of the total amount potentially available to it under Incentive C, Part
                       1. If the State secures participation or Case-Specific Resolutions from
                       Primary Subdivisions representing more than 60% of its Primary
                       Subdivision population, the State shall be entitled to receive a higher
                       percentage of the total amount potentially available to it under
                       Incentive C, Part 1, on the scale shown in the table below.

                      Participation or Case-Specific           Incentive C Award
                            Resolution Levels                 (As percentage of total
                      (As percentage of total Primary        amount available to State
                         Subdivision population)             under Incentive C, Part 1)
                                   60%                                 40%
                                   70%                                 45%
                                   80%                                 50%
                                   85%                                 55%
                                   90%                                 60%
                                   91%                                 65%
                                   92%                                 70%
                                   93%                                 80%
                                   94%                                 90%
                                   95%                                100%


          b.    Part 2: If the State qualifies to receive an incentive under Incentive C, Part 1,
                the State can also qualify to receive an additional incentive amount equal to
                25% of its total potential Incentive C allocation by securing 100%
                participation of the ten (10) largest Subdivisions by population in the State
                based on the 2019 U.S. Census estimate. (Special Districts are not relevant
                for purposes of this calculation.) If the State does not qualify for any amount
                under Incentive C, Part 1, it cannot qualify for Incentive C, Part 2.



                                           11
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 36 of 128. PageID #: 591385




          c.     Incentives earned under Incentive C shall accrue on an annual basis up to
                 three years after the Global Resolution Date. At one, two, and three years
                 after the Global Resolution Date, the Settlement Fund Administrator will
                 conduct a look-back to assess which Subdivisions had agreed to participate or
                 had their claim resolved through a Case-Specific Resolution that year. Based
                 on the look-back, the Settlement Fund Administrator will calculate the
                 incentives accrued under Incentive C for the year. In New York, initial
                 eligibility for Incentive C will be calculated using the responses to notices
                 sent pursuant to the Global Settlement. If no such notices are sent or tallied,
                 Incentive C will be calculated a year after the determination is made that they
                 will not be sent or tallied. If, however, New York qualifies for Incentive C
                 based on legislation, New York may claim Incentive C as soon as it is
                 eligible.

    6.    Incentive D: Release of Payments if No Qualifying Special District Litigation.

          a.     $11,493,138.46 of the funds paid by Janssen under subsection III.A.1 shall be
                 available for potential Incentive D payments according to the terms specified
                 in this section.

          b.     If, within five years of the execution date of this Agreement, a Covered
                 Special District files litigation against any Released Entity, Janssen shall,
                 within thirty days of Janssen being served, provide notice of the litigation to
                 the State, which shall file a motion to intervene in the litigation and use its
                 best efforts to obtain either dismissal of the litigation in cooperation with
                 Janssen, or a release consistent with Section VII of the Special District’s
                 Claims.

          c.     The State shall receive its allocation of the Incentive D payment if, within
                 five years after the Effective Date (the “look-back date”), no Covered Special
                 District within the State has filed litigation which has survived a Threshold
                 Motion and remains pending as of the look-back date, unless the dismissal
                 after the litigation survived the Threshold Motion is conditioned or
                 predicated upon payment by a Released Entity (apart from payments by
                 Janssen incurred under the Agreement or injunctive relief obligations
                 incurred by it).

          d.     Prior to the look-back date, a Released Entity shall not enter into a settlement
                 with a Covered Special District unless the State consents to such a settlement
                 or unreasonably withholds consent of such a settlement.

          e.     “Covered Special Districts” are school districts, healthcare/hospital districts,
                 and fire districts, subject to the following population thresholds:

                 (1)    For school districts, the K-12 student enrollment must be 25,000 or
                        0.10% of the State’s population, whichever is greater;



                                            12
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 37 of 128. PageID #: 591386




                  (2)     For fire districts, the district must cover a population of 0.20% of the
                          State’s population. If not easily calculable from state data sources and
                          agreed to between the State and Janssen, a fire district’s population is
                          calculated by dividing the population of the county or counties a fire
                          district serves by the number of fire districts in the county or counties.

                  (3)     For healthcare/hospital districts, the district must have at least 125
                          hospital beds in one or more hospitals rendering services in that
                          district.

B.   Potential Payment Adjustments

     1.    Moratorium. If a Later Litigating Subdivision in the State with a population above
           10,000 brings a lawsuit or other legal proceeding against Released Entities asserting
           Released Claims, Janssen shall, within thirty days of the lawsuit or other legal
           proceeding being served on Janssen, provide notice of the lawsuit or other legal
           proceeding to the State and provide the State an opportunity to intervene in the
           lawsuit or other legal proceeding. A Released Entity shall not enter into a settlement
           with a Later Litigating Subdivision unless the State consents to such a settlement or
           unreasonably withholds consent to such a settlement. If the Later Litigating
           Subdivision’s lawsuit or other legal proceeding survives a Threshold Motion before
           Janssen makes its last settlement payment to the State, Janssen will, from the date of
           the entry of the order denying the Threshold Motion and so long as the lawsuit or
           other legal proceeding is pending, be entitled to a moratorium suspending the
           following payments it would otherwise owe the State: (1) all remaining incentive
           payments; and (2) the last two scheduled base payments, if not already paid. Upon
           resolution of the lawsuit or other proceeding, Janssen will reimburse any payments
           withheld under the moratorium and resume any suspended payments; provided that,
           if the lawsuit or other proceeding results in a judgment against Janssen, Janssen may
           offset 75% of the amount of the judgment against any payments due to be resumed
           and/or reimbursed. Janssen will make any payment required to be reimbursed under
           this subsection as part of the next annual payment to the Qualified Settlement Fund
           after the resolution of the lawsuit or other proceeding.

     2.    Revoked Bar, Settlement Class Resolution, or Case-Specific Resolution. If Janssen
           made a payment as a result of the existence of a Bar, Settlement Class Resolution, or
           Case-Specific Resolution, and that Bar, Settlement Class Resolution, or Case-
           Specific Resolution is then revoked, rescinded, reversed, overruled, interpreted in a
           manner to limit the scope of the release or otherwise deprived of force or effect in
           any material respect (“a revocation event”), Janssen shall receive a dollar-for-dollar
           offset against its obligation to make remaining payments that would be apportioned
           to the State or Participating Subdivisions in it. This offset will be calculated as the
           dollar amount difference between (1) the total amount of Incentive Payments paid by
           Janssen during the time the Bar, Settlement Class Resolution, or Case-Specific
           Resolution subject to the revocation event was in effect, and (2) the total amount of
           incentive payments that would have been due from Janssen during that time without
           the Bar, Settlement Class Resolution, or Case-Specific Resolution subject to the

                                             13
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 38 of 128. PageID #: 591387




               revocation event being in effect. The amount of incentive payments that would have
               been due, referenced in (2) above, will be calculated based on considering any
               Subdivision that provides a release within 180 days after the revocation event as
               having been a Participating Subdivision (in addition to all other Participating
               Subdivisions) during the time that the Bar, Settlement Class Resolution, or Case-
               Specific Resolution subject to the revocation event was in effect. If a revocation
               event causes the State to no longer qualify for Incentive D, the State shall return to
               Janssen all payments made under Incentive D.

       3.      Notwithstanding anything to the contrary in subsections (1) and (2) above, if a Bar or
               Case-Specific Resolution is reinstated by the State, either through the same or
               different means as the initial Bar or Case-Specific Resolution, Janssen’s right to an
               offset is extinguished and any amounts withheld to offset amounts paid on account of
               the revoked, rescinded, reversed, or overruled Bar or Case-Specific Resolution shall
               be returned to the State, less and except any incentive payments that would have
               been paid during the period in which the Bar or Case-Specific Resolution was
               revoked, rescinded, reversed, or overruled.

       4.      Tier Calculations. The State of New York will be eligible for benefits associated
               with any tier implemented in the Global Settlement. If a moratorium is put into effect
               and it is later determined that the State would have been entitled to additional
               protection from the moratorium due to tier participation, any excess funds captured
               by the moratorium will be reimbursed. If the Global Settlement does not become
               effective by February 15, 2022, the State will be eligible for benefits associated with
               any tier negotiated in the Global Settlement, based on the number of initial
               participating states at the time of the Preliminary Agreement Date and if it meets the
               subdivision participation requirements for that tier on a statewide basis, provided that
               the parties negotiating the Global Settlement agreed on tier provisions prior to that
               settlement’s Preliminary Agreement Date and the provisions are distributed as part of
               the notice process.

                                   IV.        Intra-State Allocation

       Janssen’s payments shall be allocated according to the Intrastate Term Sheet annexed hereto
as Exhibit B and incorporated herein by reference.

                                         V.     Injunctive Relief

       The Parties agree to the injunctive relief as specified in Exhibit C.

                                    VI.        Dismissal of Claims

        Upon the execution of this Agreement, while awaiting formal approval of the Agreement by
the Nassau and Suffolk County Legislatures, the Parties agree to stay or extend all deadlines and
proceedings in the Actions as to Janssen and to jointly move for the claims against Janssen to be
severed from the Actions. It is the Parties’ intent that all litigation activities in the Actions relating
to the State’s and Nassau and Suffolk Counties’ claims against Janssen shall immediately cease as
of the date of the execution of this Agreement and that the claims against Janssen not be included in
                                                     14
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 39 of 128. PageID #: 591388




the trial of the Actions against the other defendants that commenced with jury selection on June 8,
2021. Concurrently with the execution of this Agreement, Janssen and Nassau and Suffolk Counties
will execute a Stipulation of Discontinuance with Prejudice, in the form annexed hereto as Exhibit
D. The Parties will hold Nassau and Suffolk Counties’ Stipulation of Discontinuance with Prejudice
in escrow until the Counties’ Legislatures approve the Agreement or a resolution is passed
satisfying the approval process of the Agreement. Once approval is given, Nassau and Suffolk
Counties and/or Janssen shall promptly submit the executed Stipulation of Discontinuance with
Prejudice to the Court with a request that it be so ordered. In the event the Counties’ Legislatures
fail to approve the Agreement or the Court declines to so order the discontinuance of the Actions
with prejudice as against Janssen, Janssen shall be entitled to terminate the Agreement and shall be
excused from all obligations under it. Concurrently with the execution of this Agreement, Janssen
and the State will execute a separate Stipulation of Discontinuance with Prejudice covering the
State’s claims against Janssen. The State’s Stipulation of Discontinuance with Prejudice will be
held in escrow until the Effective Date and shall be submitted to the Court with a request that it be
so ordered concurrently with the entry of the Consent Judgment implementing this Agreement.

                                         VII.    Release

A.     Scope. As of the Effective Date, the Released Entities will be released and forever
       discharged from all of the Releasors’ Released Claims. The State of New York (for itself
       and its Releasors) and each Participating Subdivision (for itself and its Releasors) will, on or
       before the Effective date, absolutely, unconditionally, and irrevocably covenant not to bring,
       file, or claim, or to cause, assist in bringing, or permit to be brought, filed, or claimed, or to
       otherwise seek to establish liability for any Released Claims against any Released Entity in
       any forum whatsoever. The releases are intended by the Parties to be broad and shall be
       interpreted so as to give the Released Entities the broadest possible bar against any liability
       relating in any way to Released Claims and extend to the full extent of the power of the
       State of New York, its Attorney General, and each Releasor to release claims. The Release
       shall be a complete bar to any Released Claim.

B.     Indemnification and Contribution Prohibited. No Released Entity shall seek to recover any
       portion of any payment made under this Agreement from a manufacturer, pharmacy,
       hospital, pharmacy benefit manager, health insurer, third-party vendor, trade association,
       distributor, or health care practitioner based on indemnification, contribution, or any other
       theory.

C.     General Release. In connection with the releases provided for in the Agreement, the State of
       New York (for itself and its Releasors) and each Participating Subdivision (for itself and its
       Releasors) will expressly waive, release, and forever discharge any and all provisions,
       rights, and benefits conferred by any law of any state or territory of the United States or
       other jurisdiction, or principle of common law, which is similar, comparable, or equivalent
       to § 1542 of the California Civil Code, which reads:

               General Release; extent. A general release does not extend to claims
               that the creditor or releasing party does not know or suspect to exist in
               his or her favor at the time of executing the release that, if known by


                                                  15
    Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 40 of 128. PageID #: 591389




                 him or her, would have materially affected his or her settlement with
                 the debtor or released party.

        A Releasor may thereafter discover facts other than or different from those which it knows,
        believes, or assumes to be true with respect to the Released Claims, but the State (for itself
        and its Releasors) and each Participating Subdivision (for itself and its Releasors) will
        expressly waive and fully, finally, and forever settle, release and discharge, upon the
        Effective Date, any and all Released Claims that may exist as of such date but which
        Releasors do not know or suspect to exist, whether through ignorance, oversight, error,
        negligence or through no fault whatsoever, and which, if known, would materially affect the
        State’s decision to enter into the Agreement or the Participating Subdivisions’ decision to
        participate in the Agreement.

D.      Cooperation. Releasors (i) will not encourage any person or entity to bring or maintain any
        Released Claim against any Released Entity and (ii) will reasonably cooperate with and not
        oppose any effort by a Released Entity to secure the prompt dismissal of any and all
        Released Claims. The State shall use its best efforts to secure releases consistent with this
        Section from all Litigating or Later Litigating Subdivisions and Special Districts.

E.      Representation and Warranty. The signatories of this Agreement on behalf of the State of
        New York and its Participating Subdivisions expressly represent and warrant that they will,
        on or before the Effective Date, have (or have obtained) the authority to settle and release, to
        the maximum extent of the state’s power, all Released Claims of (1) the State of New York,
        (2) all past and present executive departments, state agencies, divisions, boards,
        commissions and instrumentalities with the regulatory authority to enforce state and federal
        controlled substances acts, (3) any of the State of New York’s past and present executive
        departments, agencies, divisions, boards, commissions and instrumentalities that have the
        authority to bring Claims related to Covered Conduct seeking money (including abatement
        and/or remediation) or revocation of a pharmaceutical distribution license; 1 and (4) any
        Participating Subdivisions. For the purposes of clause (3) above, executive departments,
        agencies, divisions, boards, commissions, and instrumentalities are those that are under the
        executive authority or direct control of the State’s Governor. Also, for the purposes of clause
        (3), a release from the State’s Governor is sufficient to demonstrate that the appropriate
        releases have been obtained.

F.      Non-Party Settlement. To the extent that, on or after the Effective Date, any Releasor settles
        any Claims arising out of or related to Covered Conduct (or conduct that would be Covered
        Conduct if engaged in by a Released Entity) it may have against any entity that is not a
        Released Entity (a “non-Released Entity”) that is, as of the Effective Date, a defendant in the
        MDL and provides a release to such non-Released Entity (a “Non-Party Settlement”),
        including in any bankruptcy proceeding or through any plan of reorganization, the Releasor
        will include, unless prohibited from doing so under applicable law, in the Non-Party
        Settlement a prohibition on contribution or indemnity of any kind substantially equivalent to
        that required from Janssen in subsection VII.B, or a release from such non-Released Entity

1
 In New York, the department and agency that have the duties and powers in subclauses (2) and (3) are the Department
of Health and the Department of Financial Services.

                                                        16
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 41 of 128. PageID #: 591390




      in favor of the Released Entities (in a form equivalent to the releases contained herein) of
      any Claim-Over as defined in subsection VII.G under which any Released Entity may be
      liable to pay any part of such Non-Party Settlement, compensate the Non-Released Entity
      for any part of such Non-Party Settlement, or otherwise be liable to such non-Released
      Entity. The sole remedy for a Releasor’s failure to include such a provision in a Non-Party
      Settlement shall be the application of subsection VII.G below.

G.    Claim Over. In the event that any Releasor has not obtained, or is unable to obtain, a
      prohibition on contribution or indemnity as set forth in subsection VII.F in a settlement with
      a non-Released Entity of a Claim involving, arising out of, or related to Covered Conduct
      (or conduct that would be Covered Conduct if engaged in by a Released Entity), or if a
      Releasor obtains a judgment against a non-Released-Entity with respect to a Claim
      involving, arising out of, or related to Covered Conduct (or conduct that would be Covered
      Conduct if engaged in by a Released Entity), or if a Releasor files against a non-Released
      Entity a Claim in bankruptcy involving, arising out of, or related to Covered Conduct (or
      conduct that would be Covered Conduct if engaged in by a Released Entity):

     1.     The State of New York (for itself and its Releasors) and each Participating
            Subdivision (for itself and its Releasors) agrees that, if a Releasor asserts a Claim
            involving, arising out of, or related to Covered Conduct (or conduct that would be
            Covered Conduct if engaged in by a Released Entity) against any non-Released Entity
            and such non-Released Entity in turn successfully asserts a Claim against a Released
            Entity relating to the same on the basis of contribution, indemnity, or other claim-over
            on any theory (a “Claim-Over”), except as provided in paragraph (2), the Releasor
            shall reduce its Claim and any judgment or settlement it may obtain against such non-
            Released Entity by whatever amount or percentage is necessary to extinguish such
            Claim-Over under applicable law and to fully hold the Released Entity harmless from
            such Claim-Over. For purposes of this provision, successful assertion of a Claim
            means either (i) a final monetary judgment; provided that the State of New York
            Attorney General had notice of and opportunity to intervene in the proceeding giving
            rise to such judgment or (ii) a settlement; provided that the Released Entity sought the
            State of New York Attorney General’s consent to the settlement and such consent was
            either obtained or unreasonably withheld. Should the judgment or settlement against
            the Released Entity resolve claims that are not Claim-Over claims, the reduction of
            the Claim and judgment or settlement shall be for the Claim-Over portion only, which
            shall be distinguishable in the judgment or settlement.

     2.     To the extent that the Claim-Over is based on a contractual indemnity, the obligation
            under paragraph 1 shall extend solely to a Claim involving Covered Conduct (or
            conduct that would be Covered Conduct if engaged in by a Released Entity) against a
            distributor that distributed the Products, a pharmacy, clinic, hospital or other
            purchaser, or dispenser of Products, a manufacturer that sold Products, or a pharmacy
            benefit manager or other third-party payor.

     3.     Each Releasor, with respect to any proceeding to which it is a party, shall not
            unreasonably withhold consent to and (if it is a party in the proceeding) shall join in
            any motion by any of the Released Entities to dismiss any Claim-Over on the grounds

                                                17
     Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 42 of 128. PageID #: 591391




               that this Agreement moots or otherwise extinguishes any such Claim-Over. In the
               foregoing circumstance, in which a non-Released Entity asserts a Claim against a
               Released Entity on the basis of contribution, indemnity, or other claim-over on any
               theory, the Released Entity will take reasonable and necessary steps to defend against
               the Claim and will consent to the intervention of any Releasor seeking to defend
               against such Claim.

        4.     Janssen shall notify the State of New York Attorney General, to the extent permitted
               by applicable law, in the event that any non-Released Entity, of the type specified in
               paragraph 2, asserts a contractual indemnity arising out of a Claim involving Covered
               Conduct (or conduct that would be Covered Conduct if engaged in by a Released
               Entity).

H.       Effectiveness. The releases set forth in the Agreement shall not be impacted in any way by
         any dispute that exists, has existed, or may later exist between or among the Releasors. Nor
         shall such releases be impacted in any way by any current or future law, regulation,
         ordinance, or court or agency order limiting, seizing, or controlling the distribution or use of
         the Qualified Settlement Fund or any portion thereof, or by the enactment of future laws, or
         by any seizure of the Qualified Settlement Fund or any portion thereof.

I.       Non-Released Claims. Notwithstanding the foregoing or anything in the definition of
         Released Claims, the Agreement does not waive, release or limit any criminal liability,
         Claims for any outstanding liability under any tax or securities law, Claims against parties
         who are not Released Entities, Claims by private individuals and any claims arising under
         the Agreement for enforcement of the Agreement.

                             VIII.     Participation by Subdivisions

A.       Requirements for Becoming a Participating Subdivision: Litigating Subdivisions/Later
         Litigating Subdivisions. A Litigating Subdivision or Later Litigating Subdivision in the State
         may become a Participating Subdivision by either executing an Election and Release Form
         and upon prompt dismissal of its legal action or by having its claims extinguished by
         operation or law or released by the Department of Law (New York State Attorney General’s
         Office).

B.       Initial Participating Subdivisions. A Subdivision qualifies as an Initial Participating
         Subdivision if it meets the applicable requirements for becoming a Participating Subdivision
         by the Initial Participation Date.

C.       Later Participating Subdivisions. A Subdivision that is not an Initial Participating
         Subdivision may become a Later Participating Subdivision by meeting the applicable
         requirements for becoming a Participating Subdivision after the Initial Participation Date
         and agreeing to be subject to the terms of the agreement reached by the State with Initial
         Participating Subdivisions. A Later Participating Subdivision shall not receive any share of
         any base or incentive payments paid to the Qualified Settlement Fund that were due before it
         became a Participating Subdivision.



                                                   18
     Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 43 of 128. PageID #: 591392




D.       Notice. In conjunction and accordance with the notice process anticipated in the Global
         Settlement, the Office of the New York State Attorney General shall send individual notice
         to all Subdivisions in the State of New York eligible to participate in the settlement and the
         requirements for participation. Such notice may include publication and other standard
         forms of notification. Nothing contained herein shall preclude the State from providing
         further notice to or from contacting any of its Subdivision(s) about becoming a Participating
         Subdivision.

E.       Requirements for Becoming a Participating Subdivision: Non-Litigating Subdivisions. A
         Non-Litigating Subdivision may become a Participating Subdivision by either executing an
         Election and Release Form specifying (1) that the Subdivision agrees to the terms of this
         Agreement pertaining to Subdivisions, (2) that the Subdivision releases all Released Claims
         against all Released Entities, and (3) that the Subdivision submits to the jurisdiction of the
         court where the Consent Judgment is filed for purposes limited to that court’s role under the
         Agreement or by having their claims extinguished by operation or law or release by the
         Department of Law (New York State Attorney General’s Office).

F.       Non-Participating Subdivisions. Non-Participating Subdivisions shall not directly receive
         any portion of any base or incentive payments paid to the Qualified Settlement Fund and the
         State may choose that its Non-Participating Subdivisions are ineligible for benefits from the
         fund.

H.       Representation With Respect to Participation Rate. The State of New York represents and
         warrants for itself that it has a good faith belief that virtually all of New York’s Litigating
         Subdivisions that are represented by Napoli Shkolnik PLLC and Simmons Hanly Conroy
         LLC will become Participating Subdivisions. The State acknowledges the materiality of the
         foregoing representation and warranty. Napoli Shkolnik PLLC and Simmons Hanly Conroy
         LLC, in good faith, believe this is a fair Settlement. Therefore, both law firms will, in their
         best efforts, recommend this Settlement to their subdivision clients within New York. A list
         of Subdivisions and Special Districts represented by Napoli Shkolnik PLLC and Simmons
         Hanly Conroy LLC in litigation concerning Covered Conduct by Janssen is annexed hereto
         as Exhibit E.

J.       Within 5 days of entry of the Notice of Dismissal per subsection VI, the Parties will seek to
         have entered the Case Management Order annexed hereto as Exhibit F. And, further,
         Janssen will participate in making motions to dismiss barred claims upon their release.

                             IX.    Attorney Fee and Cost Payments

A.       No later than 15 days after the Court so orders the Stipulation of Discontinuance with
         Prejudice entered between Janssen and Nassau and Suffolk Counties per Section VI,
         Janssen shall pay:

         1.     $8,800,000.00 for Napoli Shkolnik PLLC’s and Simmons Hanly Conroy LLC’s
                attorney fees associated with their representation of Nassau and Suffolk Counties
                which shall be divided according to the allocation percentage of Nassau and Suffolk
                Counties as set forth in the Intrastate Allocation Agreement annexed hereto as

                                                   19
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 44 of 128. PageID #: 591393




            Exhibit B. The firms have provided their wire information to Janssen for that
            purpose. In consideration for this payment, Napoli Shkolnik PLLC and Simmons
            Hanly Conroy LLC shall waive their contingency fee contracts with Nassau and
            Suffolk Counties, respectively. In consideration for this, Napoli Shkolnik PLLC and
            Simmons Hanly Conroy LLC agree that they will seek reimbursement for attorney
            fees for other New York State clients from either the Global Settlement Contingency
            Fee Fund, if effective, or the New York State equivalent, if not, and will not
            otherwise seek to enforce their contingency fee contracts.

     2.     $2,000,000.00 in costs and expenses associated with Napoli Shkolnik PLLC’s and
            Simmons Hanly Conroy LLC’s representation of Nassau and Suffolk Counties,
            provided the costs and expenses are documented according to the requirements as
            negotiated under the Global Settlement. The costs and expenses referred to in this
            paragraph are to be divided evenly between Napoli Shkolnik PLLC and Simmons
            Hanly Conroy LLC.

     3.     $2,750,000.00 to be allocated to the State of New York towards the State’s fees and
            expenses.

B.   If the Global Settlement becomes effective by February 15, 2022:

     1.     Nassau and Suffolk Counties will be treated as “non-participating” subdivisions for
            purposes of determining eligibility for the Contingency Fee Fund defined in that
            agreement, and the amount those counties’ counsel would have received through the
            Contingency Fee Fund shall be rebated to Janssen. The counties’ counsel will still be
            eligible to apply for fees from the Common Benefit Fund established in the MDL, if
            they are eligible.

     2.     The $2,000,000.00 in costs and expenses paid per herein shall be offset against costs
            and expenses allocated to Subdivisions under the terms of the Global Settlement.

     3.     The $2,750,000.00 to be allocated to the State of New York towards the State’s fees
            and expenses under subsection IX.A will be offset against Janssen’s share of the
            State’s inside counsel fee payable under the Global Settlement.

C.    If the Global Settlement is not effective by February 15, 2022, Janssen shall pay into the
      Qualified Settlement Fund the following amounts:

     1.     A minimum of $2,040,550.30 to be allocated to the State of New York for inside
            counsel attorney fees in addition to the $2,750,000.00 paid per subsection IX.A.3
            above. The amount in this paragraph represents the State’s share of the inside-
            counsel fees referenced in the proposed Global Settlement based on a maximum state
            participation rate and without reimbursement for certain expenses. The final amount
            may be more than stated here if so determined in the context of the Global
            Settlement.

     2.     $16,584,615.40, less a partial credit calculated as described below for the Nassau and
            Suffolk fee payment paid per subsection IX.A.1, to be available to pay any required

                                              20
    Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 45 of 128. PageID #: 591394




                   assessment to the MDL Common Benefit Fund and to reimburse Participating
                   Subdivision attorney fees, upon application by eligible counsel who waive their
                   contingency fees. The credit will be based on Nassau and Suffolk Counties’
                   percentage of New York’s share of the Contingency Fee Fund contemplated in the
                   Global Settlement. If no such fund is created, the amount will be $888,686.62 which
                   represents 15.31% (Nassau’s and Suffolk Counties’ share of the State’s allocation) of
                   5.39% (the State’s share of the national allocation) of 35% (the anticipated
                   percentage of the national fee fund that will be allocated to the Contingency Fee
                   Fund) of Janssen’s share of the national private attorney fee bucket ($307,692,308).
                   The Parties will develop a mechanism for allocating those funds among eligible
                   firms.

          3.       $813,646.29 in costs and expenses for New York State, these costs must be
                   documented in the manner contemplated by subsection IX.A.2. The Parties will
                   develop a mechanism for processing requests for reimbursement for such costs and
                   expenses.

          4.       $725,576.90 to be available for reimbursement of litigation costs incurred by
                   Participating Subdivisions. The Parties will develop a mechanism for allocating
                   those funds among eligible firms.

D.        The attorney fee and cost payments specified in Section IX shall be made on the Payment
          Schedule in Section X.

                                            X.     Payment Schedule

A.        In the event that Senate Bill S7194 becomes law, Janssen’s payment schedule will be
          accelerated as follows: 90 days following the Effective Date (anticipated to be in November
          or December 2021), Janssen will make a combined payment for Base Payment 1 and Base
          Payment 2 as reflected in the Scenario 1 schedule below; otherwise, Janssen will make its
          payments in accordance with the Scenario 2 schedule below. Payments shall be made on the
          15th day of each month specified in the applicable payment schedule unless otherwise
          provided in this Agreement.

          Scenario #1: Senate Bill S7194 becomes law



    Payment       Atty Fee 2       Costs2            Base               Incentives B+C      Incentive D        Total
    No/Date                                                             (max) 3

    0/ Jul 2021   $11,550,000.00   $2,000,000.00                                                                 $13,550,000.00
    1/ ED+90       $4,585,663.08    $397,957.17      $47,691,376.65                                              $52,674,996.90
    2/ Jan 23      $4,585,663.03    $397,957.16                          $29,948,771.50                          $34,932,391.69


2
 Attorney fees and costs paid assuming no global resolution.
3
 If the State achieves Incentive A, a portion of the base and incentive payments will be accelerated pursuant to Section
III.B.2 above.

                                                            21
    Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 46 of 128. PageID #: 591395



    3/ Jan 24     $2,141,288.24       $185,827.22    $13,147,460.60      $31,248,307.00                         $46,722,883.06
    4/ Jan 25     $2,141,288.24       $185,827.22    $13,309,183.40      $36,051,532.50                         $51,687,831.36
    5/ Jan 26     $2,141,288.24       $185,827.22     $5,360,940.65       $3,087,795.00                         $10,775,851.11
    6/ Jan 27     $2,141,288.25       $185,827.20     $3,198,407.20       $3,087,795.00      $2,298,627.69      $10,911,945.34
    7/ Jan 28                                         $3,198,407.15       $3,087,795.00      $2,298,627.69       $8,584,829.84
    8/ Jan 29                                         $4,196,060.65       $4,454,559.00      $2,298,627.69      $10,949,247.34
    9/ Jan 30                                         $4,196,060.75       $4,454,559.00      $2,298,627.69      $10,949,247.44
    10/ Jan 31                                        $4,196,060.69       $4,454,559.05      $2,298,627.70      $10,949,247.44
    Total        $29,286,479.08    $3,539,223.19     $98,493,957.74     $119,875,673.05     $11,493,138.46     $262,688,471.52


          Scenario #2: Senate Bill S7194 does not become law



    Payment     Atty Fee2          Costs2            Base               Incentives B+C      Incentive D        Total
    No/Date                                                             (max) 4
    0/ Jul 2021 $11,550,000.00     $2,000,000.00                                                                $13,550,000.00
    1/ ED+90     $4,585,663.08      $397,957.17      $14,308,757.05                                             $19,292,377.30
    2/ Jan 23    $4,585,663.03      $397,957.16      $33,382,619.60      $29,948,771.50                         $68,315,011.29
    3/ Jan 24    $2,141,288.24      $185,827.22      $13,147,460.60      $31,248,307.00                         $46,722,883.06
    4/ Jan 25    $2,141,288.24      $185,827.22      $13,309,183.40      $36,051,532.50                         $51,687,831.36
    5/ Jan 26    $2,141,288.24      $185,827.22       $5,360,940.65       $3,087,795.00                         $10,775,851.11
    6/ Jan 27    $2,141,288.25      $185,827.20       $3,198,407.20       $3,087,795.00      $2,298,627.69      $10,911,945.34
    7/ Jan 28                                         $3,198,407.15       $3,087,795.00      $2,298,627.69       $8,584,829.84
    8/ Jan 29                                         $4,196,060.65       $4,454,559.00      $2,298,627.69      $10,949,247.34
    9/ Jan 30                                         $4,196,060.75       $4,454,559.00      $2,298,627.69      $10,949,247.44
    10/ Jan 31                                        $4,196,060.69       $4,454,559.05      $2,298,627.70      $10,949,247.44
         Total $29,286,479.08      $3,539,223.19     $98,493,957.74     $119,875,673.05     $11,493,138.46     $262,688,471.52


B.        If the Global Settlement becomes effective before February 15, 2022, all payments due after
          that date will be made to the funds established in the Global Settlement, and the above
          payment schedules will be adjusted to meet the Global Settlement schedule, provided that
          adjustment results in no more than a two-month delay in payment.

                                XI.      Enforcement and Dispute Resolution

A.        The terms of the Agreement and Consent Judgment applicable to the State will be
          enforceable solely by the State and Janssen. Participating Subdivisions shall not have
          enforcement rights against Janssen with respect to the Agreement or Consent Judgment
          except as to payments that would be allocated to the Qualified Settlement Fund for
          subdivision use; provided, however, that the State shall establish a process for Participating
          Subdivisions to notify it of any perceived violations of the Agreement or Consent Judgment.



4
 If the State achieves Incentive A, a portion of the base and incentive payments will be accelerated pursuant to Section
III.B.2 above.

                                                            22
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 47 of 128. PageID #: 591396




B.     Janssen consents to the jurisdiction of the court in which the Consent Judgment is filed,
       limited to resolution of disputes identified in subsection XI.D for resolution in the court in
       which the Consent Judgment is filed.

C.     The parties to a dispute shall promptly meet and confer in good faith to resolve any dispute.
       If the parties cannot resolve the dispute informally, and unless otherwise agreed in writing,
       they shall follow the remaining provisions of this section to resolve the dispute.

D.     Disputes not resolved informally shall be resolved in the Court that entered the Consent
       Judgment.

                                   XII.    Most-Favored Nation

        If, after execution of this Agreement, there is a collective resolution—through settlement,
bankruptcy, or other mechanism—of substantially all Claims against Janssen via the Global
Settlement under which New York State or Nassau or Suffolk Counties would have received a
greater monetary amount than the sum of the amounts provided in this Agreement, Janssen shall
remit to New York State or Nassau or Suffolk Counties the difference between the sums of the
amounts provided in this Agreement and the monetary amount that New York State or Nassau or
Suffolk Counties would have received if they had been participants in the Global Settlement
according to the payment schedule in the Global Settlement. If Janssen enters a standalone
settlement within four months of the date of this agreement with Santa Clara County, the County of
Los Angeles, the City of Oakland, and Orange County, and that settlement would cause Janssen to
pay more than the maximum abatement money those jurisdictions could receive under the proposed
Global Settlement and California’s intrastate allocation formula, Janssen will increase payments to
Nassau and Suffolk Counties by the same percentage amount over their allocation in the New York
intrastate allocation agreement.

                                       XIII. Miscellaneous

A.     Statement on Restitution and Cooperation

       1.     The Parties agree that, unless required by law, no less than 91% of the total
              maximum amount paid into the Qualified Settlement Fund, which assumes full
              joinder and attaining of all incentive payments, shall be directed to remediation and
              for restitution of harms allegedly caused by Janssen’s conduct, and no more than 9%
              of that maximum amount shall be directed to payment of attorney fees. This assumes
              “fees” paid to the New York State Office of the Attorney General may be paid to
              remediation and restitution.

       2.     The Parties agree that the purpose of the Qualified Settlement Fund, other than the
              amounts directed to payment of attorney fees and litigation costs, will be to receive
              from Janssen and pay over to the State and Participating Subdivisions monies to
              remediate the harms allegedly caused by Janssen’s conduct or to provide restitution
              for such alleged harms that were previously incurred. The payments received by the
              Settlement Fund, other than the amounts directed to attorney fees and costs, shall be
              disbursed to the State and Participating Subdivisions, which were allegedly harmed

                                                 23
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 48 of 128. PageID #: 591397




            by Janssen in a manner consistent with their above-stated remedial and/or restitutive
            purpose. No amount paid to the Fund or paid over to any requesting entity constitutes
            a fine or penalty.

     3.     The State and each Participating Subdivision shall, prior to receipt of any direct
            payments from the Settlement Fund, provide the Settlement Fund Administrator with
            a written statement certifying that: (1) the entity suffered harm allegedly caused by
            Janssen; (2) the payments to be received by the entity from Janssen represent an
            amount that is less than or equal to the actual monetary damage allegedly caused by
            Janssen; and (3) the entity shall use such payments for the sole purpose of
            remediating the harm allegedly caused by Janssen or to provide restitution for such
            alleged harms that were previously incurred.

     4.     The Settlement Fund Administrator shall complete and file Form 1098-F with the
            Internal Revenue Service on or before February 28 (March 31 if filed electronically)
            of the year following the calendar year in which the order entering the Consent
            Judgment becomes binding. On the Form 1098-F, the Settlement Fund Administrator
            or requesting entity, as applicable, shall identify such payments from Janssen as
            remediation/restitution amounts. The Settlement Fund Administrator or State, as
            applicable, shall also, on or before January 31 of the year following the calendar year
            in which the order entering the Consent Judgment becomes binding, furnish Copy B
            of such Form 1098-F (or an acceptable substitute statement) to Janssen.

B.   Nothing in this Agreement shall be construed to authorize or require any action by Janssen
     in violation of applicable federal, state, or other laws.

C.   Modification. This Agreement may be modified by a written agreement of the Parties or, in
     the case of the Consent Judgment, by court proceedings resulting in a modified judgment of
     the Court. For purposes of modifying this Agreement or the Consent Judgment, Janssen may
     contact the New York Attorney General and Counsel for Nassau and Suffolk Counties for
     purposes of coordinating this process.

D.   Any failure by any party to this Agreement to insist upon the strict performance by any other
     party of any of the provisions of this Agreement shall not be deemed a waiver of any of the
     provisions of this Agreement, and such party, notwithstanding such failure, shall have the
     right thereafter to insist upon the specific performance of any and all of the provisions of
     this Judgment.

E.   Entire Agreement. This Agreement represents the full and complete terms of the settlement
     entered into by the Parties hereto, except as provided herein. In any action undertaken by the
     Parties, no prior versions of this Agreement and no prior versions of any of its terms may be
     introduced for any purpose whatsoever.

F.   Counterparts. This Agreement may be executed in counterparts, and a facsimile or .pdf
     signature shall be deemed to be, and shall have the same force and effect as, an original
     signature.

G.   Notice. All notices under this Agreement shall be provided to the following via email and
                                              24
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 49 of 128. PageID #: 591398




       Overnight Mail:

Defendant:

Copy to Janssen’s attorneys at:

Charles C. Lifland
Daniel R. Suvor
400 South Hope Street, 18th Floor Los Angeles, CA 90071
Phone: (213) 430-6000
clifland@omm.com
dsuvor@omm.com


For the Attorney General:

Noah Popp
Assistant Attorney General
Office of the Attorney General of the State of New York
28 Liberty Street,
New York, New York, 10005
Noah.Popp@ag.ny.gov


For Plaintiff Nassau County:

Salvatore C. Badala
Napoli Shkolnik PLLC
400 Broadhollow Road
Melville, NY 11747
Phone: (212) 397-1000
sbadala@napolilaw.com


For Plaintiff Suffolk County:

Jayne Conroy
Simmons Hanly Conroy LLC
112 Madison Ave 7th Floor
New York, NY 10016
Phone: (212) 257-8482
jconroy@simmonsfirm.com




                                               25
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 50 of 128. PageID #: 591399
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 51 of 128. PageID #: 591400




Approved:


Dated: __________                      JOHNSON & JOHNSON, JANSSEN
                                       PHARMACEUTICALS, INC., ORTHO-MCNEIL-
                                       JANSSEN PHARMACEUTICALS, INC. N/K/A
                                       JANSSEN PHARMACEUTICALS, INC., AND
                                       JANSSEN PHARMACEUTICA INC. N/K/A
                                       JANSSEN PHARMACEUTICALS, INC.

                                       By: __________________________________
                                           Marc Larkins
                                           Assistant Corporate Secretary
                                           Johnson & Johnson



Dated: __________
        6/25/21                        THE PEOPLE OF THE STATE OF NEW YORK

                                       By: _______________________________
                                           Jennifer Levy
                                           First Deputy Attorney General
                                           Office of the New York State Attorney
                                           General



Dated: __________                      THE COUNTY OF SUFFOLK, NEW YORK

                                       By: _______________________________
                                           Signature

                                            _______________________________
                                            Printed Name

                                            _______________________________
                                            Title


Dated: __________                      SIMMONS HANLY CONROY LLC

                                       By: _______________________________
                                           Signature

                                            _______________________________
                                            Printed Name


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Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 52 of 128. PageID #: 591401
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 53 of 128. PageID #: 591402




Approved:


Dated:                                JOHNSON       & JOHNSON, JANSSEN
                                      PHARMACEUTICALS, INC., ORTHO.MCNEIL-
                                      JANSSEN PHARMACEUTICALS, INC. N/K/A
                                      JANSSEN PHARMACEUTICALS, INC., AND
                                      JANSSEN PHARMACEUTICA INC. N/K/A
                                      JANSSEN PHARMACEUTICALS, INC.

                                      By:
                                            Marc Larkins
                                            Assistant Corporate Secretary
                                            Johnson & Johnson




Dated                                 THE PEOPLE OF THE STATE OF NEW YORK

                                      By
                                            Jennifer Levy
                                            First Deputy Attorney General
                                            Office of the New York State Attorney
                                            General




Dated:                                THE COUNTY OF SUFFOLK, NEW YORK

                                      By:
                                            Signature



                                            Printed Name


                                            Title


Dated         )   {,uu                SIMMONS HANLY CONROY LLC

                                      By:
                                            S


                                                    TAYN€ UN t4o
                                            Printed Name


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 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 54 of 128. PageID #: 591403




                                            Attorneys for the County of Suffolk, New York



        June 25, 2021
Dated: __________                      THE COUNTY OF NASSAU, NEW YORK

                                       By: _______________________________
                                           Signature
                                                   John B. Chiara
                                             _______________________________
                                             Printed Name

                                                   Acting County Attorney
                                             _______________________________
                                             Title

Dated: __________                      NAPOLI SHKOLNIK PLLC

                                       By: _______________________________
                                           Signature

                                             _______________________________
                                             Printed Name

                                            Attorneys for the County of Nassau, New York




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Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 55 of 128. PageID #: 591404




                                            Attorneys for the County of Suffol( New York



Dated:                                THE COLINTY OF NASSAU, NEW YORK

                                      By:
                                             Signature



                                             Printed Name


                                             Title

Dated
         t"   /a/ ar                 NAPOLI SHKOLNIK

                                     By:


                                                     J a"\vdort-   $cd"\l
                                             Printed Name

                                            Attorneys for the County of Nassau, New York




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Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 56 of 128. PageID #: 591405




                                   Exhibit A




                                      28
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 57 of 128. PageID #: 591406




              NEW YORK SUBDIVISION ELECTION AND RELEASE FORM

       This Election and Release Form for New York Participating Subdivisions resolves opioid-

related Claims against Janssen under the terms and conditions set forth in the Janssen New York

State-Wide Opioid Settlement Agreement between Janssen, the State of New York, and the

Counties of Nassau and Suffolk (the “Agreement”), the provisions of which are here incorporated

by reference in their entirety. Upon executing this Election and Release Form, a Participating

Subdivision agrees that, in exchange for the consideration described in the Agreement, the

Participating Subdivision is bound by all the terms and conditions of the Agreement, including but

not limited to the Release found in Section VII of the Agreement and the provisions concerning

participation by Subdivisions in Section VIII, and the Participating Subdivision and its signatories

expressly represent and warrant on behalf of themselves that they have, or will have obtained on or

before the Effective Date or on or before the execution of this Election and Release Form if

executed after the Effective Date, the authority to settle and release, to the maximum extent of the

Subdivision’s power, all Released Claims related to Covered Conduct. If this Election and Release

Form is executed on or before the Initial Participation Date, the Participating Subdivision shall

dismiss Janssen and all other Released Entities with prejudice from all pending cases in which the

Participating Subdivision has asserted Covered Claims against Janssen or a Released Entity no later

than the Initial Participation Date. If this Election and Release Form is executed after the Initial

Participation Date, the Participating Subdivision shall dismiss Janssen and all other Released

Entities with prejudice from all pending cases in which the Participating Subdivision has asserted

Covered Claims against Janssen or a Released Entity concurrently with the execution of this form.

By executing this Election and Release Form, the Participating Subdivision submits to the




                                                  29
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 58 of 128. PageID #: 591407




jurisdiction of the Court where the Consent Judgment is filed for purposes limited to that Court’s

role under the Agreement.

Dated: _________________

[NY SUBDIVISION]

By: __________________________________
[COUNSEL]
[FIRM]
[ADDRESS]
[TELEPHONE]
[EMAIL ADDRESS]

Counsel for [NY SUBDIVISION]




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Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 59 of 128. PageID #: 591408




                                   Exhibit B




                                      31
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 60 of 128. PageID #: 591409




               NEW YORK OPIOID SETTLEMENT SHARING AGREEMENT

       This Agreement sets forth the terms and conditions governing the sharing and allocation of
funds between and among the State of New York and the New York Subdivisions (as defined
below) received from Statewide Opioid Settlement Agreements (as defined below) with the Opioid
Supply Chain Participants (as defined below).

        Whereas, the people of the State of New York and its communities have been harmed by
misfeasance, nonfeasance, and malfeasance committed by certain entities within the opioid supply
chain; and

         Whereas, the State of New York and certain New York Subdivisions are engaged in
litigation seeking to hold Opioid Supply Chain Participants accountable for the damage caused by
their misfeasance, nonfeasance, and malfeasance; and

       Whereas, the State of New York and the New York Subdivisions share a common desire to
abate and alleviate the impacts of the misfeasance, nonfeasance, and malfeasance of the Opioid
Supply Chain Participants throughout the State of New York;

       Now therefore, the State of New York and the New York Subdivisions enter into this
Agreement relating to the allocation, distribution, and use of the proceeds of Settlements (as defined
below).

                                   I.         DEFINITIONS

   A. “Approved Uses” means any opioid or substance use disorder related projects or programs
      that fall within the list of uses in Schedule C.

   B. “Lead State Agency” means the New York State Office of Addiction Services and Supports.
      As provided for in Section V, The Lead State Agency will coordinate with the New York
      Department of Health, the New York Office of Mental Health, and the New York Division
      of Housing and Community Renewal, as well as other agencies, to expend and oversee funds
      from the Opioid Settlement Fund.

   C. The “Advisory Board” means the advisory board created and described by Section V under
      the Lead State Agency.

   D. “Direct Share Subdivision” means every county of the State of New York other than the
      County of Nassau, the County of Suffolk, and the City of New York.

   E. “New York Subdivisions” means each county, city, town, village or special district in New
      York.

   F. “Opioid Settlement Funds” shall mean monetary amounts obtained through a Statewide
      Opioid Settlement Agreement as defined in this Agreement.


                                                 32
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 61 of 128. PageID #: 591410




 G. “Opioid Supply Chain Participant” shall mean any entity or person that engages in or has
    engaged in the manufacture, marketing, promotion, distribution, or dispensing of an opioid
    analgesic, including their officers, directors, employees, or agents, acting in their capacity as
    such.

 H. “Parties” means the State of New York and the New York Subdivisions who execute this
    agreement.

 I. “Statewide Opioid Settlement Agreements” shall mean settlement agreements jointly entered
    into by the State of New York and New York Subdivisions with any Opioid Supply Chain
    Participant.

 J. “Opioid Settlement Fund” means the fund created by Section IV, which will be used or
    distributed in accordance with Section IV and this Agreement.

               II.     GENERAL FINANCIAL AND STRUCTURE TERMS

 A. Scope of Agreement. This Agreement applies to all Statewide Opioid Settlement Agreements
    entered into with an Opioid Supply Chain Participant on or after June 1, 2021.

 B. Allocation and Distribution of Funds for Restitution and Abatement. Opioid Settlement
    Funds from each Settlement shall be allocated and distributed as follows:

    1. 17.5% to the State of New York, unless not in accordance with state. The Office of the
       Attorney General shall have the discretion to allocate a portion of these funds to local
       governments not listed in the annexed allocation chart.

     2. 16.39% to the Lead State Agency to be placed in the Opioid Settlement Fund for Regional
        Spending on Approved Uses. In combination, the amount of Regional Spending of the
        Opioid Settlement Fund committed to cities other than New York City with a 2020
        population of more than 90,000 shall not be less than 1.89% of the total Opioid Settlement
        Funds.

    3. 20% to the Lead State Agency to be placed in the Opioid Settlement Fund for
       Discretionary Spending on Approved Uses and for Administration of the Opioid
       Settlement Fund.

    4. 5.4% to the Direct Share Subdivisions as “Direct Unrestricted Funds.”

    5. 5.4% to the Direct Share Subdivisions for spending on Approved Uses (“Direct
       Restricted Funds”).

    6. 6.68% to the County of Nassau for spending on Approved Uses.



                                               33
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 62 of 128. PageID #: 591411




    7. 8.63% to the County of Suffolk for spending on Approved Uses.

    8. 20% to the City of New York for spending on Approved Uses.

 C. Redistribution in Certain Situations. In the event a New York Subdivision merges, dissolves, or
    ceases to exist, the allocation percentage for that New York Subdivision shall be redistributed equitably
    based on the composition of the successor New York Subdivision. If a New York Subdivision for any
    reason is excluded from a specific Settlement, including because it does not execute a release as
    required by Section III.A, the allocation percentage for that New York Subdivision pursuant to
    Sections II.B.4 and 5 shall be redistributed equitably among the participating New York Subdivisions.

 D. Direct Payment of Certain Funds. All Opioid Settlement Funds allocated to the Direct
    Share Subdivisions, the Counties of Nassau and Suffolk, and the City of New York pursuant
    to Sections II.B.4, 5, 6, 7 and 8 shall be paid directly and as promptly as reasonably
    practicable by the Opioid Supply Change Participant or settlement fund administrator(s) to
    the Direct Share Subdivisions, the Counties of Nassau and Suffolk, and the City of New
    York.

 E. Attorneys’ Fees and Expenses. Unless state law or the applicable Statewide Opioid
    Settlement Agreement provides otherwise, Attorneys’ fees and expenses will be determined
    and paid according to each Direct Share Subdivision’s and New York Subdivision’s
    contracts with its respective counsel. This does not prevent counsel for New York
    subdivisions to agree to recover solely from: (1) the common benefit and contingency fee
    funds if established pursuant to settlements with Opioid Supply Chain Participants; or (2)
    payment of attorneys’ fees and costs directly from Opioid Supply Chain Participants.

    III. THE DIRECT SHARE SUBDIVISION AND CITY OF NEW YORK FUNDS

    Distribution of the Direct Share Subdivision Funds. The Direct Unrestricted Funds and
    the Direct Restricted Funds shall be paid to the Direct Share Subdivisions that execute a
    release for a given Statewide Opioid Settlement Agreement, pursuant to Section II.B.4 and
    5, and will be fully distributed among them pursuant to the allocation set forth in Schedule A
    to this Agreement.

    Certification of Spending on Approved Uses. Each year, the Direct Share Subdivisions,
    the City of New York and the Counties of Nassau and Suffolk shall certify to the Lead State
    Agency and the Advisory Board that all funds distributed to them pursuant to Sections
    II.B.5, 6, 7 and 8 of this Agreement, which were spent during the preceding year, were spent
    on projects and programs that constitute Approved Uses. These certifications shall be made
    by August 1 of each year following the year in which such funds were spent and shall be
    accompanied by a detailed accounting of the spending of such funds as well as analysis and
    evaluation of the projects and programs they have funded.




                                                  34
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 63 of 128. PageID #: 591412




                    IV.         THE OPIOID SETTLEMENT FUND

    A.     Establishment of the Opioid Settlement Fund.

    1. Each year the Lead State Agency will allocate approximately 45% of the Opioid
       Settlement Fund (16.39% of the total Opioid Settlement Funds) for Approved Uses in
       the various regions and large cities of New York State, except New York City and the
       Counties of Nassau and Suffolk, pursuant to a commitment to spend in each such region
       and each city other than New York City with a population of more than 90,000 the
       corresponding percentages shown in Schedule B. Of this amount, at least 1.89% of the
       total Opioid Settlement Funds received by New York shall be set aside for cities other
       than New York City with a population of more than 90,000. Each New York
       Subdivision other than New York City and the Counties of Nassau and Suffolk may
       apply for and receive funds from the Opioid Settlement Fund, provided however, that
       each such Subdivision shall, as a condition to the receipt of these funds, certify at the
       end of each fiscal year during which it receives such funds that all funds provided to it
       under this provision of the Agreement were spent on projects and programs that
       constitute Approved Uses and provided that it complies with the reporting requirements
       set forth in Section IV.E.

    2. Each year the Lead State Agency will set aside approximately 55% of the Opioid
       Settlement Fund (20% of the total Opioid Settlement Funds) for spending by the Lead
       State Agency to (a) fund State projects that constitute Approved Uses, and (b) carry out
       the duties of the Lead State Agency and Advisory Board under this Agreement,
       including oversight and administration of the Opioid Settlement Fund and the Advisory
       Board. No more than 5% of the total Opioid Settlement Fund may be used in any fiscal
       year for oversight and administrative costs of the Opioid Settlement Fund and the
       Advisory Board.

 B. Approved Uses. The Approved Uses are set forth in Schedule C below. The Advisory
    Board may recommend to the Legislature adding or removing Approved Uses in response to
    changing substance use disorder needs in the state. The Advisory Board may not recommend
    that Approved Uses be removed from the list of Approved Uses without the vote of three-
    fourths of the present members of the Advisory Board.

 D. Oversight and Auditing. The Lead State Agency will engage in oversight and audits of
    projects and programs funded through the Opioid Settlement Fund.

 E. New York Subdivision Reporting. Each New York Subdivision that receives funds from
    the Opioid Settlement Fund under this Agreement will annually provide to the Lead State
    Agency and Advisory Board a detailed accounting of the spending of such funds as well as
    analysis and evaluation of the projects and programs it has funded. Such accounting shall be
    provided by August 1 of each year following the year in which such funds were spent. The

                                             35
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 64 of 128. PageID #: 591413




    Lead Agency may withhold future funds from any New York Subdivision that is delinquent
    in providing this reporting, until the required report is submitted.

 F. Lead Agency Reporting. The Lead State Agency and other relevant government
    commissioners, in consultation with the Advisory Board, will annually provide the
    Governor, Speaker of the Assembly, the Temporary President of the Senate, and other
    legislative leaders as provided by law, a written report, which, among other things, provides
    a detailed accounting of the previous year’s spending of all monies in the Opioid Settlement
    Fund, any spending by the Direct Share Subdivisions pursuant to Sections II.B.5, any
    spending by the Counties of Nassau or Suffolk pursuant to Section II.B.6 and 7, and any
    spending by New York City pursuant to Section II.B.8, as well as an analysis and evaluation
    of the projects and programs so funded. This report shall be provided on or before
    November 1 of each year, beginning one year after the initial deposit of monies in the
    Opioid Settlement Fund. At the same time, in consultation with the Advisory Board, the
    Lead State Agency will report annually the results of research funded by funds from this
    Agreement, the status of any outstanding audits, and the non-binding recommendations of
    the Advisory Board.

                     V.   THE ROLE OF THE ADVISORY BOARD

 1. The Structure of the Advisory Board. The Advisory Board will be established under the
    Lead Agency and comprised of 19 members, serving set terms. Each member of the
    Advisory Board will have one vote, with all actions being taken by an affirmative vote of the
    majority of present voting members, except where otherwise provided for in this Agreement
    or by law.

        a. Appointments to the Advisory Board. The Advisory Board shall consist of 19
           members, including the Commissioner of the Office of Addiction Services and
           Supports, the Commissioner of Mental Health, the Commissioner of Health (or their
           designees) serving as ex-officio non-voting members. The Governor, the Attorney
           General, the Speaker of the Assembly and the Temporary President of the Senate
           shall each appoint 2 voting members, and the Mayor of the City of New York shall
           appoint one voting member. The remaining 7 voting members shall be appointed
           from a list of persons provided by the New York State Association of Counties.
           These appointments will be made two each by the Temporary President of the Senate
           and the Speaker of the Assembly, and one each by the Minority Leader of the Senate,
           the Minority Leader of the Assembly and the Attorney General. Appointed members
           shall serve three-year terms and in the event of a vacancy, such vacancy shall be
           filled in the manner of the original appointment for the remainder of the term. The
           Advisory Board membership shall include persons, to the extent possible, who have
           expertise in public and behavioral health, substance use disorder treatment, harm
           reduction, criminal justice, or drug policy. Further, the Advisory Board shall include
           individuals with personal or professional experience with substance use and
           addiction issues and co-occurring mental illnesses as well as providing services to



                                             36
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 65 of 128. PageID #: 591414




            those that have been disproportionately impacted by the enforcement and
            criminalization of addiction.

        b. Meetings of the Advisory Board. The Advisory Board shall hold at least quarterly
           public meetings, to be publicized and located in a manner reasonably designed to
           facilitate attendance by residents throughout the State. The Advisory Board shall
           function in a manner consistent with New York’s meeting, open government or
           similar laws, and with the Americans with Disabilities Act.

        c. Consensus. Members of the Advisory Board shall attempt to reach consensus with
           respect to recommendations and other actions to the extent possible. Consensus is
            defined in this process as a general agreement achieved by the members that reflects,
            from as many members as possible, their active support, support with reservations, or
            willingness to abide by the decision of the other members. Consensus does not require
            unanimity or other set threshold and may include objectors. In all events, however,
            actions of the Advisory Board shall be effective if supported by at least a majority of its
            voting members, except where otherwise provided for by this Agreement or by law.

        d. Payment and Ethics. Members of the Advisory Board will receive no
           compensation but will be reimbursed for actual and necessary expenses incurred in
           the performance of their duties. The members of the Advisory Board shall not take
           any action to direct funding from the Opioid Abatement Fund to any entity in which
           they or their family members have any interest, direct or indirect, or receive any
           commission or profit whatsoever, direct or indirect.

 2. Responsibilities. On or before November 1 of each year, beginning November 1, 2021, the
    Advisory Board shall issue a written report of recommendations regarding specific opioid
    abatement priorities and expenditures from the Opioid Settlement Fund for Approved Uses.
    This report shall be provided to the Governor, the Temporary President of the Senate, the
    Speaker of the Assembly, and other legislative leaders as provided by law. In carrying out its
    obligations to provide such recommendations, the Advisory Board may consider local, state
    and federal initiatives and activities that have been shown to be effective in preventing and
    treating substance use disorders as well as maintaining recovery and assisting with the
    collateral effects of substance use disorders for individuals and their families or support
    system. Such recommendations may be Statewide or specific to Regions and recommend
    Statewide or Regional funding with respect to specific programs or initiatives. Such
    recommendations shall also incorporate mechanisms for measurable outcomes for
    determining the effectiveness of funds expended for Approved Uses; and monitor the level
    of permitted administrative expenses in paragraph IV.A.2. The goal is for a process that
    produces recommendations that are recognized as being an efficient, evidence-based
    approach to abatement that addresses the State’s greatest needs while also including
    programs reflecting particularized needs in local communities. It is anticipated that such a
    process will inform and assist the State in making decisions about spending from the Opioid
    Settlement Fund. To the extent the State chooses not to follow a recommendation of the
    Advisory Board’s, it will make publicly available within 14 days after the decision is made a

                                                37
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 66 of 128. PageID #: 591415




       written explanation of the reasons for its decision, and allow 14 days for the Advisory Board
       to respond. The Advisory Board shall have additional advisory responsibilities, including
       reporting on projects and programs related to addressing the opioid epidemic, developing
       priorities, goals and recommendations for spending on such projects and programs, working
       with the Lead State Agency to develop measurable outcomes for such projects and
       programs, and making recommendations for policy changes.

    3. Staff and Administration. The Lead State Agency and any other relevant agency will
       provide staff, resources and technical assistance to the Advisory Board.

    4. Research. The Advisory Board will recommend to the Lead State Agency research to fund
       and oversee related to addressing the opioid epidemic, including for outside grants.

                         VI.     RECOVERIES OTHER THAN MONEY

In the event that any part of a Settlement is received other than in money, the Parties will negotiate in
good faith to agree upon a method of sharing such Settlement in a manner as consistent as practicable
with the sharing of Opioid Settlement Funds under this Agreement. In the event that the Parties are
unable to reach an agreement, then the method of sharing shall be determined by the Advisory Board,
whose decision shall be final and binding on the Parties.

                            V.      RETENTION OF JURISDICTION

The Supreme Court, County of Nassau, shall retain jurisdiction of the Parties for the purpose of this
Agreement, including its interpretation and enforcement.


LETITIA JAMES
Attorney General of the State of New York

By: _________________________                            Date:_________________
                                                                6/25/21
Jennifer Levy, First Deputy Attorney General
Office of the New York State Attorney General
28 Liberty Street, 23rd Floor
New York, NY 10006
Tel: 212-416-8450
Jennifer.Levy@ag.ny.gov

Counsel for The People of the State of New York

 NAPOLI SHKOLNIK PLLC

 _________________________                                Date:_________________
 Salvatore C. Badala
 Napoli Shkolnik PLLC
 400 Broadhollow Road

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Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 67 of 128. PageID #: 591416




         wriffen explanation of the reasons for its decision, and allow 14 days for the Advisory Board
         to respond. The Advisory Board shall have additional advisory responsibilities, including
         reporting on projects and programs related to addressing the opioid epidemic, developing
         priorities, goals and recommendations for spending on such projects and programs, working
         with the Lead State Agency to develop measurable outcomes for such projects and
         programs, and making recommendations for policy changes.

    3.   Staff and Administration. The Lead State Agency and any other relevant agency will
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    4.   Research. The Advisory Board will recommend to the Lead State Agency research to fund
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                         VI.     RECOVERIES OTIIER THAN MONEY

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                            V.      RETENTION OF JURISDICTION

The Supreme Court, County of Nassau, shall retain jurisdiction of the Parties for the purpose of this
Agreement, inc lud in g its interpretation and enforcement.


 LETITIA JAMES
 Attorney General of the State of New York

 By:                                                     Date
 Jennifer Levy, First Deputy Attorney General
 Office of the New York State Attorney General
 28 Libefi Street, 23rd Floor
 New York, NY 10006
 Tel: 272-416-8450
 Jenn ifer.Le vy @g.ny .gov

 Counselfor The People of the State ofNew York

  NAPOLI SHKOLNIK PLLC

                                                          Date
                                                                   v /^s/
                Badala                                                          ^r
  Napoli Shkolnik
  400 Broadhollow Road


                                                   38
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 68 of 128. PageID #: 591417




  Melville, NY I1747
  Phone: (212)397-1000
  sbadala@napo lilaw. com

  C o uns e I fo    r P lain tiff N a s s au         C o unty



  SIMMONS TIANLY CONROY LLC

                                                                       Date:
  J
  S             Conroy LLC
 l1 Madison Ave 7th Floor
 Nerv York, NY 10016
 Phone: (212)257-8482
 jconroy@simmonsfirm.com

  C o un   se   ffb r   P I a in   t   iff S uffo lk C o un ty



 ADDITIONAL SIGNATORIES:




  Counselfor




                                                                      Date:




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Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 69 of 128. PageID #: 591418




Melville, NY 11747
Phone: (212) 397-1000
sbadala@napolilaw.com

Counsel for Plaintiff Nassau County


SIMMONS HANLY CONROY LLC

_________________________                    Date:_________________
Jayne Conroy
Simmons Hanly Conroy LLC
112 Madison Ave 7th Floor
New York, NY 10016
Phone: (212) 257-8482
jconroy@simmonsfirm.com

Counsel for Plaintiff Suffolk County



ADDITIONAL SIGNATORIES:

_____________________________
_____________________________               Date:_________________
_____________________________
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_____________________________

Counsel for ____________________




_____________________________
_____________________________               Date:_________________
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 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 70 of 128. PageID #: 591419




Counsel for ____________________


_____________________________
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Counsel for ____________________


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Counsel for ____________________


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Counsel for ____________________



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Counsel for ____________________
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 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 71 of 128. PageID #: 591420




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Counsel for ____________________


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Counsel for ____________________


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Counsel for ____________________




                                       41
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 72 of 128. PageID #: 591421




                                 Schedule A
Allegany               0.492651319%
Cattaraugus            0.885804166%
Chautauqua             1.712744591%
Erie                   13.981832649%
Niagara                3.416877066%
Western Region         20.489909791%

Genesee                0.710630089%
Livingston             0.678797077%
Monroe                 9.384433024%
Ontario                1.309944722%
Orleans                0.412856571%
Seneca                 0.386847050%
Wayne                  0.994089249%
Wyoming                0.411657124%
Yates                  0.247909288%
Finger Lakes Region    14.537164194%

Broome                 2.790673871%
Chemung                1.231939720%
Chenango               0.516475286%
Delaware               0.549364256%
Schuyler               0.208248729%
Steuben                1.137138754%
Tioga                  0.542347836%
Tompkins               1.177586745%
Southern Tier Region   8.153775199%

Cayuga                 0.903523653%
Cortland               0.541036257%
Madison                0.810595101%
Onondaga               6.323758786%
Oswego                 1.549495093%
Central NY Region      10.128408890%

Fulton                 0.462070473%
Herkimer               0.658308079%
Montgomery             0.453395949%
                                       42
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 73 of 128. PageID #: 591422




Oneida               2.826733181%
Otsego               0.670962131%
Schoharie            0.277769778%
Mohawk Valley Region 5.349239592%

Clinton                0.831513299%
Essex                  0.367293246%
Franklin               0.457353060%
Hamilton               0.030269643%
Jefferson              1.273686826%
Lewis                  0.251124198%
St. Lawrence           1.234262202%
North Country Region   4.445502475%

Albany                 2.791375201%
Columbia               0.656790382%
Greene                 0.793267678%
Rensselaer             1.270734936%
Saratoga               1.679317072%
Schenectady            1.217397796%
Warren                 0.612162823%
Washington             0.479903545%
Capital Region         9.500949434%

Dutchess               4.381104459%
Orange                 5.187725669%
Putnam                 1.184886753%
Rockland               3.081816868%
Sullivan               1.888626559%
Ulster                 2.462996041%
Westchester            9.207894077%
Mid-Hudson Region      27.395050426%




                                       43
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 74 of 128. PageID #: 591423




                                 Schedule B
Western Region         18.127131908%

Finger Lakes Region    12.860822502%

Southern Tier Region 7.213529004%

Central NY Region      8.960459360%

Mohawk Valley Region 4.732396222%

North Country Region 3.932872842%

Capital Region         8.405354899%

Mid-Hudson Region      24.236011664%

Albany                 0.772105290%

Buffalo                3.867429560%

Rochester              2.595770859%

Syracuse               1.749176400%

Yonkers                2.546939490%




                                       44
   Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 75 of 128. PageID #: 591424




                              Schedule C – Approved Uses

     1. TREATMENT

1. TREAT OPIOID USE DISORDER (OUD)

  Support treatment of Opioid Use Disorder (OUD) and any co-occurring Substance Use Disorder
  or Mental Health (SUD/MH) conditions through evidence-based, evidence-informed, or
  promising programs or strategies that may include, but are not limited to, the following:

     1. Expand availability of treatment for OUD and any co-occurring SUD/MH conditions,
        including all forms of Medication-Assisted Treatment (MAT) approved by the U.S. Food
        and Drug Administration.

     2. Support and reimburse services that include the full American Society of Addiction
        Medicine (ASAM) continuum of care for OUD and any co-occurring SUD/MH conditions,
        including but not limited to:

            a. Medication-Assisted Treatment (MAT);
            b. Abstinence-based treatment;
            c. Treatment, recovery, or other services provided by states, subdivisions,
               community health centers; non-for-profit providers; or for-profit providers;
            d. Treatment by providers that focus on OUD treatment as well as treatment by
               providers that offer OUD treatment along with treatment for other SUD/MH
               conditions; or
            e. Evidence-informed residential services programs, as noted below.

     3. Expand telehealth to increase access to treatment for OUD and any co-occurring SUD/MH
        conditions, including MAT, as well as counseling, psychiatric support, and other treatment
        and recovery support services.

     4. Improve oversight of Opioid Treatment Programs (OTPs) to assure evidence-based,
        evidence-informed or promising practices such as adequate methadone dosing and low
        threshold approaches to treatment.

     5. Support mobile intervention, treatment, and recovery services, offered by qualified
        professionals and service providers, such as peer recovery coaches, for persons with
        OUD and any co-occurring SUD/MH conditions and for persons who have experienced
        an opioid overdose.

     6. Treatment of mental health trauma resulting from the traumatic experiences of the opioid
        user (e.g., violence, sexual assault, human trafficking, or adverse childhood experiences) and



                                                  45
   Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 76 of 128. PageID #: 591425




         family members (e.g., surviving family members after an overdose or overdose fatality), and
         training of health care personnel to identify and address such trauma.

     7. Support detoxification (detox) and withdrawal management services for persons with
        OUD and any co-occurring SUD/MH conditions, including medical detox, referral to
        treatment, or connections to other services or supports.

     8. Training for MAT for health care providers, students, or other supporting professionals, such
        as peer recovery coaches or recovery outreach specialists, including telementoring to assist
        community-based providers in rural or undeserved areas.

     9. Support workforce development for addiction professionals who work with persons with
        OUD and any co-occurring SUD/MH conditions.

     10. Fellowships for addiction medicine specialists for direct patient care, instructors, and clinical
         research for treatments.

     11. Scholarships and supports for certified addiction counselors and other mental and behavioral
         health providers involved in addressing OUD any co-occurring SUD/MH conditions,
         including but not limited to training, scholarships, fellowships, loan repayment programs, or
         other incentives for providers to work in rural or underserved areas.

     12. Scholarships for persons to become certified addiction counselors, licensed alcohol and
         drug counselors, licensed clinical social workers, and licensed mental health counselors
         practicing in the SUD field, and scholarships for certified addiction counselors, licensed
         alcohol and drug counselors, licensed clinical social workers, and licensed mental health
         counselors practicing in the SUD field for continuing education and licensing fees.

     13. Provide funding and training for clinicians to obtain a waiver under the federal Drug
         Addiction Treatment Act of 2000 (DATA 2000) to prescribe MAT for OUD and provide
         technical assistance and professional support for clinicians who have obtained a DATA
         2000 waiver.

     14. Dissemination of web-based training curricula, such as the American Academy of Addiction
         Psychiatry’s Provider Clinical Support Service-Opioids web-based training curriculum and
         motivational interviewing.

     15. Development and dissemination of new curricula, such as the American Academy of
         Addiction Psychiatry’s Provider Clinical Support Service for Medication-Assisted
         Treatment.

2. SUPPORT PEOPLE IN TREATMENT AND RECOVERY

  Support people in treatment for and recovery from OUD and any co-occurring SUD/MH
  conditions through evidence-based, evidence-informed, or promising programs or strategies that
  may include, but are not limited to, the following:

                                                    46
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 77 of 128. PageID #: 591426




 1. Provide the full continuum of care of recovery services for OUD and any co-occurring
    SUD/MH conditions, including supportive housing, residential treatment, medical detox
    services, peer support services and counseling, community navigators, case management,
    transportation, and connections to community-based services.

 2. Provide counseling, peer-support, recovery case management and residential treatment
    with access to medications for those who need it to persons with OUD and any co-
    occurring SUD/MH conditions.

 3. Provide access to housing for people with OUD and any co-occurring SUD/MH
    conditions, including supportive housing, recovery housing, housing assistance
    programs, or training for housing providers.

 4. Provide community support services, including social and legal services, to assist in
    deinstitutionalizing persons with OUD and any co-occurring SUD/MH conditions.

 5. Support or expand peer-recovery centers, which may include support groups, social
    events, computer access, or other services for persons with OUD and any co-occurring
    SUD/MH conditions.

 6. Provide or support transportation to treatment or recovery programs or services for
    persons with OUD and any co-occurring SUD/MH conditions.

 7. Provide employment training or educational services for persons in treatment for or
    recovery from OUD and any co-occurring SUD/MH conditions.

 8. Identifying successful recovery programs such as physician, pilot, and college recovery
    programs, and providing support and technical assistance to increase the number and
    capacity of high-quality programs to help those in recovery.

 9. Engaging non-profits, faith-based communities, and community coalitions to support people
    in treatment and recovery and to support family members in their efforts to manage the
    opioid user in the family.

 10. Training and development of procedures for government staff to appropriately interact and
     provide social and other services to current and recovering opioid users, including reducing
     stigma.

 11. Support stigma reduction efforts regarding treatment and support for persons with OUD,
     including reducing the stigma on effective treatment.

 12. Create or support culturally-appropriate services and programs for persons with OUD
     and any co-occurring SUD/MH conditions, including new Americans.



                                              47
   Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 78 of 128. PageID #: 591427




     13. Create and/or support recovery high schools.

3. CONNECT PEOPLE WHO NEED HELP TO THE HELP THEY NEED (CONNECTIONS
   TO CARE)

  Provide connections to care for people who have – or at risk of developing – OUD and any
  cooccurring SUD/MH conditions through evidence-based, evidence-informed, or promising
  programs or strategies that may include, but are not limited to, the following:

     1. Ensure that health care providers are screening for OUD and other risk factors and know
        how to appropriately counsel and treat (or refer if necessary) a patient for OUD treatment.

     2. Fund Screening, Brief Intervention and Referral to Treatment (SBIRT) programs to reduce
        the transition from use to disorders.

     3. Provide training and long-term implementation of SBIRT in key systems (health, schools,
        colleges, criminal justice, and probation), with a focus on youth and young adults when
        transition from misuse to opioid disorder is most common.

     4. Purchase automated versions of SBIRT and support ongoing costs of the technology.

     5. Training for emergency room personnel treating opioid overdose patients on post-discharge
        planning, including community referrals for MAT, recovery case management or support
        services.

     6. Support hospital programs that transition persons with OUD and any co-occurring
        SUD/MH conditions, or persons who have experienced an opioid overdose, into
        community treatment or recovery services through a bridge clinic or similar approach.

     7. Support crisis stabilization centers that serve as an alternative to hospital emergency
        departments for persons with OUD and any co-occurring SUD/MH conditions or
        persons that have experienced an opioid overdose.

     8. Support the work of Emergency Medical Systems, including peer support specialists, to
        connect individuals to treatment or other appropriate services following an opioid overdose
        or other opioid-related adverse event.

     9. Provide funding for peer support specialists or recovery coaches in emergency
        departments, detox facilities, recovery centers, recovery housing, or similar settings;
        offer services, supports, or connections to care to persons with OUD and any co-
        occurring SUD/MH conditions or to persons who have experienced an opioid overdose.

     10. Provide funding for peer navigators, recovery coaches, care coordinators, or care
         managers that offer assistance to persons with OUD and any co-occurring SUD/MH
         conditions or to persons who have experienced on opioid overdose.


                                                  48
   Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 79 of 128. PageID #: 591428




     11. Create or support school-based contacts that parents can engage with to seek immediate
         treatment services for their child; and supporting prevention, intervention, treatment, and
         recovery programs focused on young people.

     12. Develop and support best practices on addressing OUD in the workplace.

     13. Support assistance programs for health care providers with OUD.

     14. Engage non-profits and faith community as a system to support outreach for treatment.

     15. Support centralized call centers that provide information and connections to appropriate
         services and supports for persons with OUD and any co-occurring SUD/MH conditions.

     16. Create or support intake and call centers to facilitate education and access to treatment,
         prevention, and recovery services for persons with OUD and any co-occurring SUD/MH
         conditions.

     17. Develop or support a National Treatment Availability Clearinghouse – a
         multistate/nationally accessible database whereby health care providers can list locations
         for currently available in-patient and out-patient OUD treatment services that are
         accessible on a real-time basis by persons who seek treatment.

4. ADDRESS THE NEEDS OF CRIMINAL-JUSTICE INVOLVED PERSONS

  Address the needs of persons with OUD and any co-occurring SUD/MH conditions who are
  involved – or are at risk of becoming involved – in the criminal justice system through evidence-
  based, evidence-informed or promising programs or strategies that may include, but are not limited
  to, the following:

     1. Support pre-arrest and pre-arraignment diversion and deflection strategies for persons with
        OUD and any co-occurring SUD/MH conditions, including established strategies such as:
             a. Self-referral strategies such as the Angel Programs or the Police Assisted Addiction
                Recovery Initiative (PAARI);
             b. Active outreach strategies such as the Drug Abuse Response Team (DART) model;
             c. “Naloxone Plus” strategies, which work to ensure that individuals who have received
                Naloxone to reverse the effects of an overdose are then linked to treatment programs
                or other appropriate services;
             d. Officer prevention strategies, such as the Law Enforcement Assisted Diversion
                (LEAD) model; or
             e. Officer intervention strategies such as the Leon County, Florida Adult Civil Citation
                Network or the Chicago Westside Narcotics Diversion to Treatment Initiative; or




                                                  49
   Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 80 of 128. PageID #: 591429




             f. Co-responder and/or alternative responder models to address OUD-related 911 calls
                with greater SUD expertise and to reduce perceived barriers associated with law
                enforcement 911 responses.

     2. Support pre-trial services that connect individuals with OUD and any co-occurring
        SUD/MH conditions to evidence-informed treatment, including MAT, and related services.

     3. Support treatment and recovery courts for persons with OUD and any co-occurring
        SUD/MH conditions, but only if they provide referrals to evidence-informed treatment,
        including MAT.

     4. Provide evidence-informed treatment, including MAT, recovery support, harm reduction, or
        other appropriate services to individuals with OUD and any co-occurring SUD/MH
        conditions who are incarcerated in jail or prison.

     5. Provide evidence-informed treatment, including MAT, recovery support, harm reduction, or
        other appropriate services to individuals with OUD and any co-occurring SUD/MH
        conditions who are leaving jail or prison, who have recently left jail or prison, are on
        probation or parole, are under community corrections supervision, or are in re-entry
        programs or facilities.

     6. Support critical time interventions (CTI), particularly for individuals living with dual-
        diagnosis OUD/serious mental illness, and services for individuals who face immediate risks
        and service needs and risks upon release from correctional settings.

     7. Provide training on best practices for addressing the needs of criminal-justice-involved
        persons with OUD and any co-occurring SUD/MH conditions to law enforcement,
        correctional, or judicial personnel or to providers of treatment, recovery, harm reduction,
        case management, or other services offered in connection with any of the strategies
        described in this section.

5. ADDRESS THE NEEDS OF PREGNANT OR PARENTING WOMEN AND THEIR
   FAMILIES, INCLUDING BABIES WITH NEONATAL ABSTINENCE SYNDROME

  Address the needs of pregnant or parenting women with OUD and any co-occurring SUD/MH
  conditions, and the needs of their families, including babies with neonatal abstinence syndrome,
  through evidence-based, evidence-informed, or promising programs or strategies that may
  include, but are not limited to, the following:

     1. Support evidence-based, evidence-informed, or promising treatment, including MAT,
        recovery services and supports, and prevention services for pregnant women – or women
        who could become pregnant – who have OUD and any co-occurring SUD/MH conditions,
        and other measures educate and provide support to families affected by Neonatal Abstinence
        Syndrome.




                                                  50
   Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 81 of 128. PageID #: 591430




        2. Training for obstetricians and other healthcare personnel that work with pregnant women
           and their families regarding OUD treatment and any co-occurring SUD/MH conditions.

        3. Provide training to health care providers who work with pregnant or parenting women on
           best practices for compliance with federal requirements that children born with Neonatal
           Abstinence Syndrome get referred to appropriate services and receive a plan of safe care.

        4. Child and family supports for parenting women with OUD and any co-occurring
           SUD/MH conditions.

        5. Enhanced family supports and child care services for parents with OUD and any cooccurring
           SUD/MH conditions.

        6. Provide enhanced support for children and family members suffering trauma as a result
           of addiction in the family; and offer trauma-informed behavioral health treatment for
           adverse childhood events.

        7. Offer home-based wrap-around services to persons with OUD and any co-occurring
           SUD/MH conditions, including but not limited to parent skills training.

        8. Support for Children’s Services – Fund additional positions and services, including
           supportive housing and other residential services, relating to children being removed
           from the home and/or placed in foster care due to custodial opioid use.

  II.      PREVENTION

F. PREVENT OVER-PRESCRIBING AND ENSURE APPROPRIATE PRESCRIBING AND
   DISPENSING OF OPIOIDS

  Support efforts to prevent over-prescribing and ensure appropriate prescribing and dispensing of
  opioids through evidence-based, evidence-informed, or promising programs or strategies that may
  include, but are not limited to, the following:

        1. Training for health care providers regarding safe and responsible opioid prescribing, dosing,
           and tapering patients off opioids.

        2. Academic counter-detailing to educate prescribers on appropriate opioids prescribing.

        3. Continuing Medical Education (CME) on appropriate prescribing of opioids.

        4. Support for non-opioid pain treatment alternatives, including training providers to offer or
           refer to multi-modal, evidence-informed treatment of pain.

        5. Support enhancements or improvements to Prescription Drug Monitoring Programs
           (PDMPs), including but not limited to improvements that:


                                                     51
   Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 82 of 128. PageID #: 591431




             a. Increase the number of prescribers using PDMPs;
             b. Improve point-of-care decision-making by increasing the quantity, quality, or
                format of data available to prescribers using PDMPs, by improving the interface
                that prescribers use to access PDMP data, or both; or
             c. Enable states to use PDMP data in support of surveillance or intervention
                strategies, including MAT referrals and follow-up for individuals identified
                within PDMP data as likely to experience OUD.

     6. Development and implementation of a national PDMP – Fund development of a
        multistate/national PDMP that permits information sharing while providing appropriate
        safeguards on sharing of private health information, including but not limited to:
             a. Integration of PDMP data with electronic health records, overdose episodes, and
                decision support tools for health care providers relating to OUD.
             b. Ensuring PDMPs incorporate available overdose/naloxone deployment data,
                including the United States Department of Transportation’s Emergency Medical
                Technician overdose database.

     7. Increase electronic prescribing to prevent diversion or forgery.

     8. Educating Dispensers on appropriate opioid dispensing.


G. PREVENT MISUSE OF OPIOIDS

  Support efforts to discourage or prevent misuse of opioids through evidence-based, evidence-
  informed, or promising programs or strategies that may include, but are not limited to, the
  following:

     1. Corrective advertising or affirmative public education campaigns based on evidence.

     2. Public education relating to drug disposal.

     3. Drug take-back disposal or destruction programs.

     4. Fund community anti-drug coalitions that engage in drug prevention efforts.

     5. Support community coalitions in implementing evidence-informed prevention, such as
        reduced social access and physical access, stigma reduction – including staffing, educational
        campaigns, support for people in treatment or recovery, or training of coalitions in evidence-
        informed implementation, including the Strategic Prevention Framework developed by the
        U.S. Substance Abuse and Mental Health Services Administration (SAMHSA).

     6. Engaging non-profits and faith community as a system to support prevention.



                                                  52
   Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 83 of 128. PageID #: 591432




     7. Support evidence-informed school and community education programs and campaigns for
        students, families, school employees, school athletic programs, parent-teacher and student
        associations, and others.

     8. School-based or youth-focused programs or strategies that have demonstrated effectiveness
        in preventing drug misuse and seem likely to be effective in preventing the uptake and use
        of opioids.

     9. Support community-based education or intervention services for families, youth, and
        adolescents at risk for OUD and any co-occurring SUD/MH conditions.

     10. Support evidence-informed programs or curricula to address mental health needs of
         young people who may be at risk of misusing opioids or other drugs, including
         emotional modulation and resilience skills.

     11. Support greater access to mental health services and supports for young people,
         including services and supports provided by school nurses or other school staff, to
         address mental health needs in young people that (when not properly addressed) increase
         the risk of opioid or other drug misuse.


H. PREVENT OVERDOSE DEATHS AND OTHER HARMS (HARM REDUCTION)

  Support efforts to prevent or reduce overdose deaths or other opioid-related harms through
  evidence-based, evidence-informed, or promising programs or strategies that may include, but
  are not limited to, the following:

     1. Increasing availability and distribution of naloxone and other drugs that treat overdoses to
        first responders, overdose patients, opioid users, families and friends of opioid users,
        schools, community navigators and outreach workers, drug offenders upon release from
        jail/prison, and other members of the general public.

     2. Public health entities provide free naloxone to anyone in the community, including but
        not limited to provision of intra-nasal naloxone in settings where other options are not
        available or allowed.

     3. Training and education regarding naloxone and other drugs that treat overdoses for first
        responders, overdose patients, patients taking opioids, families, schools, and other members
        of the general public.

     4. Enable school nurses and other school staff to respond to opioid overdoses, and provide
        them with naloxone, training, and support.

     5. Expand, improve, or develop data tracking software and applications for overdoses/naloxone
        revivals.


                                                  53
   Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 84 of 128. PageID #: 591433




     6. Public education relating to emergency responses to overdoses.

     7. Public education relating to immunity and Good Samaritan laws.

     8. Educate first responders regarding the existence and operation of immunity and Good
        Samaritan laws.

     9. Syringe service programs and other evidence-informed programs to reduce harms associated
        with intravenous drug use, including supplies, staffing, space, peer support services,
        referrals to treatment, fentanyl checking, connections to care, and the full range of harm
        reduction and treatment services provided by these programs.

     10. Expand access to testing and treatment for infectious diseases such as HIV and Hepatitis C
         resulting from intravenous opioid use.

     11. Support mobile units that offer or provide referrals to harm reduction services, treatment,
         recovery supports, health care, or other appropriate services to persons that use opioids
         or persons with OUD and any co-occurring SUD/MH conditions.

     12. Provide training in harm reduction strategies to health care providers, students, peer
         recovery coaches, recovery outreach specialists, or other professionals that provide care to
         persons who use opioids or persons with OUD and any co-occurring SUD/MH conditions.

     13. Support screening for fentanyl in routine clinical toxicology testing.


  III.   OTHER STRATEGIES

I. FIRST RESPONDERS

  In addition to items C8, D1 through D7, H1, H3, and H8, support the following:

     1. Law enforcement expenditures related to the opioid epidemic

     2. Educate law enforcement or other first responders regarding appropriate practices and
        precautions when dealing with fentanyl or other drugs.

     3. Provisions of wellness and support services for first responders and others who experience
        secondary trauma associated with opioid-related emergency events.

J. LEADERSHIP, PLANNING AND COORDINATION

  Support efforts to provide leadership, planning, and coordination to abate the opioid epidemic
  through activities, programs, or strategies that may include, but are not limited to, the following:



                                                    54
   Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 85 of 128. PageID #: 591434




     1. Community regional planning to identify goals for reducing harms related to the opioid
        epidemic, to identify areas and populations with the greatest needs for treatment intervention
        services, or to support other strategies to abate the opioid epidemic described in this opioid
        abatement strategy list including, but not limited to costs associated with local opioid task
        forces, community buprenorphine waiver trainings, and coordination and operation of
        community-based treatment prevention programing.

     2. A government dashboard to track key opioid-related indicators and supports as identified
        through collaborative community processes.

     3. Invest in infrastructure or staffing at government or not-for-profit agencies to support
        collaborative, cross-system coordination with the purpose of preventing overprescribing,
        opioid misuse, or opioid overdoses, treating those with OUD and any co-occurring
        SUD/MH conditions, supporting them in treatment or recovery, connecting them to care,
        or implementing other strategies to abate the opioid epidemic described in this opioid
        abatement strategy list.

     4. Provide resources to staff government oversight and management of opioid abatement
        programs.

K. TRAINING

  In addition to the training referred to in items above A7, A8, A9, A12, A13, A14, A15, B7, B10,
  C3, C5, E2, E4, F1, F3, F8, G5, H3, H12, and I2, support training to abate the opioid epidemic
  through activities, programs, or strategies that may include, but are not limited to, the following:

     1. Provide funding for staff training or network programs and services regarding the capability
        of government, community, and not-for-profit entities to abate the opioid crisis.

     2. Support infrastructure and staffing for collaborative cross-systems coordination to prevent
        opioid misuse, prevent overdoses, and treat those with OUD and any co-occurring SUD/MH
        conditions, or implement other strategies to abate the opioid epidemic described in this
        opioid abatement strategy list (e.g., health care, primary care, pharmacies, PDMPs, etc.).

L. RESEARCH

  Support opioid abatement research that may include, but is not limited to, the following:

     1. Monitoring, surveillance, and evaluation of programs and strategies described in this
        opioid abatement strategy list.

     2. Research non-opioid treatment of chronic pain.

     3. Research improved service delivery for modalities such as SBIRT that demonstrate
        promising but mixed results in populations vulnerable to opioid use disorders.


                                                    55
   Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 86 of 128. PageID #: 591435




    4. Research on novel harm reduction and prevention efforts such as the provision of
       fentanyl test strips.

    5. Research on innovative supply-side enforcement efforts such as improved detection of
       mail-based delivery of synthetic opioids.

    6. Expanded research on swift/certain/fair models to reduce and deter opioid misuse within
       criminal justice populations that build upon promising approaches used to address other
       substances (e.g. Hawaii HOPE and Dakota 24/7).

    7. Research on expanded modalities such as prescription methadone that can expand access
       to MAT.

    8. Epidemiological surveillance of OUD-related behaviors in critical populations including
       individuals entering the criminal justice system, including but not limited to approaches
       modeled on the Arrestee Drug Abuse Monitoring (ADAM) system.

    9. Qualitative and quantitative research regarding public health risks and harm reduction
       opportunities within illicit drug markets, including surveys of market participants who
       sell or distribute illicit opioids.

    10. Geospatial analysis of access barriers to MAT and their association with treatment
        engagement and treatment outcomes.

M. POST-MORTEM

    1. Toxicology tests for the range of synthetic opioids presently seen in overdose deaths as well
       as newly evolving synthetic opioids infiltrating the drug supply.

    2. Toxicology method development and method validation for the range of synthetic opioids
       observed now and in the future, including the cost of installation, maintenance, repairs and
       training of capital equipment.

    3. Autopsies in cases of overdose deaths resulting from opioids and synthetic opioids.

    4. Additional storage space/facilities for bodies directly related to opioid or synthetic opioid
       related deaths.

    5. Comprehensive death investigations for individuals where a death is caused by or suspected
       to have been caused by an opioid or synthetic opioid overdose, whether intentional or
       accidental.

    6. Indigent burial for unclaimed remains resulting from overdose deaths.




                                                  56
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 87 of 128. PageID #: 591436




 7. Navigation-to-care services for individuals with opioid use disorder who are encountered by
    the medical examiner’s office as either family and/or social network members of decedents
    dying of opioid overdose.

 8. Epidemiologic data management and reporting to public health and public safety
    stakeholders regarding opioid overdose fatalities.




                                            57
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 88 of 128. PageID #: 591437




                                   Exhibit C




                                      58
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 89 of 128. PageID #: 591438




                                       Injunctive Relief

A.   Definitions Specific to this Exhibit

     1.     “Cancer-Related Pain Care” means care that provides relief from pain resulting
            from a patient’s active cancer or cancer treatment as distinguished from treatment
            provided during remission.

     2.     “Janssen” means Johnson & Johnson, Janssen Pharmaceuticals, Inc., Ortho-McNeil-
            Janssen Pharmaceuticals, Inc., and Janssen Pharmaceutica, Inc. (collectively,
            “Janssen”), including all of their subsidiaries, predecessors, successors, current
            officers, directors, employees, representatives, agents, affiliates, parents, and assigns
            acting on behalf of Janssen in the United States.

     3.     “End-of-Life Care” means care for persons with a terminal illness or at high risk for
            dying in the near future in hospice care, hospitals, long-term care settings, or at
            home.

     4.     “Health Care Provider” means any U.S.-based physician or other health care
            practitioner who is licensed to provide health care services or to prescribe
            pharmaceutical products and any medical facility, practice, hospital, clinic, or
            pharmacy.

     5.     “In-Kind Support” means payment or assistance in the form of goods, commodities,
            services, or anything else of value.

     6.     “Lobby” and “Lobbying” shall have the same meaning as “lobbying activities” and
            “lobbying contacts” under the federal lobbying disclosure act, 2 U.S.C. § 1602 et
            seq., and any analogous state or local provisions governing the person or entity being
            lobbied. As used in this document, “Lobby” and “Lobbying” include Lobbying
            directly or indirectly, through grantees or Third Parties.

     7.     “Opioid(s)” means all naturally occurring, synthetic, or semisynthetic substances that
            interact with opioid receptors and act like opium. For the avoidance of doubt, the
            term “Opioid(s)” does not include Imodium.

     8.     “Opioid Product(s)” means all current and future medications containing Opioids
            approved by the U.S. Food & Drug Administration (FDA) and listed by the DEA as
            Schedule II, III, or IV drugs pursuant to the federal Controlled Substances Act
            (including but not limited to buprenorphine, codeine, fentanyl, hydrocodone,
            hydromorphone, meperidine, methadone, morphine, oxycodone, oxymorphone,
            tapentadol, and tramadol). The term “Opioid Products(s)” shall not include (i)
            methadone and other substances when used exclusively to treat opioid abuse,
            addiction, or overdose; or (ii) raw materials, immediate precursors, and/or active
            pharmaceutical ingredients (APIs) used in the manufacture or study of Opioids or
            Opioid Products, but only when such materials, immediate precursors, and/or APIs
            are sold or marketed exclusively to DEA-licensed manufacturers or DEA-licensed
            researchers.

                                               59
    Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 90 of 128. PageID #: 591439




        9.    “OUD” means opioid use disorder defined in the Diagnostic and Statistical Manual
              of Mental Disorders, Fifth Edition (DSM–5), as updated or amended.

        10.   “Product(s) for the Treatment of Opioid-Induced Side Effects” means any over-the-
              counter or prescription remedy used to treat those side effects identified on the FDA
              label for any Opioid Product, except that, for purposes of the Agreement, Product(s)
              for the Treatment of Opioid-Induced Side Effects shall not include products that treat
              OUD or respiratory depression.

        11.   “Promote,” “Promoting,” “Promotion,” and “Promotional” means dissemination of
              information or other practices intended or reasonably anticipated to increase sales,
              prescriptions, or that attempts to influence prescribing practices in the United States.
              These terms shall not include the provision of scientific information or data in
              response to unsolicited requests from Health Care Providers or payors as allowed in
              subsection C.2.e-h.

        12.   “Third Party(ies)” means any person or entity other than Janssen or a government
              entity.

        13.   “Treatment of Pain” means the provision of therapeutic modalities to alleviate or
              reduce pain.

        14.   “Unbranded Information” means any information that does not identify a specific
              branded or generic product.

a       Ban on Selling and Manufacturing Opioids

        1.    Janssen shall not manufacture or sell any Opioids or Opioid Products for distribution
              in the State of New York. Janssen represents that prior to the Effective Date, it de-
              listed all of its Opioid Products and no longer ships any of them to or within the
              United States. Janssen shall provide notice to the State of New York when the last of
              the inventory Janssen has shipped has expired.

        2.    Notwithstanding subsection B.1 above, Janssen may continue to manufacture
              Nucynta and Nucynta ER (collectively “Nucynta”) in accordance with the terms of
              its April 2, 2015 contract with Depomed, Inc., rights to which were assigned to
              Collegium Pharmaceutical, Inc. (“Collegium”) on February 13, 2020, so long as
              Janssen is not Promoting Nucynta, or selling Nucynta to anyone other than
              Collegium. Janssen shall not extend, amend, or otherwise alter the terms of its April
              2, 2015 contract or enter into any similar agreement related to Nucynta or any other
              Opioid or Opioid Product. For the term of its April 2, 2015 contract, or until the
              expiration of subsection B.1, whichever is shorter, Janssen shall make an annual
              report to the State of New York showing the amount of Nucynta manufactured in
              accordance with the April 2, 2015 contract.




                                                 60
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 91 of 128. PageID #: 591440




C.   Ban on Promotion

     1.    Janssen shall not engage in Promotion of Opioids or Opioid Products including but
           not limited to, by:

           a.     Employing or contracting with sales representatives or other persons to
                  Promote Opioids or Opioid Products to Health Care Providers or patients, or
                  to persons involved in determining the Opioid Products included in
                  formularies;

           b.     Using speakers, key opinion leaders, thought leaders, lecturers, and/or
                  speaking events for Promotion of Opioids or Opioid Products;

           c.     Sponsoring, or otherwise providing financial support or In-Kind Support to
                  medical education programs for Promotion of Opioids or Opioid Products;

           d.     Creating, sponsoring, operating, controlling, or otherwise providing financial
                  support or In-Kind Support to any website, network, and/or social or other
                  media account for the Promotion of Opioids or Opioid Products;

           e.     Creating, sponsoring, distributing, or otherwise providing financial support or
                  In-Kind Support for materials Promoting Opioids or Opioid Products,
                  including but not limited to brochures, newsletters, pamphlets, journals,
                  books, and guides;

           f.     Creating, sponsoring, or otherwise providing financial support or In-Kind
                  Support for advertisements that Promote Opioids or Opioid Products,
                  including but not limited to internet advertisements or similar content, and
                  providing hyperlinks or otherwise directing internet traffic to advertisements;
                  and

           g.     Engaging in internet search engine optimization or other techniques designed
                  to Promote Opioids or Opioid Products by improving rankings or making
                  content appear among the top results in an internet search or otherwise be
                  more visible or more accessible to the public on the internet.

     2.    Notwithstanding subsection C.1 directly above, Janssen may:

           a.     Maintain a corporate website;

           b.     Maintain a website for any Opioid Product that contains principally the
                  following content: the FDA-approved package insert, medication guide, and
                  labeling, and a statement directing patients or caregivers to speak with a
                  licensed Health Care Provider;

           c.     Provide information or support the provision of information as expressly
                  required by law or any state or federal government agency with jurisdiction
                  in New York;

                                            61
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 92 of 128. PageID #: 591441




          d.    Provide the following by mail, electronic mail, on or through Janssen’s
                corporate or product websites or through other electronic or digital methods:
                FDA-approved package insert, medication guide, approved labeling for
                Opioid Products, or other prescribing information for Opioid Products that
                are published by a state or federal government agency with jurisdiction in
                New York;

          e.    Provide scientific and/or medical information in response to an unsolicited
                request by a Health Care Provider consistent with the standards set forth in
                the FDA’s Draft Guidance for Industry, Responding to Unsolicited Requests
                for Off-Label Information About Prescription Drugs and Medical Devices
                (Dec. 2011) as updated or amended by the FDA, and Guidance for Industry,
                Good Reprint Practices for the Distribution of Medical Journal Articles and
                Medical or Scientific Reference Publications on Unapproved New Uses of
                Approved Drugs and Approved or Cleared Medical Devices (Jan. 2009) as
                updated or amended by the FDA;

          f.    Provide a response to any unsolicited question or request from a patient or
                caregiver, directing the patient or caregiver to the FDA-approved labeling or
                to speak with a licensed Health Care Provider without describing the safety
                or effectiveness of Opioids or any Opioid Product or naming any specific
                provider or healthcare institution; or directing the patient or caregiver to
                speak with their insurance carrier regarding coverage of an Opioid Product;

          g.    Provide Health Care Economic Information, as defined at 21 U.S.C. § 352(a),
                to a payor, formulary committee, or other similar entity with knowledge and
                expertise in the area of health care economic analysis consistent with
                standards set forth in the FDA’s Draft Questions and Answers Guidance for
                Industry and Review Staff, Drug and Device Manufacturer Communications
                With Payors, Formulary Committees, and Similar Entities (Jan. 2018), as
                updated or amended by the FDA;

          h.    Provide information relating solely to the pricing of any Opioid Product;

          i.    Sponsor or provide financial support or In-Kind Support for an accredited or
                approved continuing medical education program required by either an FDA-
                approved Risk Evaluation and Mitigation Strategy (REMS) program or other
                federal or state law or regulation applicable in New York through an
                independent Third Party, which shall be responsible for the program’s
                content without the participation of Janssen; and

          j.    Provide information in connection with patient support information on co-pay
                assistance and managing pain in End-of-Life Care and/or Cancer-Related
                Pain Care relating to the use of Opioids for managing such pain, as long as
                the information identifies Janssen as the source of the information.




                                          62
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 93 of 128. PageID #: 591442




    3.    Janssen shall not engage in the Promotion of Products for the Treatment of Opioid-
          induced Side Effects, including but not limited to:

          a.     Employing or contracting with sales representatives or other persons to
                 Promote Products for the Treatment of Opioid-induced Side Effects to Health
                 Care Providers or patients;

          b.     Using speakers, key opinion leaders, thought leaders, lecturers, and/or
                 speaking events to Promote Products for the Treatment of Opioid induced
                 Side Effects;

          c.     Sponsoring, or otherwise providing financial support or In-Kind Support to
                 medical education programs that Promote Products for the Treatment of
                 Opioid-induced Side Effects;

          d.     Creating, sponsoring, or otherwise providing financial support or In-Kind
                 Support for advertisements that Promote Products for the Treatment of
                 Opioid-induced Side Effects, including but not limited to internet
                 advertisements or similar content, and providing hyperlinks or otherwise
                 directing internet traffic to advertisements.

    4.    Notwithstanding subsection C, Janssen may Promote Products for the Treatment of
          Opioid-induced Side Effects so long as such Promotion does not associate the
          product with Opioids or Opioid Products.

    5.    Treatment of Pain

          a.     Janssen shall not, either through Janssen or through Third Parties, engage in
                 any conduct that Promotes the Treatment of Pain, except that Janssen may
                 continue to Promote the Treatment of Pain with branded non-Opioids,
                 including Tylenol and Motrin.

          b.     Janssen shall not, either through Janssen or through Third Parties, engage in
                 any conduct that Promotes the concept that pain is undertreated, except in
                 connection with Promoting the use of branded non-Opioids, including
                 Tylenol and Motrin, for the Treatment of Pain.

          c.     Janssen shall not disseminate Unbranded Information, including Unbranded
                 Information about a medical condition or disease state, that contains links to
                 branded information about Opioid Products or that otherwise Promotes
                 Opioids or Opioid Products.

    6.    Notwithstanding subsection C.5 above:

          a.     Janssen may Promote or provide educational information about the Treatment
                 of Pain with non-Opioids or therapies such as acetaminophen or non-steroidal
                 anti-inflammatory drugs (NSAIDS), including Promoting or providing
                 educational information about such non-Opioids or therapies as alternatives

                                           63
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 94 of 128. PageID #: 591443




                  to Opioid use, or as part of multimodal therapy which may include Opioid
                  use, so long as such non-Opioid Promotional or educational information does
                  not Promote Opioids or Opioid Products.

           b.     Janssen may provide educational information about the Treatment of Pain
                  related to medical procedures involving devices manufactured or sold by
                  Janssen, including educational information about Opioids or Opioid Products,
                  so long as such information does not Promote Opioids or Opioid Products.

     7.    The Promotional conduct prohibited in subsection C is not prohibited insofar as it
           relates to the Promotion of Opioids or Opioid Products for Cancer-Related Pain Care
           or End-of-Life Care only, and so long as Janssen is identified as the sponsor or
           source of such Promotional conduct.

D.   No Financial Reward or Discipline Based on Volume of Opioid Sales

     1.    Janssen shall not provide financial incentives to its sales and marketing employees or
           discipline its sales and marketing employees based upon sales volume or sales quotas
           for Opioid Products;

     2.    Janssen shall not offer or pay any remuneration (including any kickback, bribe, or
           rebate) directly or indirectly, to any person in return for the prescribing, sale, use, or
           distribution of an Opioid Product; and

     3.    Janssen’s compensation policies and procedures shall ensure compliance with the
           Agreement.

E.   Ban on Funding/Grants to Third Parties

     1.    Janssen shall not directly or indirectly provide financial support or In-Kind Support
           to any Third Party that primarily engages in conduct that Promotes Opioids, Opioid
           Products, or Products for the Treatment of Opioid-induced Side Effects (subject to
           subsections B.2, 4, and 6), including educational programs or websites that Promote
           Opioids, Opioid Products, or products for the treatment of Opioid-induced side
           effects, excluding financial support otherwise required by the Agreement, a court
           order, or by a federal or state agency.

     2.    Janssen shall not create, sponsor, provide financial support or In-Kind Support to, or
           otherwise operate or control any medical society or patient advocacy group that
           primarily engages in conduct that Promotes Opioids, Opioid Products, or products
           for the treatment of Opioid-induced side effects.

     3.    Janssen shall not provide links to any Third Party website or materials or otherwise
           distribute materials created by a Third Party for the purpose of Promoting Opioids,
           Opioid Products, or products intended for the treatment of Opioid-induced side
           effects (subject to subsections B.2, 4, and 6).



                                              64
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 95 of 128. PageID #: 591444




     4.    Janssen shall not use, assist, or employ any Third Party to engage in any activity that
           Janssen itself would be prohibited from engaging in pursuant to the Agreement. To
           the extent Janssen supports trade groups engaged in Lobbying, Janssen shall stipulate
           that such support not be used for any purpose prohibited by the Agreement.

     5.    Janssen shall not enter into any contract or agreement with any person or entity or
           otherwise attempt to influence any person or entity in such a manner that has the
           purpose or foreseeable effect of limiting the dissemination of information regarding
           the risks and side effects of using Opioids.

     6.    Janssen shall not compensate or support Health Care Providers or organizations to
           advocate for formulary access or treatment guideline changes for the purpose of
           increasing access to any Opioid Product through third-party payors, i.e., any entity,
           other than an individual, that pays or reimburses for the dispensing of prescription
           medicines, including but not limited to managed care organizations and pharmacy
           benefit managers.

     7.    No officer or management-level employee of Janssen may concurrently serve as a
           director, board member, employee, agent, or officer of any entity that primarily
           engages in conduct that Promotes Opioids, Opioid Products, or products for the
           treatment of Opioid-induced side effects. For the avoidance of doubt, nothing in this
           provision shall preclude an officer or management-level employee of Janssen from
           concurrently serving on the board of a hospital.

     8.    Janssen shall play no role in appointing persons to the board, or hiring persons to the
           staff, of any entity that primarily engages in conduct that Promotes Opioids, Opioid
           Products, or products for the treatment of Opioid-induced side effects. For avoidance
           of doubt, nothing in this paragraph shall prohibit Janssen from fully and accurately
           responding to unsolicited requests or inquiries about a person’s fitness to serve as an
           employee or Board member at any such entity.

F.   Lobbying Restrictions

     1.    Janssen shall not Lobby for the enactment of any federal, state, or local legislative or
           regulatory provision that:

           a.     Encourages or requires Health Care Providers to prescribe Opioids or
                  sanctions Health Care Providers for failing to prescribe Opioids or failing to
                  treat pain with Opioids;

           b.     Has the effect of limiting access to any non-Opioid alternative pain
                  treatments; or

           c.     Pertains to the classification of any Opioid or Opioid Product as a scheduled
                  drug under the Controlled Substances Act.

     2.    Janssen shall not Lobby against the enactment of any federal, state or local
           legislative or regulatory provision that supports:

                                             65
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 96 of 128. PageID #: 591445




          a.     The use of non-pharmacologic therapy and/or non-Opioid pharmacologic
                 therapy to treat chronic pain over or instead of Opioid use, including but not
                 limited to third party payment or reimbursement for such therapies;

          b.     The use and/or prescription of immediate release Opioids instead of extended
                 release Opioids when Opioid use is initiated, including but not limited to
                 third party reimbursement or payment for such prescriptions;

          c.     The prescribing of the lowest effective dose of an Opioid, including but not
                 limited to third party reimbursement or payment for such prescription;

          d.     The limitation of initial prescriptions of Opioids to treat acute pain;

          e.     The prescribing and other means of distribution of naloxone to minimize the
                 risk of overdose, including but not limited to third party reimbursement or
                 payment for naloxone;

          f.     The use of urine testing before starting Opioid use and annual urine testing
                 when Opioids are prescribed, including but not limited to third party
                 reimbursement or payment for such testing;

          g.     Evidence-based treatment (such as using medication-assisted treatment with
                 buprenorphine or methadone in combination with behavioral therapies) for
                 OUD, including but not limited to third party reimbursement or payment for
                 such treatment; or

          h.     The implementation or use of Opioid drug disposal systems.

    3.    Janssen shall not Lobby against the enactment of any federal, state or local
          legislative or regulatory provision expanding the operation or use of PDMPs,
          including but not limited to provisions requiring Health Care Providers to review
          PDMPs when Opioid use is initiated and with every prescription thereafter.

    4.    Notwithstanding the foregoing restrictions in subsections F.1-3, the following
          conduct is not restricted:

          a.     Challenging the enforcement of or suing for declaratory or injunctive relief
                 with respect to legislation, rules, or regulations referred to in subsection F.1;

          b.     Communications made by Janssen in response to a statute, rule, regulation, or
                 order requiring such communication;

          c.     Communications by a Janssen representative appearing before a federal or
                 state legislative or administrative body, committee, or subcommittee as result
                 of a mandatory order or subpoena commanding that person to testify;

          d.     Responding, in a manner consistent with the Agreement, to an unsolicited
                 request for the input on the passage of legislation or the promulgation of any

                                            66
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 97 of 128. PageID #: 591446




                  rule or regulation when such request is submitted in writing specifically to
                  Janssen from a government entity directly involved in the passage of that
                  legislation or promulgation of that rule or regulation; or

           e.     Lobbying for or against provisions of legislation or regulation that address
                  other subjects in addition to those identified in subsections F.1-3, so long as
                  the company does not support specific portions of such legislation or
                  regulation covered by subsection F.1 or oppose specific portions of such
                  legislation or regulation covered by subsections F.2-3.

     5.    Janssen shall provide notice of the prohibitions in subsection F to all employees
           engaged in Lobbying; shall incorporate the prohibitions in subsection F into trainings
           provided to Janssen employees engaged in Lobbying; and certify to the State of New
           York that it has provided such notice and trainings to Janssen employees engaged in
           Lobbying.

G.   Ban on Prescription Savings Programs

     1.    Janssen shall not directly or indirectly offer any discounts, coupons, rebates, or other
           methods which have the effect of reducing or eliminating a patient’s co-payments or
           the cost of prescriptions (e.g., free trial prescriptions) for any Opioid Product.

     2.    Janssen shall not directly or indirectly provide financial support to any Third Party
           for discounts, coupons, rebates, or other methods which have the effect of reducing
           or eliminating a patient’s co-payments or the cost of prescriptions (e.g., free trial
           prescriptions) for any Opioid Product.

     3.    Janssen shall not directly or indirectly assist patients, Health Care Providers, or
           pharmacies with the claims and/or prior authorization process required for third-
           party payors to approve payment for any Opioid Product.

H.   General Terms

     1.    Janssen shall not make any written or oral statement about Opioids or any Opioid
           Product that is unfair, false, misleading, or deceptive as defined under the law of
           New York State. For purposes of this paragraph, “Opioid Product” shall also include
           methadone and other substances when used exclusively to treat opioid abuse,
           addiction, or overdose.

     2.    Janssen shall not represent that Opioids or any Opioid Product(s) have approvals,
           characteristics, uses, benefits, or qualities that they do not have. For purposes of this
           paragraph, “Opioid Product” shall also include methadone and other substances
           when used exclusively to treat opioid abuse, addiction, or overdose.

     3.    For the avoidance of doubt, the Agreement shall not be construed or used as a waiver
           or limitation of any defense otherwise available to Janssen in any action, and nothing
           in the Agreement is intended to or shall be construed to prohibit Janssen in any way


                                              67
     Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 98 of 128. PageID #: 591447




               whatsoever from taking legal or factual positions with regard to any Opioid
               Product(s) in defense of litigation or other legal proceedings.

        4.     Upon the request of the State of New York Attorney General, Janssen shall provide
               the New York Attorney General with copies of the following, within thirty (30) days
               of the request:

               a.     Any litigation or civil or criminal law enforcement subpoenas or Civil
                      Investigative Demands relating to Janssen’s Opioid Product(s); and

               b.     Warning or untitled letters issued by the FDA regarding Janssen’s Opioid
                      Product(s) and all correspondence between Janssen and the FDA related to
                      such letters.

        5.     The Agreement applies to conduct that results in the Promotion of Opioids or Opioid
               Products, or the Treatment of Pain inside the United States.

        6.     Janssen will enter into the Agreement solely for the purpose of settlement, and
               nothing contained therein may be taken as or construed to be an admission or
               concession of any violation of law, rule, or regulation, or of any other matter of fact
               or law, or of any liability or wrongdoing, all of which Janssen expressly denies. No
               part of the Agreement, including its statements and commitments, shall constitute
               evidence of any liability, fault, or wrongdoing by Janssen. The Agreement is not
               intended for use by any third party for any purpose, including submission to any
               court for any purpose.

         7.    Nothing in the Agreement shall be construed to limit or impair Janssen’s ability to:

               a.     Communicate its positions and respond to media inquiries concerning
                      litigation, investigations, reports or other documents or proceedings relating
                      to Janssen or its Opioid Products.

               b.     Maintain a website explaining its litigation positions and responding to
                      allegations concerning its Opioid Products, including the website,
                      www.factsaboutourprescriptionopioids.com.

I.       Compliance with All State Laws and Regulations Relating to the Sale, Promotion, and
         Distribution of Any Opioid Product

         1.    Janssen shall comply with all applicable state laws and regulations that relate to the
               sale, promotion, distribution, and disposal of Opioids or Opioid Products, including
               conduct permitted by subsection B.2, provided that nothing in this paragraph requires
               Janssen to violate federal law or regulations, including but not limited to:

               a.     New York State Controlled Substances Act, including all guidance issued by
                      the applicable state regulator(s);

               b.     New York State Consumer Protection Laws;

                                                 68
     Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 99 of 128. PageID #: 591448




               c.      New York State laws, regulations, and guidelines related to opioid
                       prescribing, distribution, and disposal; and

J.       Clinical Data Transparency

         1.    Janssen agrees to continue sharing clinical trial data under the Yale University Open
               Data Access (YODA) Project to allow researchers qualified under the program to
               access the company’s propriety data under the terms of the project.

         2.    In the event Yale University discontinues or withdraws from the YODA Project
               agreement with Janssen, Janssen shall make its clinical research data regarding
               Opioids and Opioid Products, and any additional clinical research data that Janssen
               sponsors and controls regarding Opioids and Opioid Products, available to an
               independent entity that is the functional equivalent of the YODA Project under
               functionally equivalent terms.

K.       Enforcement

         1.    For the purposes of resolving disputes with respect to compliance with this Exhibit,
               should the State of New York have a reasonable basis to believe that Janssen has
               engaged in a practice that violates a provision of this Exhibit subsequent to the
               Effective Date, the State of New York shall notify Janssen in writing of the specific
               objection, identify with particularity the provision of the Agreement that the practice
               appears to violate, and give Janssen thirty (30) days to respond in writing to the
               notification; provided, however, that the State of New York may take any action if
               the State believes that, because of the specific practice, a threat to health or safety of
               the public requires immediate action.

         2.    Upon receipt of written notice, Janssen shall provide a good faith written response to
               the State’s notification, containing either a statement explaining why Janssen
               believes it is in compliance with the provisions of this Exhibit of the Agreement, or a
               detailed explanation of how the alleged violation occurred and a statement
               explaining how Janssen intends to remedy the alleged breach. Nothing in this section
               shall be interpreted to limit the State of New York’s civil investigative demand
               (“CID”) or investigative subpoena authority, to the extent such authority exists under
               applicable law, and Janssen reserves all of its rights in responding to a CID or
               investigative subpoena issued pursuant to such authority.

         3.    The State of New York may agree, in writing, to provide Janssen with additional
               time beyond thirty (30) days to respond to a notice provided under subsection L.1,
               above, without Court approval.

         4.    Upon giving Janssen thirty (30) days to respond to the notification described above,
               the State shall also be permitted reasonable access to inspect and copy relevant, non-
               privileged, non-work product records and documents in possession, custody, or
               control of Janssen that relate to Janssen’s compliance with each provision of the
               Agreement pursuant to the State of New York’s CID or investigative subpoena
               authority.
                                                  69
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 100 of 128. PageID #: 591449




      5.    The State of New York may assert any claim that Janssen has violated the
            Agreement in a separate civil action to enforce compliance with the Agreement, or
            may seek any other relief afforded by law for violations of the Agreement, but only
            after providing Janssen an opportunity to respond to the notification described in
            subsection L.1, above; provided, however, the State of New York may take any
            action if the State believes that, because of the specific practice, a threat to the health
            or safety of the public requires immediate action.

      6.    In the event of a conflict between the requirements of the Agreement and any other
            law, regulation, or requirement such that Janssen cannot comply with the law
            without violating the terms of the Agreement or being subject to adverse action,
            including fines and penalties, Janssen shall document such conflicts and notify the
            State of the extent to which it will comply with the Agreement in order to eliminate
            the conflict within thirty (30) days of Janssen’s discovery of the conflict. Janssen
            shall comply with the terms of the Agreement to the fullest extent possible without
            violating the law.

      7.    Janssen or the State may request that Janssen and the State meet and confer
            regarding the resolution of an actual or potential conflict between the Agreement and
            any other law, or between interpretations of the Agreement by different courts.
            Nothing herein is intended to modify or extend the jurisdiction of any single judicial
            authority as provided by law.

L.    Compliance Duration

      1.    Subsections B-J of this Exhibit shall be effective for 10 years from the Effective
            Date.

      2.    Nothing in this Agreement shall relieve Janssen of its independent obligation to fully
            comply with the laws of the State of New York after expiration of the 10-year period
            specified in this subsection.

M.    Compliance Deadlines

      1.    Janssen must be in full compliance with the provisions included this Agreement by
            the Effective Date. Nothing herein shall be construed as permitting Janssen to avoid
            existing legal obligations.




                                                70
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 101 of 128. PageID #: 591450




                                   Exhibit D




                                      71
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 102 of 128. PageID #: 591451




COURT OF THE STATE OF NEW YORK
COUNTY OF SUFFOLK

 IN RE OPIOID LITIGATION


 This document relates to:
                                                        Index No. 400000/2017
 The County of Suffolk, New York v. Purdue Pharma
 L. P., Case No. 400001/2017                      Hon. Jerry Garguilo

 The County of Nassau, New York v. Purdue Pharma
 L. P., Case No. 400008/2017



                STIPULATION OF DISCONTINUANCE WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, counsel

of record for Plaintiffs Suffolk County, New York, Nassau County, New York, and for Defendants

Johnson & Johnson, Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., and

Janssen Pharmaceutica, Inc. (collectively, “Janssen”), that, pursuant to C.P.L.R. 3217, the following

actions are hereby voluntarily discontinued with prejudice as to Janssen only, without costs as to any

party against the other:

       1.      The County of Suffolk, New York v. Purdue Pharma L. P., Case No. 400001/2017;

       2.      The County of Nassau, New York v. Purdue Pharma L. P., Case No. 400008/2017.

 Dated: June ______, 2021
 New York, New York


 O'MELVENY & MYERS LLP                         NAPOLI SHKOLNIK PLLC

/s/ Charles C. Lifland                         _________________________
Charles C. Lifland                             Salvatore C. Badala
(admitted pro hac vice)                        Napoli Shkolnik PLLC
400 South Hope Street, 18th Floor              400 Broadhollow Road
Los Angeles, CA 90071                          Melville, NY 11747
Phone: (213) 430-6000                          Phone: (212) 397-1000

                                                 72
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 103 of 128. PageID #: 591452




 COURT OF THE STATE OF NEW YORK
 COUNTY OF SUFFOLK

  IN RE OPIOID LITIGATION


  This document relates to :
                                                         Index No. 400000/2017
  The County of Suffolk, New Yorkv. Purdue Pharma
  L. P., CaseNo. 40000 I 12017                           Hon. Jery Garguilo

  The County ofNassau, New Yorkv. Purdue Pharma
  L. P.,Case No. 40000812017




                 STIPULATION OF DISCONTINUANCE WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned,                     counsel

 of record for Plaintiffs Suffolk County, New York, Nassau County, New York, and for Defendants

 Johnson & Johnson, Janssen Pharmaceuticals, Inc., Ortho-McNeil-JanssenPharmaceuticals, Inc., and

 Janssen Pharmaceutica, Inc. (collectively, "Janssen'),that,pursuant to C.P.L.R. 3217 ,the following

 actions are hereby voluntarily discontinued with prejudice as to Janssen only, without costs   as to any


 party against the other:

         l.     'Ihe County of Suffilk, New Yorkv. Purdue Pharma L. P.,Case No.400001 12017;

        2.      The County ofNassau, New Yorkv. Purdue Pharma L. P., Case No. 40000812017.

  Dated: tun" A5_2ozr
  New York, New York


   O'MELVENY & MYERS LLP                        NAPO


   Charles C, Lifland
   (admittedpro hac vice)                       N
   400 South Hope Street, 18th Floor Los        400 Broadhollow Road
   Angeles, CA 90071                            Melville, NY 11747
   Phone: (213) 430-6000                        Phone: (212)397-1,000


                                                    72
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 104 of 128. PageID #: 591453




  clifland@omm.com                            sb ad    ala@napo           IiI   aw. co m
  C o uns e I fo r D efe ndant Jans s en
                                              C o un se I for P          laintiff Na s s au County


                                              SIMMONS HANLY CONROY LLC


                                              J
                                                       Han ly        LLC
                                              1   Madison Ave 7th Floor
                                              New York, NY 10016
                                              Phone: (212)257-8482
                                              jconroy@simmon                     sfi   rm.com

                                              Co uns    e I fo   r   P   laintiff Su/Jb lk      Co   unty




  So Ordered:                                 Date
                Hon. Jerry Garguilo, J.S.C.




                                                  73
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 105 of 128. PageID #: 591454




                                AFFIRMATION OF SERVICE

       I, _____________________, an attorney duly admitted to practice before the courts of this

State, hereby affirm under penalty of perjury that on June _______________________, 2021, I

caused the foregoing to be served via NYSCEF on counsel of record in this action.

                                                    ___________________




                                               74
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 106 of 128. PageID #: 591455




                                   Exhibit E




                                      75
    Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 107 of 128. PageID #: 591456




    CITY OR COUNTY                        COUNSEL                  WITHIN COUNTY OR    2019
    NAME 5                                MAIN                     MULTIPLE COUNTIES   population
                                                                                       estimate

    ALLEGANY COUNTY                       NAPOLI                                          46,091
                                          SHKOLNIK
    AMHERST TOWN                          NAPOLI                   ERIE COUNTY           126,082
                                          SHKOLNIK
    AMSTERDAM CITY                        NAPOLI                   MONTGOMERY COUNTY      17,766
                                          SHKOLNIK
    AUBURN CITY                           NAPOLI                   CAYUGA COUNTY          26,173
                                          SHKOLNIK
    BUFFALO CITY                          NAPOLI                   ERIE COUNTY           255,284
                                          SHKOLNIK
    CATTARAUGUS                           NAPOLI                                          76,117
    COUNTY                                SHKOLNIK
    CAYUGA COUNTY                         NAPOLI                                          76,576
                                          SHKOLNIK
    CHAUTAUQUA COUNTY                     NAPOLI                                         126,903
                                          SHKOLNIK
    CHEEKTOWAGA TOWN                      NAPOLI                   ERIE COUNTY            85,884
                                          SHKOLNIK
    CHEMUNG COUNTY                        NAPOLI                                          83,456
                                          SHKOLNIK
    CHENANGO COUNTY                       NAPOLI                                          47,207
                                          SHKOLNIK
    CLINTON COUNTY                        NAPOLI                                          80,485
                                          SHKOLNIK
    CORTLAND COUNTY                       NAPOLI                                          47,581
                                          SHKOLNIK
    ESSEX COUNTY                          NAPOLI                                          36,885
                                          SHKOLNIK
    FRANKLIN COUNTY                       NAPOLI                                          50,022
                                          SHKOLNIK
    GENESEE COUNTY                        NAPOLI                                          57,280
                                          SHKOLNIK
    HAMILTON COUNTY                       NAPOLI                                            4,416
                                          SHKOLNIK
    ITHACA CITY                           NAPOLI                   TOMPKINS COUNTY        30,837
                                          SHKOLNIK
    KINGSTON CITY                         NAPOLI                   ULSTER COUNTY          22,793
                                          SHKOLNIK



5
    This list is subject to confirmation prior to entry of the Consent Judgment.

                                                              76
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 108 of 128. PageID #: 591457




LANCASTER TOWN           NAPOLI            ERIE COUNTY                  43,325
                         SHKOLNIK
LIVINGSTON COUNTY        NAPOLI                                         62,914
                         SHKOLNIK
MADISON COUNTY           NAPOLI                                         70,941
                         SHKOLNIK
MOUNT VERNON CITY        NAPOLI            WESTCHESTER COUNTY           67,345
                         SHKOLNIK
NASSAU COUNTY            NAPOLI                                      1,356,924
                         SHKOLNIK
NIAGARA COUNTY           NAPOLI                                        209,281
                         SHKOLNIK
OGDENSBURG CITY          NAPOLI            ST LAWRENCE COUNTY           10,436
                         SHKOLNIK
ORLEANS COUNTY           NAPOLI                                         40,352
                         SHKOLNIK
OTSEGO COUNTY            NAPOLI                                         59,493
                         SHKOLNIK
POUGHKEEPSIE CITY        NAPOLI            DUTCHESS COUNTY              30,515
                         SHKOLNIK
POUGHKEEPSIE TOWN        NAPOLI            DUTCHESS COUNTY              44,062
                         SHKOLNIK
PUTNAM COUNTY            NAPOLI                                         98,320
                         SHKOLNIK
RENSSELAER COUNTY        NAPOLI                                        158,714
                         SHKOLNIK
ROCHESTER CITY           NAPOLI            MONROE COUNTY               205,695
                         SHKOLNIK
SARATOGA SPRINGS         NAPOLI            SARATOGA COUNTY              28,212
CITY                     SHKOLNIK
SCHOHARIE COUNTY         NAPOLI                                         30,999
                         SHKOLNIK
SCHUYLER COUNTY          NAPOLI                                         17,807
                         SHKOLNIK
STEUBEN COUNTY           NAPOLI                                         95,379
                         SHKOLNIK
TIOGA COUNTY             NAPOLI                                         48,203
                         SHKOLNIK
TOMPKINS COUNTY          NAPOLI                                        102,180
                         SHKOLNIK
TONAWANDA TOWN           NAPOLI            ERIE COUNTY                  71,675
                         SHKOLNIK
WARREN COUNTY            NAPOLI                                         63,944
                         SHKOLNIK
WESTCHESTER COUNTY       NAPOLI                                        967,506
                         SHKOLNIK
                                      77
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 109 of 128. PageID #: 591458




YATES COUNTY       NAPOLI                                               24,913
                   SHKOLNIK
BROOME COUNTY      SIMMONS HANLY CONROY LLC                            190,488
COLUMBIA COUNTY    SIMMONS HANLY CONROY LLC                             59,461
DUTCHESS COUNTY    SIMMONS HANLY CONROY LLC                            294,218
ERIE COUNTY        SIMMONS HANLY CONROY LLC                            918,702
FULTON COUNTY      SIMMONS HANLY CONROY LLC                             53,383
GREENE COUNTY      SIMMONS HANLY CONROY LLC                             47,188
HERKIMER COUNTY    SIMMONS HANLY CONROY LLC                             61,319
LEWIS COUNTY       SIMMONS HANLY CONROY LLC                             26,296
MONROE COUNTY      SIMMONS HANLY CONROY LLC                            741,770
NEW YORK CITY      SIMMONS     MULTIPLE COUNTIES                     8,336,817
                   HANLY
                   CONROY LLC
ONTARIO COUNTY     SIMMONS HANLY CONROY LLC                            109,777
ORANGE COUNTY      SIMMONS HANLY CONROY LLC                            384,940
OSWEGO COUNTY      SIMMONS HANLY CONROY LLC                            117,124
SARATOGA COUNTY    SIMMONS HANLY CONROY LLC                            229,863
SCHENECTADY COUNTY SIMMONS HANLY CONROY LLC                            155,299
SENECA COUNTY      SIMMONS HANLY CONROY LLC                             34,016
ST LAWRENCE COUNTY SIMMONS HANLY CONROY LLC                             32,261
SUFFOLK COUNTY     SIMMONS HANLY CONROY LLC                          1,476,601
SULLIVAN COUNTY    SIMMONS HANLY CONROY LLC                             75,432
ULSTER COUNTY      SIMMONS HANLY CONROY LLC                            177,573
WASHINGTON COUNTY SIMMONS HANLY CONROY LLC                              61,204
WYOMING COUNTY     SIMMONS HANLY CONROY LLC                             39,859




                                      78
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 110 of 128. PageID #: 591459




                                   Exhibit F




                                      79
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 111 of 128. PageID #: 591460




SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF SUFFOLK
                                  Index No. 400000/2017

IN RE OPIOID LITIGATION                           Hon. Jerry Garguilo




                                 CASE MANAGEMENT ORDER

       This Case Management Order (“CMO”) shall apply to all plaintiffs with cases pending as of

[Date of Final Court Approval of Settlement] against Defendants and to all new plaintiffs filing cases

after that date against Defendants (collectively, “Plaintiff” or “Plaintiffs”), whose claims are pending

in this coordinated proceeding and not released by the Settlement Agreement in this action entered

into on [settlement date] (“Settlement Agreement”). As used herein, “Defendants” refers to Johnson

& Johnson, Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen

Pharmaceuticals, Inc., and Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc. Pursuant

to the order of the Coordination Panel, all such new cases filed in the State of New York shall be

assigned to the In re Opioids Cases Litigation pending before this Court and shall be subject to the

terms of this CMO.

       Good cause appearing, it is ordered as follows:

       A.      Filing of Amended Complaints

               1.      Each Plaintiff with an existing case as of [Date of Final Court Approval of

Settlement], shall file and serve on Defendants within ninety (90) days of that date an Amended

Complaint satisfying the requirements of the Civil Practice Law and Rules (“CPLR”) and this

CMO, if that Plaintiff’s case is not dismissed with prejudice prior to this deadline pursuant to the




                                                  80
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 112 of 128. PageID #: 591461




Settlement Agreement. Plaintiff’s counsel shall comply with Rule 3025 of the CPLR when filing

any such Amended Complaint.

               2.      The time for Defendants to file a response to a new Complaint or Amended

Complaint shall not begin to run until after the receipt by counsel for the Defendants of the Case-

Specific Expert Report(s) required pursuant to this CMO, and after the claims process is concluded

as described in Section B.3 below, whichever is later.

         B.    Plaintiffs’ Requirement to Produce Certain Specified Information About Their

Claims

               1.      Plaintiffs’ Production Requirements. Each Plaintiff shall serve the

following documents and/or information upon counsel for Defendants:

                       (a)    Fact Sheet. If not already completed, executed, and served, each

Plaintiff shall serve upon the Defendants within the deadlines specified herein a completed copy of

the Fact Sheet, attached as Exhibit A to Case Management Order No. 2. Each Plaintiff that has

already completed, executed, and served a compliant Fact Sheet shall serve upon the Defendants

within the deadlines specified herein an updated Fact Sheet reflecting any material change in the

facts underlying the Plaintiff’s claims or shall affirm that no such material change applies.

Simultaneously with its service of its Fact Sheet or affirmation, each Plaintiff shall serve upon

Defendants a verified statement under oath setting forth how each element of their claims has not

been resolved pursuant to the terms of the Settlement and the state and regional abatement fund

provided therein.




                                                  81
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 113 of 128. PageID #: 591462




                       (b)     Record Production.

                               (i)     Each Plaintiff shall produce all records establishing the

existence of a public nuisance within the Plaintiff’s territory or borders, including a definition of the

nuisance and evidence to support its existence.

                               (ii)    Each Plaintiff shall produce all records supporting a claim for

nuisance “abatement” relief within the Plaintiff’s territory or borders, including a categorization and

itemization of any requested nuisance abatement relief and evidence to support each component of

such relief.

                               (iii)   Each Plaintiff shall produce all records supporting a claim of

damages, including a categorization and itemization of claimed damages and calculations and

evidence for each component of such damages. Each Plaintiff shall also specify whether the alleged

amounts were paid or reimbursed through a grant, insurance, or other third-party source and provide

records evidencing such payment or reimbursement.

                               (iv)    For any other relief involving the expenditure of money,

including expenditures for the provision of services, each Plaintiff shall specify the entities that will

make the expenditures, when and how long those entities will make the expenditures, and the nature

of the expenditures, including how they will address any and all alleged harms. Each Plaintiff shall

produce all documents relied upon in identifying or calculating the claimed relief.

                               (v)     Each Plaintiff seeking any form of relief based directly or

indirectly upon allegedly unnecessary prescriptions shall identify those prescriptions, to whom and

by whom the prescriptions were written, the pharmacy that filled each such prescription, whether

the Plaintiff was reimbursed for them, and the Plaintiff’s basis for identifying the prescriptions.




                                                   82
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 114 of 128. PageID #: 591463




                       (c)     Affidavit. An affidavit signed by each Plaintiff and its counsel (i)

attesting that the Plaintiff has complied with all requirements of the Fact Sheet attached as Exhibit

A to the Court’s Case Management Order No. 2; (ii) attesting that records have been collected in

compliance with this CMO; and (iii) attesting that all records collected have been produced

pursuant to this CMO. If any of the documents or records described in this Section B do not exist,

the signed affidavit by the Plaintiff and its counsel shall state that fact and the reasons, if known,

why such materials do not exist.

                       (d)     Expert Reports. Each Plaintiff shall serve on counsel for Defendants

a case-specific expert report or reports executed by a qualified expert, under oath, and subject to the

penalties of perjury (a “Case-Specific Expert Report”). The Case-Specific Expert Report shall

include all matter required to comply with Commercial Division Rule 13, New York law, and at

least:

                               (i)     Plaintiff’s Information. The Plaintiff’s name;

                               (ii)    Expert’s Information. The name, professional address, and

curriculum vitae of the expert, including a list of all publications authored by the expert within the

preceding ten (10) years, and the foundation for the expert’s opinion in relation to the expert’s

professional experience;

                               (iii)   Plaintiff’s Records. All records reviewed by the expert in

preparation of the Case-Specific Expert Report;

                               (iv)    Reliance Materials. All materials relied on by the expert in

preparation of the Case-Specific Expert Report;

                               (v)     Locations. If the Plaintiff is asserting a public nuisance claim,

the location(s) where the Plaintiff alleges a public nuisance exists, including with specificity how



                                                   83
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 115 of 128. PageID #: 591464




Plaintiff has been affected by such public nuisance and copies of documents relied upon, if any, as

evidence of such alleged effect.

                               (vi)    Subjects of Report(s). The Case-Specific Expert Report(s)

must collectively include all matters on which the expert(s) intend to rely, including but not limited

to the following:

                                       (1)     Whether the Plaintiff’s records reviewed by the

expert(s) indicate that the Plaintiff suffered any injury or damage and, if so, the nature of the alleged

injury or damage;

                                       (2)     Whether the Plaintiff’s records reviewed by the

expert(s) indicate the existence of a nuisance and, if so, the nature of the nuisance;

                                       (3)     Whether the Plaintiff’s records reviewed by the

expert(s) indicate that Defendants engaged in any wrongful conduct and, if so, the nature of that

conduct;

                                       (4)     An opinion that there is in fact a causal relationship

between the individual Plaintiff’s claims and Defendants’ alleged conduct and the basis for that

opinion;

                                       (5)     An opinion quantifying the relief requested by the

Plaintiff, including any “abatement” relief, damages, and statutory penalties, with specific

calculations and evidence for each component of such relief, prepared and sworn/affirmed to by

such expert and subject to the penalties of perjury.




                                                   84
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 116 of 128. PageID #: 591465




               2.      Deadline to comply.

                       (a)     For each Plaintiff with claims pending against Defendants as of the

entry of this CMO, the items required by Section B.1 shall be produced no later than [DATE], or

ninety (90) days after the date such Plaintiff elects not to settle its claims, whichever is sooner.

                       (b)     For each Plaintiff with claims newly filed in or transferred to this

proceeding against Defendants after the entry of this CMO, the items required by Section B.1 shall

be produced no later than ninety (90) days after the case is filed in or transferred to this proceeding.

               3.      Failure to comply.

                       (a)     Notice of Non-Compliance and Opportunity to Cure. If any Plaintiff

fails to comply with any provision of this Order, Defendants shall provide Plaintiff written notice of

such non-compliance (“Notice of Non-Compliance”) specifying the non-compliance. Upon receipt

of a Notice of Non-Compliance, Plaintiff shall have sixty (60) days to cure its non-compliance

specified in the Notice of Non-Compliance. During the period wherein non-compliance has not yet

been cured, all litigation deadlines applicable to Defendants, including without limitation deadlines

for discovery or to file and serve a pleading or motion responsive to a Plaintiff’s complaint, shall be

held in abeyance.

                       (b)     Failure to Cure. If, after the passage of sixty (60) days of service of a

Notice of Non-Compliance, a Plaintiff fails to cure its non-compliance, upon application by the

Defendants, the Plaintiff’s claims, as well as any derivative claim(s), will be dismissed with

prejudice as against Defendants.

                       (c)     Extensions of Time. The Court, on motion and for good cause shown,

may order an extension of the time to comply with this Order.




                                                   85
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 117 of 128. PageID #: 591466




       C.      Discovery on Statute of Limitations and Other Time-Based Defenses

               1.      Plaintiffs must, within the time frames established by Section B.2, serve upon

counsel for the Defendants an affidavit signed by the Plaintiff and its counsel providing the

following information: (1) the date the Plaintiff first learned that the harms alleged in its complaint

may be related to Defendants’ conduct; (2) how the Plaintiff first learned the harms alleged in its

complaint may be related to Defendants’ conduct; (3) the date the Plaintiff first spoke to or

corresponded with an attorney about potential litigation in this matter; and (4) the date the Plaintiff

first retained counsel for litigation in this matter. Defendants are permitted to serve written

discovery on each Plaintiff related to these topics (and others), and each such Plaintiff must respond

to the discovery prior to any depositions related to these topics, provided that the Plaintiff shall have

at least thirty (30) days to respond to such discovery.

       D.      Case-Specific Discovery and Related Dispositive Motion Practice

               1.      If a Plaintiff complies with the production requirements outlined above in

Sections B and C, then the Parties, as applicable, shall submit a proposed Scheduling Order to the

Court that: (a) grants the Parties one-hundred and eighty (180) days from the entry of the

Scheduling Order to conduct discovery on issues raised by the productions; and (b) sets a briefing

schedule that gives the Parties forty-five (45) days from the close of discovery for the Parties to

submit summary judgment motions and Frye motions, twenty-eight (28) days for responses, and

twenty-eight (28) days for replies.

               2.      During such discovery, the Parties are permitted to: serve written discovery

related to the issues raised by the productions specific to the Plaintiff and take the depositions of

both fact and expert witnesses for the Plaintiff for up to seven hours each, with counsel for

Defendants questioning first at each deposition. If a Plaintiff serves any written discovery upon



                                                   86
 Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 118 of 128. PageID #: 591467




Defendants, the Parties shall meet and confer about an appropriate deadline for responding to such

discovery, which deadline shall be at least sixty (60) days after service of such discovery. The

Court’s use of the term “specific to the Plaintiff” is intended to express the Court’s intention not to

permit additional “generic” discovery against the Defendant at this time. No other depositions may

be taken during the expedited discovery period absent prior leave granted by the Court upon a

showing of good cause.

               3.      If a case survives the Defendant’s summary judgment motions, the Court will

set a Case Management Conference to determine whether any non-duplicative discovery is

necessary and to discuss other case management issues. Discovery with regard to any other

defendants will be addressed at this time as well. The filing and briefing of summary judgment

motions and Frye motions after the expedited discovery discussed above shall not prejudice or

otherwise foreclose the opportunity for any Party or other defendant to file later, non-duplicative

summary judgment and Frye motions after completing full fact and expert discovery. The Court’s

use of the term “non-duplicative” is intended to express the Court’s intention not to permit later

summary judgment motions concerning topics addressed in summary judgment motions filed at the

conclusion of the expedited discovery period or Frye motions concerning witnesses addressed in

Frye motions filed at the conclusion of the expedited discovery period.

               4.      The foregoing provisions do not preclude any Party or other defendant from

filing non-duplicative dispositive motions, including motions relating to personal jurisdiction.

SO ORDERED.

Dated: _______________                                 __________________________
                                                       Jerry Gargiulo
                                                       Justice




                                                  87
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 119 of 128. PageID #: 591468




                        EXHIBIT D
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 120 of 128. PageID #: 591469




                                         STATE OF NEW YORK
                                  OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                    EXECUTIVE DIVISION
 ATTORNEY GENERAL

                                                                       November 19, 2021

 Via Electronic Mail and Overnight Courier

 Charles C. Lifland, Esq.                            Salvatore C. Badala, Esq.
 Daniel R. Suvor, Esq.                               Napoli Shkolnik PLLC
 O’Melveny & Myers LLP                               400 Broadhollow Road
 400 South Hope Street                               Melville, NY 11747
 18th Floor
 Los Angeles, CA 90071

 Jayne Conroy, Esq.
 Simmons Hanly Conroy LLC
 112 Madison Avenue
 7th Floor
 New York, NY 10016

        Re:      Janssen New York State-Wide Settlement Agreement

 Dear Counsel:

        I am writing on behalf of the State of New York to provide notice of the State’s
 compliance with certain provisions of the Janssen New York State-Wide Opioid Settlement
 Agreement executed on June 25, 2021 (“Agreement”) prior to the Initial Participation Date. 1

         With respect to the Incentive Payments, the State has satisfied the eligibility requirements
 for Incentive Payment A under Section III.C.3 of the Agreement because: (i) pursuant to New
 York Mental Hygiene Law § 25.18(d), there is a Bar in full force and effect that enjoins all Non-
 Litigating Subdivisions and Non-Litigating Special Districts from asserting any Released Claims
 against the Released Entities and extinguishes by operation of law all claims asserted by all
 Litigating Subdivisions and Litigating Special Districts against the Released Entities in any
 actions commenced after June 30, 2019 (“Barred Litigating Subdivisions/Special Districts”); and
 (ii) 100% of all Litigating Subdivisions with claims asserted against the Released Entities in
 actions commenced on or before June 30, 2019 have elected to participate in the Agreement by



 1
   The definitions set forth in Section II of the Agreement apply to all italicized terms used in this
 letter.


 28 LIBERTY STREET, NEW YORK, NY 10005 ● PHONE (212) 416-6127 ● FAX (212) 416-6003 ● WWW.AG.NY.GOV
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 121 of 128. PageID #: 591470
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 122 of 128. PageID #: 591471
 Schedule


  Releasing Subdivisions

  ALBANY CITY
  ALBANY COUNTY
  ALLEGANY COUNTY
  AMHERST TOWN
  AMSTERDAM CITY
  AUBURN CITY
  BROOME COUNTY
  BUFFALO CITY
  CATTARAUGUS COUNTY
  CAYUGA COUNTY
  CHAUTAUQUA COUNTY
  CHEEKTOWAGA TOWN
  CHEMUNG COUNTY
  CHENANGO COUNTY
  CLINTON COUNTY
  COLUMBIA COUNTY
  CORTLAND COUNTY
  DUTCHESS COUNTY
  ERIE COUNTY
  ESSEX COUNTY
  FRANKLIN COUNTY
  FULTON COUNTY
  GENESEE COUNTY
  GENEVA CITY
  GREENE COUNTY
  HAMILTON COUNTY
  HERKIMER COUNTY
  HERKIMER VILLAGE
  ITHACA CITY
  JEFFERSON COUNTY
  LACKAWANNA CITY
  LANCASTER TOWN
  LEWIS COUNTY
  LIVINGSTON COUNTY
  MADISON COUNTY
  MONROE COUNTY
  MONTGOMERY COUNTY
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 123 of 128. PageID #: 591472
 Schedule


  MOUNT VERNON CITY
  NASSAU COUNTY
  NEW YORK CITY
  NIAGARA COUNTY
  OGDENSBURG CITY
  ONEIDA COUNTY
  ONONDAGA COUNTY
  ONTARIO COUNTY
  ORANGE COUNTY
  ORLEANS COUNTY
  OSWEGO COUNTY
  OTSEGO COUNTY
  PLATTSBURGH CITY
  POUGHKEEPSIE CITY
  PUTNAM COUNTY
  RENSSELAER COUNTY
  ROCHESTER CITY

  ROCKLAND COUNTY
  ROME CITY
  SARATOGA COUNTY
  SARATOGA SPRINGS CITY
  SCHENECTADY CITY
  SCHENECTADY COUNTY
  SCHOHARIE COUNTY
  SCHUYLER COUNTY
  SENECA COUNTY
  ST LAWRENCE COUNTY
  STEUBEN COUNTY
  SUFFOLK COUNTY
  SULLIVAN COUNTY
  SYRACUSE CITY
  TIOGA COUNTY
  TOMPKINS COUNTY
  TONAWANDA TOWN
  TROY CITY
  ULSTER COUNTY
  UTICA
  WARREN COUNTY
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 124 of 128. PageID #: 591473
 Schedule


  WASHINGTON COUNTY
  WESTCHESTER COUNTY
  WYOMING COUNTY
  YATES COUNTY
  YONKERS CITY


  Barred Litigating Subdivisions/Special Districts

  AMITYVILLE VILLAGE
  BABYLON TOWN
  BABYLON VILLAGE
  BELLPORT VILLAGE
  BROOKHAVEN TOWN
  CLARKSTOWN TOWN
  EAST HAMPTON TOWN
  EAST ROCKAWAY VILLAGE
  FARMINGDALE VILLAGE
  FLORAL PARK VILLAGE
  GARDEN CITY VILLAGE
  GREAT NECK VILLAGE
  GREENPORT VILLAGE
  HAVERSTRAW TOWN
  HEMPSTEAD TOWN
  HEMPSTEAD VILLAGE
  HUNTINGTON TOWN
  ISLAND PARK VILLAGE
  ISLANDIA VILLAGE
  ISLIP TOWN
  KINGSTON CITY
  LAKE GROVE VILLAGE
  LAWRENCE VILLAGE
  LINDENHURST VILLAGE
  LLOYD HARBOR VILLAGE
  LONG BEACH CITY
  LYNBROOK VILLAGE
  MASSAPEQUA PARK VILLAGE
  MILL NECK VILLAGE
  MILLERTON VILLAGE
  NEW HYDE PARK VILLAGE
  NISSEQUOGUE VILLAGE
  NORTH HEMPSTEAD TOWN
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 125 of 128. PageID #: 591474
 Schedule


  NORTHPORT VILLAGE
  OLD WESTBURY VILLAGE
  ORANGETOWN TOWN
  OYSTER BAY TOWN
  PATCHOGUE VILLAGE
  POQUOTT VILLAGE
  PORT WASHINGTON NORTH VILLAGE
  POUGHKEEPSIE TOWN
  RAMAPO TOWN
  RIVERHEAD TOWN
  SALTAIRE VILLAGE
  SMITHTOWN TOWN
  SOUTHAMPTON TOWN
  SOUTHOLD TOWN
  STEWART MANOR VILLAGE
  STONY POINT TOWN
  SUFFERN VILLAGE
  VALLEY STREAM VILLAGE
  VILLAGE OF THE BRANCH VILLAGE
  WAPPINGER TOWN
  WAPPINGERS FALLS VILLAGE
  WEST HAMPTON DUNES VILLAGE
  WEST HAVERSTRAW VILLAGE
  WESTBURY VILLAGE

  Special Districts
  BELLMORE FIRE DISTRICT
  BOARD OF ED. OF ROCHESTER CITY SCHOOL DIST. (NY)
  CENTEREACH FIRE DISTRICT
  CENTERPORT FIRE DISTRICT
  ERIE COUNTY MEDICAL CENTER CORPORATION, ET AL.*
  HAUPPAUGE FIRE DISTRICT
  HICKSVILLE WATER DISTRICT
  ISLIP TERRACE FIRE DISTRICT
  LEVITTOWN FIRE DISTRICT
  MELVILLE FIRE DISTRICT
  MERRICK LIBRARY (NY)
  MILLER PLACE FIRE DISTRICT
  MOUNT SINAI FIRE DISTRICT
  NASSAU UNIVERSITY MEDICAL CENTER*
  NESCONSET FIRE DISTRICT
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 126 of 128. PageID #: 591475
 Schedule


  NORTH MERRICK FIRE DISTRICT
  NORTH PATCHOGUE FIRE DISTRICT
  PLAINVIEW - OLD BETHPAGE PUBLIC LIBRARY (NY)
  PORT WASHINGTON WATER DISTRICT
  RIDGE FIRE DISTRICT
  ROCKVILLE CENTRE PUBLIC LIBRARY (NY)
  ROSALYN WATER DISTRICT
  SMITHTOWN FIRE DISTRICT
  SOUTH FARMINGDALE FIRE DISTRICT
  ST. JAMES FIRE DISTRICT
  STONY BROOK FIRE DISTRICT
  UNIONDALE FIRE DISTRICT
  WEST HEMPSTEAD PUBLIC LIBRARY


 *New York State is releasing these entities out of an abundance of caution, but by doing so the State is
 not intending to concede, and should not be construed as conceding, that these entities are “Special
 Districts” as that term is defined in the Agreement.
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 127 of 128. PageID #: 591476




   Release of Opioid-Related Claims Pursuant to the Janssen New York State-
Wide Settlement Agreement and New York Mental Hygiene Law Section 25.18(d)


         WHEREAS pursuant to the Janssen New York State-Wide Settlement Agreement (the
 “Settlement”), the State of New York, Nassau and Suffolk Counties and each Participating
 Subdivision and Participating Special District have released their Released Claims against
 Johnson & Johnson, Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc.,
 and Janssen Pharmaceutica, Inc. (“Janssen”) and the related Released Entities, as the terms
 “Participating Subdivisions,” “Special Districts,” “Released Claims” and “Released Entities” are
 defined in the Settlement; and
        WHEREAS the Settlement provides in Section VII that, as of the Effective Date of the
 Settlement, Janssen and the related Released Entities will be released and forever discharged
 from all of the Releasors’ Released Claims, as the terms “Released Entities,” “Releasors” and
 “Released Claims” are defined in the Settlement; and
         WHEREAS the Settlement provides in Section VII.E that Releasors (as defined in the
 Settlement) who are releasing claims include “to the maximum extent of the state’s power, all
 Released Claims of (1) the State of New York, (2) all past and present executive departments,
 state agencies, divisions, boards, commissions and instrumentalities with the regulatory authority
 to enforce state and federal controlled substances acts, (3) any of the State of New York’s past
 and present executive departments, state agencies, divisions, boards, commissions and
 instrumentalities that have the authority to bring Claims related to Covered Conduct seeking
 money (including abatement and/or remediation) or revocation of a pharmaceutical distribution
 license,” and “(4) any Participating Subdivisions,” and
         WHEREAS Section 25.18(d) of the Mental Hygiene Law provides the New York
 Attorney General with authority, through the release of opioid-related claims in a “statewide
 opioid settlement agreement” executed after June 1, 2021, to: (i) release the unfiled opioid-
 related claims of New York government entities like those identified in Section II.DD and FF
 against pharmaceutical companies like Janssen, and (ii) to release opioid-related claims filed by
 such New York government entities after June 30, 2019 against pharmaceutical companies like
 Janssen; and
        WHEREAS the Settlement constitutes a “statewide opioid settlement agreement” under
 Section 25.18(d) of the Mental Hygiene Law;
         THEREFORE, pursuant to the foregoing provisions of the Settlement and the power and
 authority of the New York Attorney General, including under Section 25.18(d) of the Mental
 Hygiene Law, Janssen and the other Released Entities are, as of the Effective Date, hereby
 released from any and all Released Claims of New York State, any of New York State’s past and
 present executive departments, state agencies, divisions, boards, commissions and
 instrumentalities with the regulatory authority to enforce state and federal controlled substances
 acts (including, without limitation, the New York State Department of Financial Services), any
Case: 1:17-md-02804-DAP Doc #: 4591-1 Filed: 07/21/22 128 of 128. PageID #: 591477




 of New York State’s past and present executive departments, state agencies, divisions, boards,
 commissions and instrumentalities that have the authority to bring Claims related to Covered
 Conduct seeking money (including abatement and/or remediation) or revocation of a
 pharmaceutical distribution license, and any Participating Subdivision and Special District
 (collectively, Releasors), as the terms “Participating Subdivisions,” “Special Districts,”
 “Released Claims,” “Released Entities,” and “Releasors” are defined in the Settlement. New
 York State (for itself and the Releasors), absolutely, unconditionally, and irrevocably covenants
 not to bring, file, or claim, or to cause, assist or permit to be brought, filed, or claimed, or to
 otherwise seek to establish liability for any Released Claims against any Released Entity in any
 forum whatsoever, as the terms “Released Claims,” “Released Entities,” and “Releasors” are
 defined in the Settlement.
 Dated: New York, New York
        November 19, 2021

 LETITIA JAMES
 Attorney General of the State of New York

 By: _________________________
        Jennifer Levy
        First Deputy Attorney General
 Office of the New York State Attorney General
 28 Liberty Street, 23rd Floor
 New York, NY 10006
 Tel: 212-416-8450
 Jennifer.Levy@ag.ny.gov
